                                  UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF NEW YORK


                                                       :
DONNA KASSMAN, SPARKLE                                 :              Hon. Lorna G. Schofiel
PATTERSON, JEANETTE POTTER,                            :           Case No.: 11-cv-03743 (LGS)
                                                       :
ASHWINI VASUDEVA, TINA BUTLER,                         :
CHERYL CHARITY, HEATHER INMAN,                         :                     Civil Action
NANCY JONES AND CAROL MURRAY,                          :
INDIVIDUALLY AND ON BEHALF OF A                        :
CLASS OF SIMILARLY-SITUATED                            :
FEMALE EMPLOYEES,                                      :
                                                       :
                   Plaintiffs,                         :
                                                       :
v.                                                     :
                                                       :
                                                       :
KPMG LLP,

                   Defendant.


                         ANSWER TO FOURTH AMENDED COMPLAINT

       Defendant KPMG LLP (“KPMG”), by and through counsel, answers the Fourth
Amended Class Action Complaint (“FAC”) of Plaintiffs Donna Kassman, Sparkle Patterson,
Jeannette Potter, Ashwini Vasudeva, Tina Butler, Cheryl Charity, Heather Inman, Nancy Jones
and Carol Murrary (“Plaintiffs”) as follows:

         1.     As one of the “Big Four” accounting firms, KPMG is part of an elite cadre of
accountancy and professional services firms that help set industry standards. But rather than use
its vast resources and status to stamp out gender discrimination, KPMG actively perpetuates it.

          ANSWER

          KPMG admits that it is known as one of the “Big Four” accounting firms and that it is an
          audit, tax, and advisory services firm. KPMG denies the remainder of the allegations set
          forth in paragraph 1 of the FAC.

     2.       Women are conspicuously absent from KPMG’s leadership. Among the 20
members of KPMG’s global executive team, only one, or 5%, is female. 1 Similarly, of the 24
members of the global board, only one, or 4%, is female. 2




1
    KPMG International, KPMG International Annual Review 2010: Cutting Through Complexity (2011), at 55.
2
    Id. at 56.
        ANSWER

        KPMG denies the allegations set forth in paragraph 2 of the FAC.

       3.     Although KPMG’s workforce is approximately 50% female, partnership is largely
reserved for men. 3 Less than one in five KPMG Partners is female. 4 Managing Directors are also
predominately male. Even in lower-level management positions such as Manager and Senior
Manager, women only do marginally better, representing approximately one in three managers.
Nonetheless, across KPMG’s management ranks, the number of female managers never
approaches parity with their overall representation at the Company.

        ANSWER

        KPMG denies the allegations set forth in paragraph 3 of the FAC.

        4.     KPMG’s gender hierarchy is all the more jarring considering women have entered
the accounting industry in record numbers for decades. For the past twenty-five years, women
have comprised more than half of all accounting graduates. 5 In 2009, women made up 55% of
newly hired accounting graduates and 61.8% of all accountants and auditors. 6 But despite
constituting half of the workforce at accounting firms for decades, women are only 23% of all
partners industry-wide and 18% at KPMG. 7

        ANSWER

        KPMG lacks knowledge or information sufficient to form a belief as to the truth of the
        allegations regarding women’s supposed numbers in the accounting industry, and
        therefore denies the allegations. KPMG denies the remainder of the allegations set forth
        in paragraph 4 of the FAC.

       5.       At the Big Four – the crème de la crème of accounting firms – women fare even
worse than the industry average. Studies show that women are not “moving through the pipeline”
as quickly at these larger, more elite firms compared to their smaller counterparts. 8

        ANSWER

        KPMG lacks knowledge or information sufficient to form a belief as to the truth of the
        allegations regarding women at accounting firms other than KPMG, and therefore denies
        the allegations. KPMG denies the remainder of the allegations set forth in paragraph 5 of
        the FAC.

3
  Catalyst, Women in Accounting (2010), at 1, available at
http://www.catalyst.org/file/178/qt_women_in_accounting.pdf.
4
  Id.
5
  AICPA, AICPA Work/Life and Women’s Initiatives 2004 Research. A Decade of Changes in The Accounting
Profession: Workforce Trends and Human Capital Practices (2006), at 5, available at
http://www.awscpa.org/pdfs_and_docs/ResearchPaperDecadeofChange.pdf.
6
  Catalyst, Women in Accounting, at 1.
7
  Id.
8
  AICPA, AICPA Work/Life and Women’s Initiatives 2004 Research, at 5.

                                                    2
       6.      KPMG is one of the worst offenders. The Company promotes fewer women to
Partner (18%) than the industry average (23%). 9 KPMG also promotes fewer women to Senior
Manager (35%) positions than the industry average (44%). 10 KPMG’s promotion rate falls below
its competitors, even though KPMG has a similar number of female non-management employees
(48%) as the industry (49%) to groom and mentor for leadership.

        ANSWER

        KPMG lacks knowledge or information sufficient to form a belief as to the truth of the
        allegations regarding the industry average percentage of women promoted to Partner and
        Senior Manager and promotion rates for KPMG’s competitors, and therefore denies the
        allegations. KPMG denies the remainder of the allegations set forth in paragraph 6 of the
        FAC.

        7.      Rather than reward high-performing female employees with partnership, KPMG
tracks a disproportionate number of these women into non-partnership roles as career managers
at drastically lower compensation levels. Industry-wide, 60% of female Senior Managers and
36% of female Managers have followed lower paid non-partnership career tracks, compared to
only 26% of male Senior Managers and 9% of male Managers. 11

        ANSWER

        KPMG lacks knowledge or information sufficient to form a belief as to the truth of the
        allegations regarding career tracks of female and male Senior Managers and Managers
        industry-wide, and therefore denies the allegations. KPMG denies the remainder of the
        allegations set forth in paragraph 7 of the FAC.

         8.     These figures make it clear that while male and female accountants may begin
their careers on roughly equal footing, their paths sharply diverge as they ascend up the
hierarchy, particularly at KPMG. Women in the accounting industry face a number of systemic
barriers to promotion, including lack of visible role models and their exclusion from after-work
activities and other informal networking opportunities, reflecting the gender bias of “old boys”
networks within these firms. 12

        ANSWER

        KPMG lacks knowledge or information sufficient to form a belief as to the truth of the
        allegations regarding barriers to promotion in the accounting industry, and therefore
        denies the allegations. KPMG denies the remainder of the allegations set forth in
        paragraph 8 of the FAC.



9
  Catalyst, Women in Accounting, at 1.
10
   Public Accounting Report, Public Accounting Report’s 2008 Survey of Women in Public Accounting –
Percentage of Women by Staff Category (Dec. 15, 2008).
11
   Catalyst, Women in Accounting, at 1.
12
   Catalyst, Women of Color in Accounting (2008), at 31, available at
http://www.catalyst.org/file/138/woc_accounting_final_book.pdf.

                                                      3
        9.      As one accounting professional noted, as women come within reach of making
Partner, “[i]t becomes subtle who’s mentored, who’s invited out to the important dinners with the
important clients [and] who’s groomed to participate in AICPA and state society committees. All
of these are indicative of who is going to be promoted to Partner a year or two or three or four
into the future.” 13

        ANSWER

        KPMG lacks knowledge or information sufficient to form a belief as to the truth of the
        allegations regarding the quotation set forth in paragraph 9 of the FAC, and therefore
        denies the allegations. KPMG denies the remainder of the allegations set forth in
        paragraph 9 of the FAC.

       10.     At KPMG, the discrimination is not always so subtle. High-performing female
managers are viewed as interlopers by their male Partners, as threats by their male peers, and as
individuals unworthy of respect by their male subordinates. As soon as these women come
within reach of partnership, they are suddenly – without warning or provocation – chastised and
removed from the promotion track before they can infiltrate KPMG’s “good old boys” network.
By contrast, male employees who “have an issue working with women” effortlessly ascend
through the ranks at KPMG.

        ANSWER

        KPMG denies the allegations set forth in paragraph 10 of the FAC.

        11.    Plaintiff Donna Kassman was a casualty of this discriminatory system. After
languishing in a Senior Manager position for a decade, during which she demonstrated stellar
performance, Ms. Kassman was finally “put up” for a promotion to Managing Director. At this
pivotal juncture, a troika of men – Scott Schapiro (“Principal Schapiro”), Principal in Charge of
the National Employment Tax Practice and the person to whom Ms. Kassman reported; John
Montgomery (“Senior Manager Montgomery”), another Senior Manager in Ms. Kassman’s
practice; and Jon Stone (“Associate Stone”), an Associate who worked under Ms. Kassman and
Senior Manager Montgomery – conspired to derail her career advancement. Principal Schapiro
abruptly removed Ms. Kassman from the promotion track based on unfounded, stereotypical
complaints by the other two men about Ms. Kassman’s “tone” and “direct” approach – a
complaint never before lodged against her during her 17-year tenure at KPMG. Unilaterally
adopting the position of the male troika, the Company instead put up Senior Manager
Montgomery for the position that had been slated for Ms. Kassman.

        ANSWER

        KPMG admits that Plaintiff Donna Kassman (“Ms. Kassman”) was an employee of
        KPMG for approximately 17 years and held a Senior Manager position at KPMG for over
        ten years; Scott Schapiro was the Principal in charge of the National Employment Tax
        Practice for a period of time and Ms. Kassman reported to Schapiro during a period of

13
  Liz Gold, “Women in Accounting: How far to the top?” ACCOUNTING TODAY, available at
http://www.accountingtoday.comato_issue/2007_18/22549-1.html (last visited May 19, 2011).

                                                    4
       Ms. Kassman’s employment with KPMG; John Montgomery was another Senior
       Manager with KPMG during a period of time during Ms. Kassman’s employment with
       KPMG; and Jonathan Stone was an Associate who worked under Ms. Kassman and
       Montgomery during a period of Ms. Kassman’s employment with KPMG. KPMG denies
       the remainder of the allegations set forth in paragraph 11 of the FAC.

       12.     Like Ms. Kassman, Plaintiff Jeanette Potter earned exceptional reviews at KPMG,
only to spend a decade stuck in a Senior Manager position. Principal Bruce McLaughlin
(“Principal McLaughlin”) had only one criticism of Ms. Potter: she did not “schmooze” enough.
In fact, Ms. Potter avoided the Company’s happy hours – one of the main venues for
“schmoozing” – because they were known to be hostile to women; among other things, male
Partners did “body shots” off of female employees. Because KPMG’s promotion decisions rely
substantially on personal relationships built at Company social events that are unwelcoming to
women, high-achieving female employees like Ms. Potter are frequently passed over for
promotion in favor of their less qualified, but more well-connected, male counterparts.

       ANSWER

       KPMG admits that Plaintiff Jeannette Potter (“Ms. Potter”) held a Senior Manager
       position at KPMG for approximately eleven years and that she received reviews, and
       refers to those sources for a complete statement of their contents. KPMG denies
       knowledge or information sufficient to form a belief as to the truth of the allegations that
       Ms. Potter avoided “happy hours,” and therefore denies the allegations. KPMG denies the
       remainder of the allegations set forth in paragraph 12 of the FAC.

        13.     Until 2010, KPMG utilized a 9-box rating system, ranging from EP-1
(exceptional) to NI-9 (needs improvement), for all of its professional staff, across the Company’s
spectrum of job titles, practice areas, and offices. Each employee was evaluated “The KPMG
Way” – a set of criteria which purported to measure behaviors and values but failed to provide a
consistent or reliable measure of performance.

       ANSWER

       KPMG admits that performance evaluations were made on a decentralized basis using a
       rating system, and refers to that source for a complete statement of its contents including
       the criteria used. KPMG denies the remainder of the allegations set forth in paragraph 13
       of the FAC.

       14.     After the initial round of evaluations, the Partners in each group had discretion to
change the ratings to ensure that the employees they had taken under their wing – most of whom
were male – were ranked higher relative to their peers, and thus stood a greater chance of being
promoted.

       ANSWER

       KPMG denies the allegations set forth in paragraph 14 of the FAC.



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       15.     Upon information and belief, female employees were disproportionately and
discriminatorily downgraded and undervalued within KPMG’s performance review system,
which is uniform throughout the Company. The Company’s new 5-point evaluation system,
introduced last year, suffers from the same defects.

       ANSWER

       KPMG denies the allegations set forth in paragraph 15 of the FAC.

        16.     Upon information and belief, KPMG’s performance evaluation system’s
insufficient standards, quality controls and implementation metrics, coupled with its lack of
transparency and opportunities for redress, had a discriminatory and disparate impact on women
and caretaking employees.

       ANSWER

       KPMG denies the allegations set forth in paragraph 16 of the FAC.

        17.    KPMG employees are promoted within a system that is insufficiently designed,
articulated, explained or implemented to consistently, reliably or fairly develop and promote
excellent employees. Promotions are not based upon true comparative performance as they lack
transparency and sufficient quality controls in their design and implementation.

       ANSWER

       KPMG denies the allegations set forth in paragraph 17 of the FAC.

       18.     KPMG’s promotion procedures and practices reflect and codify the biases of the
Company’s mostly male management and, naturally, have a disparate impact on the Company’s
female employees. Even when ostensibly based on performance, Partners have discretion to
promote those within the “good old boys” club based on factors such as friendship and social
connections or to otherwise give undue weight to these or other improper factors. Participation in
male-dominated social activities—such as golf outings and after-work happy hours (where body
shots might be consumed off of female employees) are among criteria that may be considered for
evaluation, compensation and advancement within KPMG.

       ANSWER

       KPMG denies the allegations set forth in paragraph 18 of the FAC.

       19.    KPMG was able to and systematically did derail the advancement of high-
performing female Professionals who were viewed as a threat, who were wrongly cast as less
committed to their careers, or who the Company wanted to push out for other discriminatory
reasons.

       ANSWER

       KPMG denies the allegations set forth in paragraph 19 of the FAC.


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        20.     The Company’s promotion practices consistently result in males being promoted
more rapidly and assigned more frequently to higher positions than women within and across
levels Company-wide. Although KPMG has had knowledge of these stark gender disparities for
decades, it has been deliberately indifferent towards them.

        ANSWER

        KPMG denies the allegations set forth in paragraph 20 of the FAC.

       21.     Countless women have progressed along KPMG’s standard career track with rave
reviews, only to find their career ambitions shattered by KPMG’s glass ceiling.

        ANSWER

        KPMG denies the allegations set forth in paragraph 21 of the FAC.

      22.     Upon information and belief, KPMG’s female Professionals are not only under-
promoted, but underpaid as well.

        ANSWER

        KPMG denies the allegations set forth in paragraph 22 of the FAC.

       23.      Recent reports on the accounting industry have found that female Associates,
Senior Associates, Managers and Senior Managers are systematically paid less than their male
colleagues, with white male Senior Managers out-earning their female counterparts by $53,000
on average. 14 This pay disparity is even greater at the Partner level. 15

        ANSWER

        KPMG lacks knowledge or information sufficient to form a belief as to the truth of the
        allegations regarding unspecified reports, and therefore denies the allegations. KPMG
        denies the remainder of the allegations set forth in paragraph 23 of the FAC.

       24.    Far from disproving this industry-wide trend, KPMG actively perpetuates it.
Because KPMG employs a compensation system that has insufficient quality standards, controls,
and implementation metrics, and lacks transparency and opportunities for redress or challenge,
its compensation practices have had a disparate impact on the Company’s female employees.

        ANSWER

        KPMG lacks knowledge or information sufficient to form a belief as to the truth of the
        allegations regarding any “industry-wide trend,” and therefore denies the allegations.
        KPMG denies the remainder of the allegations set forth in paragraph 24 of the FAC.


14
   Catalyst, Women of Color in Accounting, at 50 (discussing survey results from top 20 revenue-generating U.S.
accounting firms).
15
   Id.

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        25.    Upon information and belief, KPMG management systematically took advantage
of the flaws in the system by paying female employees less than similarly situated male
employees. This pattern and practice of discrimination stems, in part, from an antiquated
adherence to the idea that if there is a husband who acts as a “breadwinner” in the home, then
there is no need for a woman to work at all or to be compensated at the same level as a male
employee.

       ANSWER

       KPMG denies the allegations set forth in paragraph 25 of the FAC.

       26.    For example, in an egregious act of discrimination, KPMG slashed Ms.
Kassman’s base salary by $20,000 while she was on maternity leave because she was paid “too
much.” KPMG cited no business justification for slashing her salary – and indeed, could not, as
Ms. Kassman was a top-notch performer. When Ms. Kassman complained about the salary cut
and wanted to discuss ways for her to earn back the $20,000 that was taken from her, her male
supervising Partner asserted that she did not need the money because she “ha[d] a nice
engagement ring.”

       ANSWER

       KPMG admits that Ms. Kassman’s salary was decreased by $20,000 in 2003, and avers
       that the salaries of other employees in her practice group also were reduced at the same
       time. KPMG denies the remainder of the allegations set forth in paragraph 26 of the FAC.

       27.     Like Ms. Kassman and many other female Professionals, Ms. Potter was told she
was “paid too much,” even though her less experienced male counterparts earned more than her.
Ms. Potter received no pay increases during her last four years of employment at KPMG, despite
her consistently strong performance.

       ANSWER

       KPMG admits that Ms. Potter did not receive a salary increase during her last four years
       of employment with KPMG. KPMG denies the remainder of the allegations set forth in
       paragraph 27 of the FAC.

       28.    Moreover, KPMG’s compensation policies and practices regarding flexible
workers have a disparate impact on the Company’s female employees. Employees who avail
themselves of KPMG’s flexible work arrangements – the overwhelming majority of whom are
working mothers and other women – are forced to accept reduced pay while still working full-
time schedules and being held to virtually full-time standards.

       ANSWER

       KPMG denies the allegations set forth in paragraph 28 of the FAC.

       29.    At KPMG, salary increases and bonuses are based largely on a performance
evaluation system that is insufficiently designed, articulated, explained or implemented to

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consistently, reliably or fairly compensate strong-performing employees. Upon information and
belief, KPMG’s discriminatory performance evaluation system has resulted in the under-
payment of female Professionals at all levels throughout the Company.

       ANSWER

       KPMG denies the allegations set forth in paragraph 29 of the FAC.

       30.   In addition, the compensation system as a whole lacks the adequate quality
standards and controls and implementation metrics to consistently or reliably result in
compensation decisions that correlate with an employee’s overall quality or contributions to the
Company. The lack of transparency and sufficient opportunities or systems for redress result in
women being systematically undercompensated.

       ANSWER

       KPMG denies the allegations set forth in paragraph 30 of the FAC.

       31.     In addition to the systematic discrimination faced by female Professionals at
KPMG, female employees with children also face discrimination based on their status as
caregivers and/or pregnant women.

       ANSWER

       KPMG denies the allegations set forth in paragraph 31 of the FAC.

        32.     KPMG promotes a corporate culture whereby female employees are made to feel
they cannot have successful careers after they have children. Indeed, at least one Partner
explicitly suggested that women should go on part-time schedules or move away from his
practice group when they become mothers. Another Partner has stated that he believes pregnant
women are incapable of doing their jobs and that he did not see how a working mother could
“tend to a child and work at KPMG at the same time.”

       ANSWER

       KPMG lacks knowledge or information sufficient to form a belief as to the truth of the
       allegations regarding comments allegedly made by unidentified individuals, and therefore
       denies the allegations. KPMG denies the remainder of the allegations set forth in
       paragraph 32 of the FAC.

       33.    Ms. Kassman hoped to be the one to prove them wrong. As a female manager
with an impressive seventeen-year career at KPMG and two children under the age of seven, Ms.
Kassman set out to demonstrate that one could be both a good mother and a successful manager
at the Company. Indeed, KPMG and Ms. Kassman’s supervisors publicly touted her as a role
model for other working mothers.




                                               9
       ANSWER

       KPMG admits that Ms. Kassman was an employee of KPMG for approximately 17 years
       and reports to have two children. KPMG lacks knowledge or information sufficient to
       form a belief as to the truth of the allegations regarding Ms. Kassman’s hopes and what
       she set out to do, and therefore denies the allegations. The allegations set forth in
       paragraph 33 of the FAC that Ms. Kassman was “publicly touted” as a “role model” by
       KPMG and her supervisors are too vague to be susceptible to an answer, and KPMG
       therefore denies the allegations. KPMG denies the remainder of the allegations set forth
       in paragraph 33 of the FAC.

       34.    However, Ms. Kassman quickly discovered that KPMG’s purported support for
female employees and working mothers was just a sham. After she gave birth to her first child in
2003, Ms. Kassman’s career advancement at KPMG – which had previously progressed at a
steady clip – came to a screeching halt. KPMG abruptly cut her salary while she was on
maternity leave and – as if this did not send a clear enough message – placed her on a
Performance Improvement Plan (“PIP”) upon her return to work.

       ANSWER

       KPMG admits that Ms. Kassman’s salary was decreased by $20,000 in 2003, that in 2004
       she was placed on a Performance Improvement Plan, and avers that the salaries of other
       employees in her practice group also were reduced at the same time. KPMG denies the
       remainder of the allegations set forth in paragraph 34 of the FAC.

        35.     Ms. Kassman’s experience as a working mother at KPMG is far from unique.
Plaintiff Ashwini Vasudeva, a Senior Associate in the Company’s Mountain View, California
office, faced swift and ongoing retaliation following her decision to go on maternity leave. After
she became a mother, Ms. Vasudeva, who had always earned stellar reviews, was abruptly
removed from her largest, most lucrative engagement; was assigned to projects without any staff
to support her; and was passed over for promotion in favor of a less-experienced male employee.

       ANSWER

       KPMG admits that Plaintiff Ashwini Vasudeva (“Ms. Vasudeva”) was a Senior Associate
       in KPMG’s Mountain View, California office. KPMG denies the remainder of the
       allegations set forth in paragraph 35 of the FAC.

        36.    Plaintiff Sparkle Patterson, an award-winning Associate in KPMG’s Atlanta
office, also fell victim to the Company’s pregnancy/caregiver discrimination. Although the
standard promotion track at KPMG provides for the promotion of Associates to Senior
Associates after two years, Ms. Patterson never received a promotion during her three-and-a-half
year tenure with the Company, despite her exceptional performance. When Ms. Patterson
returned from maternity leave, her work load was decreased and her repeated requests for work
were systematically denied, leaving her with virtually no billable work, even though she was
available and willing to work long hours.



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       ANSWER

       KPMG admits that Plaintiff Sparkle Patterson (“Ms. Patterson”) was an Associate in
       KPMG’s Atlanta office and that she was not promoted to Senior Associate. KPMG
       denies the remainder of the allegations set forth in paragraph 36 of the FAC.

        37.    Although KPMG touts its flexible work schedule plan as proving it supports
working mothers, the reality is that working mothers are often forced to take a so-called
“reduced” schedule for less pay – but are still expected to shoulder the same responsibilities as
their full-time counterparts. These mothers accept reduced pay only to avoid unfair and
discriminatory heightened scrutiny and wrongful termination.

       ANSWER

       KPMG denies the allegations set forth in paragraph 37 of the FAC.

       38.     KPMG has what amounts to a “don’t ask, don’t tell” policy regarding flexible
schedules for working mothers with young children. Employees who avail themselves of the
Company’s flex time option – the overwhelming majority of whom are working mothers – rarely
discuss it freely and are ultimately penalized for it. One of KPMG’s male Partners even
commented that women who are on flexible plans “work exactly their x hours and not a minute
over” and “you know they’re not going to get anywhere [at KPMG].”

       ANSWER

       KPMG lacks knowledge or information sufficient to form a belief as to the truth of the
       allegations regarding comments allegedly made by an unidentified male Partner, and
       therefore denies the allegations. KPMG denies the remainder of the allegations set forth
       in paragraph 38 of the FAC.

        39.    Indeed, when Plaintiff Kassman – the first flex worker in her practice – moved to
a “reduced” schedule upon her return from maternity leave, she was made to feel like she had a
scarlet “F” on her chest for “flex time benefit taker.” As it turns out, flex time as a result of
motherhood is not viewed as a badge of honor, but a source of shame and a handicap at KPMG.
“Having it all” remains a pipe dream.

       ANSWER

       KPMG denies the allegations set forth in paragraph 39 of the FAC.

       40.     KPMG discriminates against its female employees by assuming they are less
committed to their careers – a gender stereotype that the Company’s male employees do not have
to overcome. Upon information and belief, of the few working mothers who have managed to
break through KPMG’s glass ceiling, most – like Patricia Brown (“Principal Brown”), Principal
in Charge of the East for the International Executive Services (“IES”) practice – have a stay-at-
home spouse, a luxury that the overwhelming majority of KPMG’s female employees do not
have. Indeed, one study of the accounting industry revealed that 46% of male professionals
employed by large national/international firms have stay-at-home spouses, compared to only

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11% of female professionals. 16 And, even if men work a flexible work schedule, they can do so
free of gender stereotypes and are therefore less likely than their female counterparts to
experience a negative career impact as a result. 17

        ANSWER

        KPMG denies the allegations set forth in paragraph 40 of the FAC.

        41.    Given this discriminatory culture, it is no wonder that female employees –
especially working mothers – are a rarity in KPMG’s upper ranks. Taking leave or going on flex
time for pregnancy and caretaking reasons can weigh as a negative factor within KPMG’s
evaluation, compensation, development and promotion systems, which have insufficient
standards, quality controls, implementation metrics, and transparency, and which lack means of
redress to prevent or correct this discrimination.

        ANSWER

        KPMG denies the allegations set forth in paragraph 41 of the FAC.

        42.     As a recent report noted, “With women… joining the accounting industry at an
increasing rate, firms are faced with the job of creating more inclusive environments in a
traditionally white, male-dominated, ‘up-or-out’ culture.” 18 KPMG has clearly failed to rise to
this challenge.

        ANSWER

        KPMG lacks knowledge or information sufficient to form a belief as to the truth of the
        allegations regarding the report referenced by Plaintiffs, and therefore denies the
        allegations. KPMG denies the remainder of the allegations set forth in paragraph 42 of
        the FAC.

        43.    At KPMG, female employees routinely experience harassment and unequal
treatment. In particular, once they become poised to assume positions of greater authority,
female employees frequently encounter gender hostility, including hypocritical and unfounded
criticisms and other attempts to derail their career advancement.

        ANSWER

        KPMG denies the allegations set forth in paragraph 43 of the FAC.

       44.     Ms. Kassman’s experience in many ways typifies that of KPMG’s female
Professionals. In late 2008, after more than fifteen years of hard work and impressive
achievements at the Company, Ms. Kassman was finally told she was next in line for a
promotion to Managing Director. But rather than support Ms. Kassman, her male colleagues
reacted with overt hostility. One of Ms. Kassman’s male subordinates, Associate Stone, suddenly
16
   AICPA, AICPA Work/Life and Women’s Initiatives 2004 Research, at 39.
17
   Id. at 34.
18
   Catalyst, Women of Color in Accounting, at 1.

                                                    12
complained that he “didn’t like [her] tone.” He and Senior Manager Montgomery, one of Ms.
Kassman’s peers, complained that Ms. Kassman was “unapproachable” and “too direct,” a thinly
veiled gender-based criticism – particularly given these two men’s “direct” personalities, which
are embraced by senior leadership at KPMG.

       ANSWER

       KPMG admits that in late 2008, Ms. Kassman had been employed by KPMG for
       approximately 15 years. KPMG denies the remainder of the allegations set forth in
       paragraph 44 of the FAC.

       45.     Even though Ms. Kassman’s supervisor, Principal Schapiro, acknowledged that
Associate Stone “might have an issue working with women,” neither Associate Stone nor Senior
Manager Montgomery was disciplined for his discriminatory conduct. Instead, the Company
took these two male employees’ unfounded and gender-biased complaints at face value, and
repeatedly interrogated Ms. Kassman about her behavior, ultimately recommending that she
consult a “coach” to resolve these trumped up issues.

       ANSWER

       KPMG admits that neither Stone nor Montgomery was disciplined because they did not
       engage in any discriminatory conduct, and admits that it recommended that Ms. Kassman
       consult with a coach to help her with her career growth. KPMG denies the remainder of
       the allegations set forth in paragraph 45 of the FAC.

         46.   Rather than address Ms. Kassman’s complaints of discrimination, KPMG
retaliated against her by removing her from the promotion track, instead “putting up” her
harasser (Senior Manager Montgomery) for the Managing Director position once slotted for her.

       ANSWER

       KPMG denies the allegations set forth in paragraph 46 of the FAC.

       47.    As a result of KPMG’s hostile work environment, Ms. Kassman – a strong,
competent manager with a long and distinguished career at KPMG – was reduced to someone
who could barely eat or sleep, and took the back elevators at work to avoid running into her
tormentors. She was ultimately forced to resign from her position because the work environment
at KPMG had become unbearable.

       ANSWER

       KPMG denies the allegations set forth in paragraph 47 of the FAC.

       48.   Upon information and belief, other female Professionals have experienced
harassment and retaliation similar to what Ms. Kassman experienced at KPMG. In particular,
other female managers have suddenly found themselves targeted and elbowed out by the
Company’s “old boys” network once they come perilously close to infiltrating the upper ranks of



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management. At least one Partner has explicitly acknowledged that it is “much harder being a
woman” at KPMG.

       ANSWER

       KPMG lacks knowledge or information sufficient to form a belief as to the truth of the
       allegations regarding a comment allegedly made by an unidentified Partner, and therefore
       denies the allegations. KPMG denies the remainder of the allegations set forth in
       paragraph 48 of the FAC.

       49.     KPMG has long been on notice regarding its Company-wide gender
discrimination, but has taken no steps to remedy it.

       ANSWER

       KPMG denies the allegations set forth in paragraph 49 of the FAC.

       50.     Ms. Kassman repeatedly complained about the discrimination and harassment she
was experiencing, going through all of the requisite channels, including her performance
manager, Principal Schapiro; his boss, Principal Brown; the Office of Ethics and Compliance;
the Office of General Counsel; and Human Resources. Every step of the way, the Company
reacted with indifference and simply passed the buck.

       ANSWER

       KPMG admits that Ms. Kassman raised purported concerns. KPMG denies the remainder
       of the allegations set forth in paragraph 50 of the FAC.

       51.    Even while acknowledging that the facts presented by Ms. Kassman were
undisputed, KPMG sat on its hands and allowed the discrimination and harassment to continue
unabated. Throughout the complaint process, the Company seemed more concerned about
offending Ms. Kassman’s harassers than the harassment itself. In fact, all of the “solutions”
proposed by KPMG treated Ms. Kassman as the source of the problem.

       ANSWER

       KPMG denies the allegations set forth in paragraph 51 of the FAC.

        52.     Other female employees have also complained about KPMG’s discrimination,
only to have their complaints fall on deaf ears. For example, Ms. Patterson repeatedly
complained over the course of a year about the discrimination she was facing to HR and Ethics
and Compliance. However, KPMG failed to do anything to resolve the situation, forcing Ms.
Patterson to leave the Company.




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       ANSWER

       KPMG admits that Ms. Patterson made internal complaints of alleged discrimination to
       KPMG Human Resources and Ethics and Compliance. KPMG denies the remainder of
       the allegations set forth in paragraph 52 of the FAC.

       53.     In yet another situation, HR not only failed to investigate the complaints of
discrimination but failed to intervene when male managers then retaliated against the female
complainant, ultimately forcing her from the Company.

       ANSWER

       KPMG lacks knowledge or information sufficient to form a belief as to the truth of the
       allegations in paragraph 53 of the FAC regarding an unidentified female complainant and
       unidentified male managers, and therefore denies the allegations. KPMG denies the
       remainder of the allegations set forth in paragraph 53 of the FAC.

        54.     KPMG’s mishandling of these repeated complaints highlights various system-
wide flaws in the Company’s complaint mechanisms, including inadequate reporting
mechanisms; the lack of a defined channel to report complaints of discrimination and
harassment; insufficiently defined and implemented investigation procedures; inadequate
training of HR and other professionals tasked with addressing complaints of discrimination and
harassment; and the leadership’s willingness to allow discrimination and an “old boys” culture to
flourish at the Company.

       ANSWER

       KPMG denies the allegations set forth in paragraph 54 of the FAC.

       55.     The blatant disregard and indifference displayed by KPMG towards complaints of
discrimination is all the more shocking given the Company’s awareness that these problems are
systemic. As Vicki Sweeney (“Principal Sweeney”), Principal in Charge of Ethics and
Compliance, told Ms. Kassman, “This is three men ganging up on a woman. We’ve had it
before.”

       ANSWER

       KPMG denies the allegations set forth in paragraph 55 of the FAC.

        56.    Plaintiffs bring this lawsuit on their own behalf and on behalf of a class of
similarly situated female employees Company-wide, including but not limited to Associates,
Senior Associates, Managers, Senior Managers and Managing Directors, to remedy the gender
discrimination they have witnessed and experienced during their years of exemplary service to
KPMG. The lawsuit is designed to achieve systemic injunctive relief and to change KPMG’s
discriminatory employment policies, practices and/or procedures based on gender, including: (1)
assigning female Professionals to lower titles than similarly-situated male employees; (2) paying
female Professionals less than their male counterparts; (3) denying female Professionals
promotion and advancement opportunities in favor of male employees; (4) treating pregnant

                                               15
employees and mothers differently from non-pregnant employees, male employees, and non-
caregivers; and (5) failing to prevent, respond to, adequately investigate, and/or appropriately
resolve instances of gender discrimination and pregnancy/caregiver discrimination in the
workplace.

       ANSWER

       KPMG admits that Plaintiffs purport to bring this action as described in paragraph 56 of
       the FAC. KPMG denies the remainder of the allegations set forth in paragraph 56 of the
       FAC.

      57.    Had the changes sought been in place previously, Plaintiffs might still be
employed there and might, in fact, be able to pursue careers there moving forward should those
changes come about as a result of this action.

       ANSWER

       KPMG denies the allegations set forth in paragraph 57 of the FAC.

       II.     JURISDICTION AND VENUE

      58.     This Court has subject matter jurisdiction over this suit pursuant to 28 U.S.C.
§1332(a)(1), Title VII of the Civil Rights Act of 1964, and 42 U.S.C. § 2000(e)-5(f), et seq., as
amended (“Title VII”), the Equal Pay Act, 29 U.S.C. § 206, et seq., the Family and Medical
Leave Act, 29 U.S.C. § 2601, et seq., the Civil Rights Act of 1866, 42 U.S.C. § 1981, et seq., as
amended, and supplemental jurisdiction pursuant to 28 U.S.C. § 1367.

       ANSWER

       KPMG denies it has violated any of the laws set in paragraph 58 of the FAC. Paragraph
       58 of the FAC states legal conclusions to which no response is required. To the extent a
       response is required, the allegations are denied.

        59.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and 42 U.S.C.
2000e-5(f) because Defendant KPMG is headquartered and conducts substantial business in this
District, and because Plaintiffs Kassman and Potter were employees of KPMG’s New York,
New York office when the unlawful employment practices were committed.

       ANSWER

       KPMG admits that it is headquartered and conducts business in the Southern District of
       New York and that Ms. Kassman and Ms. Potter worked in KPMG’s New York, New
       York office during their employment with KPMG. KPMG denies that venue is
       appropriate for the other named plaintiffs.

       60.     Plaintiffs have standing to bring this suit as Plaintiff Kassman has duly filed her
administrative charge before the EEOC and received her Notice of Right to Sue on March 9,



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2011. Ms. Kassman’s administrative charge gave notice of the class-wide nature of the
allegations, including those alleged by the other Named Plaintiffs.

       ANSWER

       KPMG admits that Ms. Kassman filed an administrative charge before the EEOC and
       received a right to sue notice dated March 9, 2011. KPMG denies the remainder of the
       allegations set forth in paragraph 60 of the FAC.

       III.   THE PARTIES

       61.    Plaintiff DONNA KASSMAN is a resident of New York. Plaintiff was employed
at KPMG in its New York, New York office as an Associate, a Senior Associate, a Manager, and
then a Senior Manager from April 1993 until her constructive discharge from the Company in
October 2010.

       ANSWER

       KPMG admits that Ms. Kassman was employed in its New York, New York office as an
       Associate, Senior Associate, Manager and Senior Manager beginning in April 1993 but
       also worked in Connecticut during her employment with KMPG. KPMG lacks
       knowledge or information sufficient to form a belief as to the truth of the allegations
       regarding Ms. Kassman’s state of residence, and therefore denies the allegations. KPMG
       denies the remainder of the allegations set forth in paragraph 61 of the FAC.

       62.     Plaintiff SPARKLE PATTERSON is a resident of Georgia. Plaintiff was
employed at KPMG in its Atlanta, Georgia office as an Associate from June 2007 until her
constructive discharge from the Company in November 2010.

       ANSWER

       KPMG admits that Ms. Patterson was employed in its Atlanta, Georgia office as an
       Associate from June 2007 until November 2010. KPMG lacks knowledge or information
       sufficient to form a belief as to the truth of the allegations regarding Ms. Patterson’s state
       of residence, and therefore denies the allegations. KPMG denies the remainder of the
       allegations set forth in paragraph 62 of the FAC.

        63.     Plaintiff JEANETTE POTTER is a resident of Israel. Plaintiff was employed at
KPMG in its New York, New York office as a Manager, then a Senior Manager from July 1995
until her constructive discharge in July 2006.

       ANSWER

       KPMG admits that Ms. Potter was employed in its New York, New York office as a
       Senior Manager from July 1995 until July 2006. KPMG lacks knowledge or information
       sufficient to form a belief as to the truth of the allegations regarding Ms. Potter’s country
       of residence, and therefore denies the allegations. KPMG denies the remainder of the
       allegations set forth in paragraph 63 of the FAC.

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       64.    Plaintiff ASHWINI VASUDEVA is a resident of California. Plaintiff was
employed at KPMG in its Mountain View, California office as an Associate, then a Senior
Associate, from January 2005 until her constructive discharge from the Company in September
2009.

       ANSWER

       KPMG admits that Ms. Vasudeva was employed in its Mountain View, California office
       as an Associate and Senior Associate from January 2005 to September 2009. KPMG
       lacks knowledge or information sufficient to form a belief as to the truth of the
       allegations regarding Ms. Vasudeva’s state of residence, and therefore denies the
       allegations. KPMG denies the remainder of the allegations set forth in paragraph 64 of
       the FAC.

      65.     Plaintiff TINA BUTLER is a resident of Virginia. Plaintiff is a current employee
of KPMG and has been employed at KPMG since October 2004 in its Atlanta, Georgia and
Tysons, Virginia offices as an Associate, Senior Associate, and, since 2013, as a Manager.

       ANSWER

       KPMG admits that Plaintiff Tina Butler (“Ms. Butler”) has been employed by KPMG
       since October 2004, that she is currently a Manager in its Tysons, Virginia office and that
       she previously held the positions of Associate and Senior Associate and worked in
       KPMG’s Atlanta, Georgia office. KPMG lacks knowledge or information sufficient to
       form a belief as to the truth of the allegations regarding Ms. Butler’s state of residence,
       and therefore denies the allegations.

      66.    Plaintiff CHERYL CHARITY is a resident of Virginia. Plaintiff is a current
employee of KPMG and has been employed at KPMG since March 2001 in its Washington, D.C.
and Tysons, Virginia offices as a Senior Associate, Manager, and, since 2011, as a Senior
Manager/Director.

       ANSWER

       KPMG admits that Plaintiff Cheryl Charity (“Ms. Charity”) began her employment at
       KPMG in March 2001 and that she held the positions of Senior Associate and Manager
       and worked in KPMG’s Washington, D.C. and Tysons, Virginia offices. KPMG denies
       that Ms. Charity is a current employee of KPMG. KPMG lacks knowledge or information
       sufficient to form a belief as to the truth of the allegations regarding Ms. Charity’s state
       of residence, and therefore denies the allegations.

    67.    Plaintiff HEATHER INMAN is a resident of Missouri. Plaintiff was employed at
KPMG from August 2005 to October 2014 in its St. Louis, Missouri office as a Manager.

       ANSWER

       KPMG admits that Plaintiff Heather Inman (“Ms. Inman”) was employed in its St. Louis,
       Missouri office as a Manager from August 2005 to November 2014. KPMG lacks

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       knowledge or information sufficient to form a belief as to the truth of the allegations
       regarding Ms. Inman’s state of residence, and therefore denies the allegations.

       68.     Plaintiff NANCY JONES is a resident of Georgia. Plaintiff was employed at
KPMG in its Atlanta, Georgia office as a Senior Associate from November 2010 until her
constructive discharge from the Company in June 2014.

       ANSWER

       KPMG admits that Plaintiff Nancy Jones (“Ms. Jones”) was employed in its Atlanta,
       Georgia office as a Senior Associate from November 2010 to July 2014. KPMG lacks
       knowledge or information sufficient to form a belief as to the truth of the allegations
       regarding Ms. Jones’s state of residence, and therefore denies the allegations. KPMG
       denies the remainder of the allegations set forth in paragraph 68 of the FAC.

       69.     Plaintiff CAROL MURRAY is a resident of Washington. Plaintiff is a current
employee of KPMG and has been employed at KPMG since October 2008 in its Los Angeles,
California and Seattle, Washington offices as an Associate, Senior Associate, and, since 2013, as
a Manager.

       ANSWER

       KPMG admits that Plaintiff Carol Murray (“Ms. Murray”) has been employed by KPMG
       since September 2008, that she is currently a Manager in KPMG’s Seattle office and that
       she previously held the positions of Associate and Senior Associate and worked in
       KPMG’s Los Angeles office. KPMG lacks knowledge or information sufficient to form a
       belief as to the truth of the allegations regarding Ms. Murray’s state of residence, and
       therefore denies the allegations.

       70.     Defendant KPMG LLP (“KPMG” or the “Company”) is an audit, tax, and
advisory services firm headquartered in New York, New York. It is the U.S. member firm of
KPMG International, which is headquartered in the Netherlands. In 2011, KPMG reported global
revenues of $22.7 billion.

       ANSWER

       KPMG admits that it is an audit, tax and advisory firm headquartered in New York, New
       York and that it is the U.S. member firm of KPMG International Cooperative, which is
       headquartered in the Netherlands. KPMG denies the remainder of the allegations set forth
       in paragraph 70 of the FAC.

       IV.    FACTUAL ALLEGATIONS

       A.     PLAINTIFF DONNA KASSMAN

       71.     Ms. Kassman suffered discrimination in pay, denial of promotional opportunities,
discrimination as a result of pregnancy, and a hostile work environment. She was ultimately
constructively discharged.

                                               19
       ANSWER

       KPMG denies the allegations set forth in paragraph 71 of the FAC.

       72.    In April of 1993, Ms. Kassman began working at KPMG as an Associate. She had
previously earned her Bachelor of Arts in Political Science from the University of Michigan in
1989 and completed her law degree in 1992.

       ANSWER

       KPMG admits that Ms. Kassman began working at KPMG as an Associate in April 1993
       and that she purports to hold certain degrees and qualifications. KPMG lacks knowledge
       or information sufficient to form a belief as to the truth of the allegations regarding Ms.
       Kassman’s educational history, and therefore denies the allegations. KPMG denies the
       remainder of the allegations set forth in paragraph 72 of the FAC.

       73.    For promotions from entry-level Associates to Senior Managers, KPMG uses a
standard career progression track, which advances employees on a schedule of approximately
every two years in the following order: Associate, Senior Associate, Manager, and Senior
Manager.

       ANSWER

       KPMG denies the allegations set forth in paragraph 73 of the FAC.

        74.    In the years after Ms. Kassman began working at KPMG, she steadily progressed
along the Company’s standard career track. In 1995, Ms. Kassman became a Senior Associate,
and two years later, in 1997, she advanced to the position of Manager. In 1999, Ms. Kassman
went on to become a Senior Manager – the position in which she would be stuck for eleven
years, before ultimately being pushed out of the Company.

       ANSWER

       KPMG admits that Ms. Kassman became a Senior Associate in 1995, that she became a
       Manager in 1997, that she became a Senior Manager in 1999, and that she remained in
       the position of Senior Manager for approximately 11 years. KPMG denies the remainder
       of the allegations set forth in paragraph 74 of the FAC.

       75.    Throughout her seventeen-year tenure, Ms. Kassman demonstrated stellar
performance at KPMG.

       ANSWER

       KPMG admits that Ms. Kassman was employed by KPMG for approximately 17 years.
       KPMG denies the remainder of the allegations set forth in paragraph 75 of the FAC.




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        76.    In Ms. Kassman’s Fiscal Year 2006 Year End Performance Review (“Review”),
Principal Schapiro, to whom she directly reported, wrote that she “contributed greatly to the
overall success of the practice” and that “staff look to her for guidance.”

       ANSWER

       KPMG admits that Ms. Kassman reported directly to Scott Schapiro at the time that she
       received her Fiscal Year End Performance Review, admits that Ms. Kassman received a
       Fiscal Year 2006 Year End Performance Review and refers to that source for a complete
       statement of its contents. KPMG denies the remainder of the allegations set forth in
       paragraph 76 of the FAC.

        77.    The following year, in Ms. Kassman’s 2007 Review, he wrote that Plaintiff “had a
very strong year.”

       ANSWER

       KPMG admits that Ms. Kassman received a Fiscal Year 2007 Year End Performance
       Review and refers to that source for a complete statement of its contents. KPMG denies
       the remainder of the allegations set forth in paragraph 77 of the FAC.

       78.    Principal Schapiro wrote in Ms. Kassman’s 2008 Review that she “had a very
successful FY 2008, and ha[d] shown excellent leadership abilities.”

       ANSWER

       KPMG admits that Ms. Kassman received a Fiscal Year 2008 Year End Performance
       Review and refers to that source for a complete statement of its contents. KPMG denies
       the remainder of the allegations set forth in paragraph 78 of the FAC.

       79.     He wrote in Ms. Kassman’s 2009 Review that she “did all the right things from a
business perspective to be successful,” that she “ha[d] been a leader in the office, and ha[d] been
forward thinking.”

       ANSWER

       KPMG admits that Ms. Kassman received a Fiscal Year 2009 Year End Performance
       Review and refers to that source for a complete statement of its contents. KPMG denies
       the remainder of the allegations set forth in paragraph 79 of the FAC.

        80.    In Ms. Kassman’s 2010 Review, Principal Schapiro wrote that she again had “a
very strong year.”

       ANSWER

       KPMG admits that Ms. Kassman received a Fiscal Year 2010 Year End Performance
       Review and refers to that source for a complete statement of its contents. KPMG denies
       the remainder of the allegations set forth in paragraph 80 of the FAC.


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        81.    Upon information and belief, KPMG paid Ms. Kassman less than similarly-
situated male employees, despite her exemplary performance; she was paid at a lower rate than
men for equal work on jobs requiring equal skill, effort, and responsibility, and which were
performed under similar working conditions.

       ANSWER

       KPMG denies the allegations set forth in paragraph 81 of the FAC.

       82.     Ten years after joining KPMG, Ms. Kassman went on maternity leave in May
2003, just before the birth of her first child in June 2003.

       ANSWER

       KPMG admits that Ms. Kassman began employment with KPMG in April 1993, began a
       maternity leave in May 2003 and that she reports to have given birth to a child thereafter.
       KPMG denies the remainder of the allegations set forth in paragraph 82 of the FAC.

        83.     While Ms. Kassman was on maternity leave, KPMG abruptly cut her base salary
by $20,000 because she was paid “too much.” Similar cuts were not made to male counterparts’
salaries, and as a result, Ms. Kassman was and continued to be paid $20,000 less than her male
counterparts during her tenure at KPMG.

       ANSWER

       KPMG admits that Ms. Kassman’s salary was decreased by $20,000 in 2003, and avers
       that the salaries of other employees in her practice group, including male employees, also
       were reduced at the same time. KPMG denies the remainder of the allegations set forth in
       paragraph 83 of the FAC.

        84.    For example, Senior Manager John Montgomery’s pay was not cut in May 2003
or later as a Senior Manager, even though he had joined KPMG after Ms. Kassman, worked
under the same Partner, and worked on engagements for similar clients. He performed the same
tasks as Ms. Kassman, and upon information and belief, did so with no greater skill or effort than
Ms. Kassman, achieving a substantially equivalent level of performance.

       ANSWER

       KPMG admits that John Montgomery joined KPMG after Ms. Kassman joined, and that
       Mr. Montgomery’s pay (which was substantially less than Ms. Kassman’s) was not cut in
       2003. KPMG denies the remainder of the allegations set forth in paragraph 84 of the
       FAC.

       85.    KPMG cited no business justification for slashing her salary. When Ms. Kassman
asked her manager at the time, Gary Rosen (“Partner Rosen”), Partner in Charge of the Northeast
State and Local Tax (“SALT”) Practice, to reconsider the cut in her salary, he said that she
should consider some of her past salary “a loan,” implying that she had not earned it for
exemplary performance. He also indicated that Ms. Kassman did not need the money because

                                               22
she had a nice engagement ring. Upon information and belief, KPMG disparately paid Ms.
Kassman because of her gender and her status as a working mother.

       ANSWER

       KPMG denies the allegations set forth in paragraph 85 of the FAC.

        86.     In addition, KPMG discriminates against flex time workers – the overwhelming
majority of whom are women – by reducing their salaries without a commensurate reduction in
responsibilities. While Ms. Kassman performed precisely the same tasks after she became a “flex
time” employee as male Senior Managers in SALT with her experience level, she received less
in salary than male and non-caretaking Senior Managers. These conditions did not change from
when she began the flex time plan after returning from maternity leave in 2004 until she departed
from the Company in 2010.

       ANSWER

       KPMG denies the allegations set forth in paragraph 86 of the FAC.

        87.     Upon information and belief, Ms. Kassman was not the only woman to suffer the
effects of the compensation policies and practices at KPMG, which lacked sufficient standards
and quality controls, transparency, implementation metrics, and opportunities for redress that
would otherwise have ensured there was no disparate impact on female professionals.

       ANSWER

       KPMG denies the allegations set forth in paragraph 87 of the FAC.

        88.     Upon information and belief, KPMG management systematically took advantage
of the flaws in the system by paying female employees less than similarly situated male
employees. KPMG underpays female Professionals at all levels throughout the Company relative
to similarly situated male employees.

       ANSWER

       KPMG denies the allegations set forth in paragraph 88 of the FAC.

       89.    Despite Ms. Kassman’s stellar qualifications and performance, KPMG denied her
promotions in favor of lesser-qualified male employees. The Company’s evaluation and
promotion systems’ insufficient quality standards and controls and implementation metrics,
coupled with their lack of transparency and opportunities for redress, had a discriminatory and
disparate impact on women and caretaking employees.

       ANSWER

       KPMG denies the allegations set forth in paragraph 89 of the FAC.




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        90.    Throughout Ms. Kassman’s last decade as a Senior Manager at KPMG, she
consistently expressed interest in a promotion to Managing Director and ultimately to Partner.
After several strong performance years and numerous requests for advancement, Principal
Schapiro finally told Ms. Kassman she was next in line for a promotion in the employment tax
practice. In December 2008, Principal Schapiro confirmed that Ms. Kassman would be put up for
a promotion to Tax Managing Director effective for the Fiscal Year 2009/2010 beginning
October 1, 2009. The promotion decision was to be made during the summer of 2009. However,
Ms. Kassman was not promoted that year, despite her strong performance.

       ANSWER

       KPMG admits that Ms. Kassman expressed interest in a promotion to Managing Director,
       that Mr. Schapiro sought to put Ms. Kassman forward for promotion in 2009 (to take
       effect in Fiscal Year 2010, beginning October 1, 2009), and that Ms. Kassman was not
       promoted in 2009. KPMG denies the remainder of the allegations set forth in paragraph
       90 of the FAC.

       91.     In early 2009, Ms. Kassman successfully completed the formal Leadership
Evaluation & Assistance Program (“LEAP”) for the KPMG SALT Practice in preparation for her
promotion to Managing Director. According to Ms. Kassman’s 2009 Review, she “successfully
presented and navigated the SALT LEAP program and received favorable reviews.” She
presented to the National Partner in Charge of the SALT Practice, Tim Gillis, who told her that
she had his vote.

       ANSWER

       KPMG admits that Ms. Kassman completed the Leadership Evaluation and Assistance
       Program (“LEAP”) for KPMG’s SALT practice in early 2009, that Ms. Kassman
       received a Fiscal Year 2009 Year End Performance Review and refers to that source for a
       complete statement of its contents. KPMG denies the remainder of the allegations set
       forth in paragraph 91 of the FAC.

        92.    In mid-2009, Principal Schapiro again confirmed that Ms. Kassman was next in
line for a promotion in her practice. On at least one occasion in or around summer 2009, Ben
Garfunkel (“Partner Garfunkel”), the National Partner in Charge of IES, echoed Principal
Schapiro’s comments by stating that he knew Ms. Kassman was “in queue” to make Managing
Director. Ms. Kassman’s status was specifically a point of discussion with Partner Garfunkel
since she was leaving the SALT Practice (where she was presented for promotion) and entering
the IES practice, of which he was the leader. Ms. Kassman wanted confirmation that she would
not lose her “next in line” status by switching practices.

       ANSWER

       KPMG admits that Ben Garfunkel was the National Partner in Charge of IES in 2009 and
       that Ms. Kassman transferred to IES in October 2009. KPMG denies the remainder of the
       allegations set forth in paragraph 92 of the FAC.



                                              24
         93.   In Ms. Kassman’s 2009 Review, Principal Schapiro wrote that “an effort was
made to promote Donna to TMD effective fy ’10…,” but explained that it did not happen
because of the economy. Principal Schapiro also told Ms. Kassman that no one would receive a
promotion to Managing Director at that time due to the economy, but that she would remain first
in line.

       ANSWER

       KPMG admits that Ms. Kassman received a Fiscal Year 2009 Year End Performance
       Review and refers to that source for a complete statement of its contents. KPMG denies
       the remainder of the allegations set forth in paragraph 93 of the FAC.

        94.   Shortly after Ms. Kassman was “put-up” for promotion and proceeded through the
formal channels set up by the SALT Practice (i.e., the LEAP program) in 2009, Senior Manager
Montgomery and his direct subordinate, Associate Stone, lodged unfounded complaints about
her. Although Ms. Kassman had never received a similar complaint in her seventeen years with
KPMG, Associate Stone and Senior Manager Montgomery claimed she was considered
“unapproachable” and “too direct,” a thinly-veiled gender-based criticism, particularly given the
abundance of “direct” male personalities in the senior leadership of KPMG.

       ANSWER

       KPMG admits that Stone and Montgomery complained about Ms. Kassman. KPMG
       denies the remainder of the allegations set forth in paragraph 94 of the FAC.

        95.    As a result of Associate Stone’s and Senior Manager Montgomery’s unfounded
and gendered complaints, KPMG removed Ms. Kassman from the promotion track sometime in
late 2009 or early 2010, when a candidate is typically put up for promotion.

       ANSWER

       KPMG denies the allegations set forth in paragraph 95 of the FAC.

        96.   In December 2009, Ms. Kassman again discussed with Principal Schapiro
whether she would be put up for the Managing Director position for the 2010/2011 fiscal year
beginning October 1, 2010. Although Principal Schapiro had previously assured Ms. Kassman
that she was next in line for the promotion, he claimed that he “[didn’t] know anything about
making Tax Managing Director in the IES practice,” and instead referred Ms. Kassman to
Principal Brown.

       ANSWER

       KPMG admits that Mr. Shapiro recommended that Ms. Kassman speak with Ms. Brown
       for career advice. KPMG denies the remainder of the allegations set forth in paragraph 96
       of the FAC.

       97.   At Principal Schapiro’s suggestion, Ms. Kassman met with Principal Brown in
January 2010 to discuss her career. When Ms. Kassman brought up the Managing Director

                                               25
position, Principal Brown said that Ms. Kassman’s name had never come up, that she was not on
the list of candidates for that year, and that it was too late for her name to be submitted. Principal
Brown later acknowledged that she had lied about the list of candidates being closed.

       ANSWER

       KPMG admits that Ms. Kassman met with Principal Patricia Brown in January 2010, that
       during that meeting Ms. Kassman discussed her career, and that Ms. Brown told Ms.
       Kassman that she was not being considered for Tax Managing Director for that year.
       KPMG denies the remainder of the allegations set forth in paragraph 97 of the FAC.

       98.    In April 2010, Ms. Kassman learned from a colleague that Senior Manager
Montgomery was up for promotion to Managing Director for the 2010/2011 Fiscal Year – the
same position that had previously been slated for Ms. Kassman. Principal Schapiro had
apparently – without informing Ms. Kassman – removed her from the promotion track and
replaced her with Senior Manager Montgomery, even though he had a shorter tenure with the
Company, fewer years as Senior Manager, and less professional experience overall than Ms.
Kassman by several years. Upon information and belief, no male Senior Managers were
removed from the Managing Director track in this abrupt fashion.

       ANSWER

       KPMG denies the allegations set forth in paragraph 98 of the FAC.

        99.  Ms. Kassman was a victim of Associate Stone’s and Senior Manager
Montgomery’s discriminatory campaign to derail a female employee’s advancement to
Managing Director – an effort that KPMG’s partnership not only failed to stop, but actively
carried out.

       ANSWER

       KPMG denies the allegations set forth in paragraph 99 of the FAC.

       100. Upon information and belief, KPMG has perpetrated and/or condoned similar
discriminatory campaigns to derail the careers of other successful female Professionals who were
poised to assume positions of greater authority and influence within the Company.

       ANSWER

       KPMG denies the allegations set forth in paragraph 100 of the FAC.

        101. Upon information and belief, KPMG’s performance evaluation system’s
insufficient quality standards and controls and implementation metrics, coupled with its lack of
transparency and opportunities for redress, had a discriminatory and disparate impact on women
and caretaking employees.




                                                 26
       ANSWER

       KPMG denies the allegations set forth in paragraph 101 of the FAC.

        102. Upon information and belief, KPMG management systematically took advantage
of the flaws in the system and often undervalued, mismeasured, or otherwise inaccurately
captured performance to the particular detriment of women and mothers. In addition, unfounded
criticism can be included and legitimate criticism given undue weight. Within this flawed
system, leave for pregnancy and caretaking responsibilities can constitute a negative factor in
female Professionals’ evaluations, compensation decisions and promotion considerations at
KPMG.

       ANSWER

       KPMG denies the allegations set forth in paragraph 102 of the FAC.

      103. Moreover, KPMG’s flawed promotion practices consistently result in males being
promoted more rapidly and assigned more frequently to higher positions than women across the
Company.

       ANSWER

       KPMG denies the allegations set forth in paragraph 103 of the FAC.

       104. From 2003 until her constructive discharge in 2010, KPMG discriminated against
Ms. Kassman based on her gender due to her caregiving responsibilities as a working mother.
Because of Ms. Kassman’s status as a working mother, KPMG continuously subjected her to
disparate treatment, and also made adverse decisions concerning her employment.

       ANSWER

       KPMG denies the allegations set forth in paragraph 104 of the FAC.

        105. From 1993 until 1999, before Ms. Kassman had her children, she was promoted
on KPMG’s progressive career track from Associate to Senior Manager. However, after she had
her first child in 2003, her advancement abruptly stopped. She was not promoted after she
became a Senior Manager and remained in this position for over ten years as she watched men
and individuals without primary caretaking responsibilities—who shared her level of experience,
responsibility and skill—proceed to Managing Director and Partner positions.

       ANSWER

       KPMG admits that from 1993 to 1999, Ms. Kassman was promoted from Associate to
       Senior Associate to Manager to Senior Manager, and that Ms. Kassman remained in the
       Senior Manager position from 1999 until the end of her employment with KPMG. KPMG
       denies the remainder of the allegations set forth in paragraph 105 of the FAC.




                                              27
       106. Upon information and belief, there were only a handful of female managers with
small children in the Northeast SALT Practice during Ms. Kassman’s tenure with the Company.
Ms. Kassman was the first in her practice to work a flexible schedule.

       ANSWER

       KPMG denies the allegations set forth in paragraph 106 of the FAC.

        107. Even though Ms. Kassman hit the glass ceiling shortly after having children,
KPMG and Principal Schapiro touted her as a role model for working mothers. In practice,
however, KPMG and Principal Schapiro in particular did not support Ms. Kassman’s efforts to
be a successful working mother.

       ANSWER

       KPMG denies the allegations set forth in paragraph 107 of the FAC.

        108. In addition to slashing Ms. Kassman’s salary while she was on maternity leave,
KPMG took a number of adverse employment actions against her. For example, in March of
2004, shortly after Ms. Kassman’s maternity leave ended, Principal Schapiro gave Ms. Kassman
her first negative review at the Company for not meeting her goals. Instead of taking her leave
into account in measuring Ms. Kassman’s goal attainment for the year, Principal Schapiro
penalized her for it.

       ANSWER

       KPMG denies the allegations set forth in paragraph 108 of the FAC.

        109. As a further penalty for taking maternity leave, Principal Schapiro put Plaintiff on
a 60-day PIP, increasing her goals upon her return from maternity leave. Shortly before being
slapped with a PIP, Ms. Kassman told Principal Schapiro that she planned to move to a flexible
work schedule. Principal Schapiro placed Ms. Kassman’s PIP in between papers on her desk
(including the flexible plan paperwork that she was preparing to submit), seemingly in an
attempt to avoid drawing attention to the PIP.

       ANSWER

       KPMG admits that Ms. Kassman was put on a Performance Improvement Plan in March
       2004, and that also in March 2004, Ms. Kassman informed Schapiro that she planned to
       move to a reduced work schedule. KPMG denies the remainder of the allegations set
       forth in paragraph 109 of the FAC.

       110. Before placing Ms. Kassman on a PIP, Principal Schapiro had never indicated to
Ms. Kassman that her performance was unsatisfactory or that she was in jeopardy of being
placed on a PIP. Shocked and dismayed by this unexpected development, Ms. Kassman spoke to
Sharon Katz-Pearlman, another Partner at the Company, who confirmed that there was nothing
in Ms. Kassman’s performance record that would support the imposition of a PIP before she had
her baby.

                                               28
       ANSWER

       KPMG denies the allegations set forth in paragraph 110 of the FAC.

        111. Two years later, Principal Schapiro again penalized Ms. Kassman for taking
maternity leave when she had her second child. He again held her to higher standards than her
peers after returning from leave. He also wrote in her 2006 Review that her work was “somewhat
abbreviated due to Donna’s maternity leave.”

       ANSWER

       KPMG admits that Ms. Kassman received a Fiscal Year 2006 Year End Performance
       Review and refers to that source for a complete statement of its contents. KPMG denies
       the remainder of the allegations set forth in paragraph 111 of the FAC.

        112. From 2004 until her constructive discharge in 2010, Ms. Kassman worked a
reduced schedule under KPMG’s flexible schedule policy. Although the Company reduced Ms.
Kassman’s pay in proportion to her reduced schedule, it held her to the same or higher
performance standards than full-time employees. If she did not meet full-time standards on her
reduced schedule, Ms. Kassman was penalized and considered less committed to her career. Her
flexible schedule essentially acted as a “penalty” on her employment opportunities at KPMG.

       ANSWER

       KPMG admits that Ms. Kassman worked a reduced schedule from 2004 until 2010, and
       that KPMG reduced Ms. Kassman’s pay in proportion to her reduced schedule. KPMG
       denies the remainder of the allegations set forth in paragraph 112 of the FAC.

       113. While Ms. Kassman was working on a reduced schedule, KPMG essentially
expected her to do the job of a full-time Senior Manager in fewer hours and for less pay. For
example, her job requirements related to marketing, teaching, speaking, coaching, administrative,
and client development were the same job requirements of full-time Senior Managers. When
KPMG evaluated Ms. Kassman’s work performance, the Company measured her against the
requirements of a full-time employee. Indeed, both of Plaintiff’s direct supervisors – Principal
Schapiro and Partner Rosen – acknowledged this by writing in her LEAP Nomination Form,
“Although she works a reduced hourly schedule, she has the same responsibilities as every other
Senior Manager in the Practice.”

       ANSWER

       KPMG admits that Scott Schapiro and Gary Rosen were the sponsoring partners of Ms.
       Kassman’s nomination to the LEAP program, and KPMG refers to Ms. Kassman’s LEAP
       Nomination Form for a complete statement of its contents. KPMG denies the remainder
       of the allegations set forth in paragraph 113 of the FAC.

       114. Upon information and belief, other female Professionals who took maternity leave
and had caregiving responsibilities faced similar systemic barriers to equal employment
opportunities at KPMG. In particular, Ms. Kassman’s department, the SALT practice, had a poor

                                               29
track record of retaining working mothers. KPMG fired several working mothers within the
SALT practice, including one who was pregnant, and forced others out of the Company under
circumstances similar to Ms. Kassman’s.

       ANSWER

       KPMG denies the allegations set forth in paragraph 114 of the FAC.

        115. Upon information and belief, taking leave or hours reductions for pregnancy and
caretaking reasons is considered a negative factor in employees’ evaluations, compensation
decisions and promotion considerations, resulting in an adverse impact on women and mothers at
the Company. The Company’s policies and procedures regarding evaluation, compensation and
promotion lack the transparency, standards, quality controls, implementation metrics, and means
for redress necessary to prevent this disparate impact on female Professionals who are pregnant
or mothers.

       ANSWER

       KPMG denies the allegations set forth in paragraph 115 of the FAC.

        116. KPMG’s overwhelmingly female flexible workers are denied not only the pay
they deserve, but also various other Company benefits. For example, in early 2010, the
Company’s Stamford office adopted a policy requiring employees to be in the office a minimum
of three days per week in order to qualify for office space. This policy had a disparate impact on
female employees such as Ms. Kassman, who had three “in-office” days (per her flex time
agreement), one of which was typically spent out of the office generating business.

       ANSWER

       KPMG admits that, due to space constraints, KPMG’s Stamford, Connecticut office
       adopted a policy, and refers to the applicable hoteling policy for a complete statement of
       its contents; and that in early 2010, Ms. Kassman typically worked out of the Stamford
       office two days per week. KPMG denies the remainder of the allegations set forth in
       paragraph 116 of the FAC.

        117. In addition, because most of KPMG’s relationship-building activities occur after
hours, employees with primary caregiving responsibilities – the majority of whom are women –
are at a disadvantage in their career development. For example, when Ms. Kassman expressed
concern to Partner Rosen about her $20,000 salary cut, he suggested that she socialize at
KPMG’s weekly happy hours as a way to ingratiate herself with the Company’s leadership and
advance her career. Ms. Kassman explained that, because she had young children, she could not
attend happy hours, but was more than willing to meet with people over lunch, breakfast or
coffee.

       ANSWER

       KPMG denies the allegations set forth in paragraph 117 of the FAC.


                                               30
        118. The few women who have advanced to the partnership ranks at KPMG have done
so by sacrificing their personal lives and abandoning any semblance of work-life balance. For
example, KPMG frequently touted a Partner in the Atlanta office, Tammy Hunter, as a role
model for other working mothers because she called the Company to discuss work matters on her
way to the delivery room to give birth to her child. The Company apparently viewed this as a
level of dedication to which other working mothers should aspire.

       ANSWER

       KPMG admits that an individual named Tammy Hunter was a Partner in its Atlanta
       office. KPMG denies the remainder of the allegations set forth in paragraph 118 of the
       FAC.

        119. Aside from these rare exceptions, working mothers have been unable to make
significant inroads at KPMG – and are unlikely to do so given the Company’s discriminatory
culture, which, in combination with insufficiently designed and articulated systems of evaluation,
compensation, development, and promotion, produces an adverse impact on working mothers. In
May 2010, Ms. Kassman was at dinner during an American Payroll Association conference with
several colleagues, including the Partner in charge of the West IES practice, Ray Pascuzzi
(“Partner Pascuzzi”). At this dinner, Partner Pascuzzi proclaimed that “part time women work
exactly their x hours and not a minute over,” that “you know you can’t make them work
anymore,” and that “you know they’re not going to get anywhere.”

       ANSWER

       KPMG denies the allegations set forth in paragraph 119 of the FAC.

       120. From late 2009 until her constructive discharge in October 2010, Ms. Kassman
suffered increasing harassment and unequal treatment at KPMG.

       ANSWER

       KPMG denies the allegations set forth in paragraph 120 of the FAC.

       121     Beginning in October 2009, Associate Stone began complaining that he “didn’t
like [Ms. Kassman’s] tone.” Senior Manager Montgomery agreed with these complaints.
Together, these two men complained that Ms. Kassman was “unapproachable” and “too direct,”
a gender-based criticism, particularly given Associate Stone’s and Senior Manager
Montgomery’s “direct” personalities, which are embraced by senior leadership at KPMG.
Principal Schapiro, her Performance Manager, conveyed these unfounded criticisms to Ms.
Kassman directly in informal evaluations. Nonetheless, KPMG did not correct Associate Stone’s
or Senior Manager Montgomery’s discriminatory behavior.

       ANSWER

       KPMG admits that Associate Stone made complaints about Ms. Kassman’s conduct and
       that Senior Manager Montgomery also identified certain issues. KPMG denies the
       remainder of the allegations set forth in paragraph 121 of the FAC.

                                               31
         122. In addition to complaining about Ms. Kassman’s “tone,” Associate Stone also
complained about her flexible work schedule. Consistent with the work-life balance priorities
marketed at KPMG, the Company had approved Ms. Kassman’s schedule after the birth of her
first child. However, Associate Stone disapproved of Ms. Kassman’s flexible work schedule and
complained – again, without basis – that it forced him to “work harder” from Monday until
Thursday.

       ANSWER

       KPMG denies the allegations set forth in paragraph 122 of the FAC.

       123. KPMG did nothing to correct Associate Stone’s discriminatory actions, even
though Principal Schapiro told Ms. Kassman in March 2010 that Associate Stone “might have an
issue working with women.” Moreover, when Ms. Kassman complained about Associate Stone’s
conduct, Principal Schapiro replied that he did not know if Associate Stone was “unprofessional,
stupid or vicious.” Despite Principal Schapiro’s admission regarding Associate Stone’s
inappropriate and discriminatory behavior, upon information and belief, KPMG took no steps to
respond to Ms. Kassman’s concerns.

       ANSWER

       KPMG denies the allegations set forth in paragraph 123 of the FAC.

        124. Instead of disciplining Associate Stone, KPMG constantly reprimanded Ms.
Kassman as a result of Associate Stone’s and Senior Manager Montgomery’s gender-based
criticisms. For example, KPMG forced Ms. Kassman to participate in an excessive number of
stressful meetings and intense interrogations, often occurring on a weekly basis, from late 2009
until mid-2010. During the meetings, Ms. Kassman was questioned about her “tone” and other
gendered complaints like her “direct” approach. This harassment and unequal treatment was
extremely disruptive and distressing to Ms. Kassman both personally and professionally.

       ANSWER

       KPMG denies the allegations set forth in paragraph 124 of the FAC.

       125. After months of meetings, the Company encouraged Ms. Kassman to consult with
a “coach” to resolve issues concerning Associate Stone’s and Senior Manager Montgomery’s
discriminatory complaints and harassment. By issuing such a reprimand to Ms. Kassman, KPMG
chose to believe these two men’s unfounded complaints over her longstanding “very strong”
performance and collaborative work style. At the time, Associate Stone – who was widely
regarded as an “asshole” – had only been at the Company for approximately sixteen months,
whereas Ms. Kassman had been there for sixteen years.

       ANSWER

       KPMG admits that it encouraged Ms. Kassman to consult with a coach to help with her
       professional development. KPMG denies the remainder of the allegations set forth in
       paragraph 125 of the FAC.

                                              32
       126. Instead of disciplining Mr. Stone for his discriminatory conduct, KPMG promoted
Mr. Stone to a Senior Associate position and recently promoted him to Manager.

       ANSWER

       KPMG admits that Jonathan Stone was promoted to Senior Associate and then to
       Manager. KPMG denies the remainder of the allegations set forth in paragraph 126 of the
       FAC.

      127. Instead of resolving Ms. Kassman’s complaints of discrimination, KPMG
removed her from the promotion track as a result of the gender-biased criticisms leveled against
her.

       ANSWER

       KPMG denies the allegations set forth in paragraph 127 of the FAC.

        128. When the work environment in KPMG’s New York office became unbearable,
Ms. Kassman sought to work only from the Company’s Stamford office in order to avoid her
tormentors. KPMG temporarily granted this request in October 2009, only to effectively rescind
the option six months later. Per Ms. Kassman’s flex time agreement, she spent three days “in-
office” and two working from home. However, at least one of Ms. Kassman’s “in-office” days
was typically spent out of the office with clients.

       ANSWER

       KPMG admits that it permitted Ms. Kassman to work from its Stamford, Connecticut
       office (at her request) beginning in approximately October 2009, and that Ms. Kassman
       typically worked out of the Stamford office two days per week. KPMG denies the
       remainder of the allegations set forth in paragraph 128 of the FAC.

        129. In early 2010, the Stamford office adopted a policy requiring employees to be “in
the office” a minimum of three days per week in order to qualify for office space. Accordingly,
the Company forced her to vacate her Stamford office in April 2010. In lieu of an office, KPMG
suggested Ms. Kassman could make due with four drawers.

       ANSWER

       KPMG admits that due to space constraints, KPMG’s Stamford, Connecticut office
       adopted a policy and refers to the applicable hoteling policy for a complete statement of
       its contents. KPMG denies the remainder of the allegations set forth in paragraph 129 of
       the FAC.

       130. The loss of office space in Stamford made it considerably harder for Ms. Kassman
to perform her work each day. For example, she had to transport and rearrange her work
materials and supplies, which was time-consuming and increased her escalating stress level.
Moreover, it signified to her colleauges and subordinates that her status within KPMG was
diminished, particularly because multiple offices remained unoccupied.

                                              33
       ANSWER

       KPMG denies the allegations set forth in paragraph 130 of the FAC.

        131. Despite available office space, Ken Seal, the Partner in charge of the Stamford
office, refused to allow Ms. Kassman to retain an office. The only alternative was for Ms.
Kassman to return to a hostile work environment in New York.

       ANSWER

       KPMG admits that Ken Seel was the Managing Partner of its Stamford, Connecticut
       office in 2010, and that pursuant to Stamford office policy Ms. Kassman was not
       permitted to retain a permanent office at the Stamford location. KPMG denies the
       remainder of the allegations set forth in paragraph 131 of the FAC.

       132. Thus, KPMG ignored and/or failed to respond to repeated and escalating
complaints and concerns regarding discrimination and retaliation and provided her with the
Hobson’s choice of having no real place at KPMG or returning to the discriminatory
environment which KPMG refused to address.

       ANSWER

       KPMG denies the allegations set forth in paragraph 132 of the FAC.

      133. These accumulating incidents of harassment, increased scrutiny, and
marginalization negatively altered the terms and conditions of Ms. Kassman’s employment at
KPMG, and caused her significant stress in both her professional and personal life.

       ANSWER

       KPMG denies the allegations set forth in paragraph 133 of the FAC.

        134. Upon information and belief, what Human Resources and Ethics and Compliance
policies and procedures exist at KPMG, they lack meaningful quality controls, standards,
implementation metrics, and means of redress. Concerns about discrimination made to
supervising staff and HR itself are allowed to go unaddressed, or worse, to result in further or
increased discrimination and retaliation.

       ANSWER

       KPMG denies the allegations set forth in paragraph 134 of the FAC.

       135. After Ms. Kassman complained about the harassment and unequal treatment by
Associate Stone, Senior Manager Montgomery, and Principal Schapiro, KPMG retaliated against
her.

       ANSWER

       KPMG denies the allegations set forth in paragraph 135 of the FAC.

                                              34
       136. Ms. Kassman complained to both the Office of Ethics and Compliance and the
Office of General Counsel in April 2009 about the ongoing discriminatory treatment towards her.

       ANSWER

       KPMG denies the allegations set forth in paragraph 136 of the FAC.

       137. Principal Sweeney, the Principal in Charge of the Office of Ethics and
Compliance, told Ms. Kassman, “This is three men ganging up on a woman. We’ve had it
before.”

       ANSWER

       KPMG admits that Vicki Sweeney was the Principal in Charge of the Office of Ethics
       and Compliance in 2010. KPMG denies the remainder of the allegations set forth in
       paragraph 137 of the FAC.

        138. However, instead of addressing the discrimination, the Office of Ethics and
Compliance suggested that Ms. Kassman try to relocate to another position within KPMG or
leave the Company with a “package.” On one occasion, Principal Sweeney suggested that Ms.
Kassman go out on leave for emotional distress, noting that many female employees had done so
in the past under similar circumstances.

       ANSWER

       KPMG denies the allegations set forth in paragraph 138 of the FAC.

      139. The Office of General Counsel was equally ineffective in addressing Ms.
Kassman’s complaints of discrimination. After investigating the matter (through David Burns of
Firmwide Security) – and finding the facts undisputed – it simply referred Ms. Kassman to
Human Resources because it was unable to come up with an acceptable solution.

       ANSWER

       KPMG denies the allegations set forth in paragraph 139 of the FAC.

        140. Shortly thereafter, Ms. Kassman spoke with Keri Fleming, Human Resources
Associate Director, East Region Tax, about the ongoing discrimination and harassment she was
experiencing. Together, they decided that Human Resources would be Ms. Kassman’s
mouthpiece to Principal Schapiro because Ms. Kassman would physically shake every time he
called her.

       ANSWER

       KPMG admits that in 2010, Keri Fleming was the Associate Director of Human
       Resources for the Tax Northeast area, and that Ms. Kassman spoke with Ms. Fleming
       regarding wanting to be moved to a different part of KPMG. KPMG denies the remainder
       of the allegations set forth in paragraph 140 of the FAC.


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         141. To minimize contact with her harassers, Ms. Kassman decided that she would try
to transfer to another position within KPMG, even if it meant taking a pay cut, assuming an
administrative position or having to transfer offices. Human Resources assured Ms. Kassman
that it would help with this transition, but failed to follow through on its promise.

       ANSWER

       KPMG admits that Keri Fleming in Human Resources spoke with Ms. Kassman about
       Ms. Kassman wanting to be moved to a different part of KPMG. KPMG denies the
       remainder of the allegations set forth in paragraph 141 of the FAC.

        142. Moreover, even though Ms. Kassman told Human Resources that she did not want
to discuss the matter any further with Principals Schapiro and Brown, she continued to receive
calls from them. From the tenor of those conversations, it was clear to Ms. Kassman that
Principals Schapiro and Brown thought she simply needed time to “cool off” and would
eventually resume working with Senior Manager Montgomery and Associate Stone.

       ANSWER

       KPMG denies the allegations set forth in paragraph 142 of the FAC.

       143. After Principal Schapiro was informed of Ms. Kassman’s complaints, she faced a
number of adverse employment actions. KPMG reprimanded her with a “coach,” forced her to sit
through numerous meetings and interrogations in response to Senior Manager Montgomery’s
and Associate Stone’s gender-based criticisms of her, and ultimately removed her from the
promotion track.

       ANSWER

       KPMG denies the allegations set forth in paragraph 143 of the FAC.

        144. By contrast, KPMG did not discipline Associate Stone, Senior Manager
Montgomery, or Principal Schapiro in any way. In fact, the Company promoted Associate Stone
and, adding insult to injury, “put up” Senior Manager Montgomery for the Managing Director
position once slotted for Ms. Kassman.

       ANSWER

       KPMG admits that Jonathan Stone was promoted from Associate to Senior Associate and
       that KPMG did not discipline Stone, Montgomery or Shapiro because they did not
       engage in any discriminatory conduct. KPMG denies the remainder of the allegations set
       forth in paragraph 144 of the FAC.

       145. Ms. Kassman was forced to end her career at KPMG on October 1, 2010 because
the Company had deliberately made her working conditions so intolerable that she was
compelled to resign involuntarily. Although it had been her goal to continue at KPMG and
eventually reach the Partnership level, the escalating harassment and hostility she faced from her
peers and supervisors – to which HR turned a blind eye – crushed these hopes. It became clear to

                                               36
her that not only had her career stalled, but that she was being marginalized and ultimately
pushed out of the Company against her will. Indeed, the only options provided to her by HR and
Ethics and Compliance were to continue working with her harassers or to leave the Company.

       ANSWER

       KPMG denies the allegations set forth in paragraph 145 of the FAC.

        146. Associate Stone and Senior Manager Montgomery’s unfounded criticisms of Ms.
Kassman, which were exacerbated and reinforced by the “coaching” and interrogations KPMG
forced her to attend, led her to doubt her self-worth and, more important, highlighted what little
value the company to which she had dedicated her professional life placed on her.

       ANSWER

       KPMG denies the allegations set forth in paragraph 146 of the FAC.

       147. As a result of KPMG’s campaign of discrimination and harassment, Ms.
Kassman’s work environment became unbearable. She could barely eat or sleep, and she would
physically shake when she approached the KPMG building or when Principal Schapiro called
her. To avoid running into her tormentors when she worked from the New York office, Ms.
Kassman made a habit of taking the back elevators at work.

       ANSWER

       KPMG denies the allegations set forth in paragraph 147 of the FAC.

       148. Because of her torment and desperation at work, anxiety and depression also
spread into her home life. Her relationship with her husband became strained, and she lacked the
energy to care for her children. She experienced daily headaches, neck pain, back pain, and
weight loss.

       ANSWER

       KPMG denies the allegations set forth in paragraph 148 of the FAC.

        149. Working from the Stamford office was Ms. Kassman’s only hope for escaping the
intolerable conditions of the New York office, but even there she was both marginalized by her
colleagues and physically removed from her office space to a mere set of drawers, all while she
was expected to maintain the same responsibilities and performance of other Senior Managers.

       ANSWER

       KPMG denies the allegations set forth in paragraph 149 of the FAC.

        150. On at least five occasions, Ms. Kassman contacted Keri Fleming in HR to request
a transfer to a different practice. Although Ms. Kassman was willing to work in any division



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other than her current one, HR failed to connect her to any opportunities or otherwise address the
ongoing and persistent discrimination.

       ANSWER

       KPMG denies the allegations set forth in paragraph 150 of the FAC.

       151. Because Ms. Kassman’s previous experience had taught her that KPMG would
not properly address its employees’ unlawful conduct, she felt that she had no recourse against
the pervasive harassment and discrimination. Her repeated requests for assistance were ignored
or resulted in further intimidation, and she was left with the choice of returning to an office
where she was made physically ill by the treatment of her co-workers, or working in a
diminished and disreputable capacity in Stamford. Losing the right to office space in Stamford
while other offices remained unoccupied was demoralizing and physically embodied how she
was being pushed out of the Company.

       ANSWER

       KPMG denies the allegations set forth in paragraph 151 of the FAC.

        152. On October 1, 2010, Ms. Kassman resigned from KPMG, stating in her letter of
resignation, “By ignoring my requests to put an end to the discriminatory treatment, KPMG has
forced me to either continue to endure an intolerable work environment or end my employment. I
therefore have no choice but to leave the Firm.”

       ANSWER

       KPMG admits that Ms. Kassman submitted a notice of resignation on October 1, 2010,
       and refers to Ms. Kassman’s resignation letter for a complete statement of its contents.
       KPMG denies the remainder of the allegations set forth in paragraph 152 of the FAC.

       B.      PLAINTIFF SPARKLE PATTERSON

       153. Ms. Patterson suffered discrimination in pay, denial of promotional opportunities,
and discrimination as a result of gender, pregnancy, and race. She was ultimately constructively
discharged.

       ANSWER

       KPMG denies the allegations set forth in paragraph 153 of the FAC.

       154. KPMG employed Ms. Patterson, an African-American mother of two children,
from June 2007 until her constructive discharge from the Company in November 2010.

       ANSWER

       KPMG admits that it employed Ms. Patterson from June 2007 to November 2010, and
       that Ms. Patterson is African American. KPMG lacks knowledge or information


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       sufficient to form a belief as to the truth of the allegations regarding Ms. Patterson’s
       familial status, and therefore denies the allegations. KPMG denies the remainder of the
       allegations set forth in paragraph 154 of the FAC.

         155. In June 2007, Ms. Patterson began working at KPMG as an Associate in Atlanta,
first in Federal Tax, then in the IES practice, which she joined in August 2008.

       ANSWER

       KPMG admits the allegations set forth in paragraph 155 of the FAC.

       156.   Ms. Patterson proved herself to be an excellent performer.

       ANSWER

       KPMG denies the allegation set forth in paragraph 156 of the FAC.

        157. In her 2008 year-end review, Federal Tax Partner Bernard Cates gave Ms.
Patterson a “Strong” rating and wrote that she was “trending towards an EP [‘Exceptional’]
performance level.”

       ANSWER

       KPMG admits that Ms. Patterson received a review in 2008 and refers to that source for a
       complete statement of its contents. KPMG denies the remainder of the allegations set
       forth in paragraph 157 of the FAC.

       158. In Ms. Patterson’s October 2008 engagement review, IES Manager Greg Woofter
(“Manager Woofter”) wrote that Ms. Patterson worked “diligently” and that he was “pleased
with [her] progress.”

       ANSWER

       KPMG admits that Ms. Patterson received an engagement review in October 2008 and
       refers to that source for a complete statement of its contents. KPMG denies the remainder
       of the allegations set forth in paragraph 158 of the FAC.

       159. In her April 2009 review, Manager Woofter wrote that Ms. Patterson “excelled”
and “exceeded [his] expectations,” and that he wanted to “continue [Ms. Patterson’s] career
progression within the IES practice.”

       ANSWER

       KPMG admits that Ms. Patterson received an engagement review in April 2009 and
       refers to that source for a complete statement of its contents. KPMG denies the remainder
       of the allegations set forth in paragraph 159 of the FAC.

      160. In her 2009 year-end review, Senior Manager Yozura Yoshida (“Manager
Yoshida”) gave Ms. Patterson a “Strong” rating and wrote that she was “pr[o]fessional,

                                              39
commit[t]ed, motivated and eager to learn” and that he “expect[ed] her to continue this positive
trend.”

       ANSWER

       KPMG admits that Ms. Patterson received a year-end review in 2009 and refers to that
       source for a complete statement of its contents. KPMG denies the remainder of the
       allegations set forth in paragraph 160 of the FAC.

       161. In April 2008 and October 2008, Ms. Patterson received a “Standing Ovation”
award with a $500 American Express Card, one of the highest honors within KPMG’s “Encore”
award system that recognizes employees who go “above and beyond” in their work.

       ANSWER

       KPMG admits that Ms. Patterson received a Standing Ovation award with a $500
       American Express Card in October 2008 and that she was nominated for going “above
       and beyond.” KPMG denies the remainder of the allegations set forth in paragraph 161 of
       the FAC.

        162. In January 2009, Ms. Patterson received a $200 “Bravo” award, another form of
recognition within KPMG’s “Encore” award system. Manager Yoshida originally nominated her
for the “Standing Ovation” award, but as part of KPMG’s effort to manage costs, that award was
temporarily unavailable. In the award description, Manager Yoshida wrote that Ms. Patterson
had “[gone] the extra mile to get things done.”

       ANSWER

       KPMG admits that Ms. Patterson received a $200 Bravo award in January 2009 and that
       the nomination stated it was for “going the extra mile to get things done. KPMG denies
       the remainder of the allegations set forth in paragraph 162 of the FAC.

       163. Upon information and belief, KPMG paid Ms. Patterson at a lower rate than men,
non-caregivers, and non-African Americans for equal work on jobs requiring equal skill, effort,
and responsibility, and which were performed under similar working conditions.

       ANSWER

       KPMG denies the allegations set forth in paragraph 163 of the FAC.

      164. Although Ms. Patterson was a stellar performer, her total compensation was not
commensurate with that awarded to similarly-situated male and non-African-American
employees.

       ANSWER

       KPMG denies the allegations set forth in paragraph 164 of the FAC.



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        165. Ms. Patterson regularly performed the duties of a “Senior Associate” starting in
early 2009, though she was not compensated accordingly. For example, Ms. Patterson served as
an initial point of contact for clients and met with them directly. She managed engagements

       ANSWER

       KPMG denies the allegations set forth in paragraph 165 of the FAC.

       166. These tasks were not usually assigned to individuals classified as “Associates”
like Ms. Patterson, but instead were given to “Senior Associates” who received higher pay than
Associates. For example, Stephan Rabbitt and Anna Bankston, who were both white and lacked
caretaking responsibilities, also worked under Ms. Patterson’s same Managers in IES and
performed the same tasks as she did. Upon information and belief, their performance was no
stronger than Ms. Patterson’s. However, Mr. Rabbitt and Ms. Bankston were assigned and paid
as “Senior Associates.” Upon information and belief, Senior Associates were paid approximately
$10,000 more in base salary than Ms. Patterson, and also received a “promotion bonus” along
with the title.

       ANSWER

       KPMG admits that Mr. Stephan Rabbitt and Ms. Anna Bankston both report themselves
       to be Caucasian and reported to the same Managers as Ms. Patterson. KPMG denies the
       remainder of the allegations set forth in paragraph 166 of the FAC.

       167. In addition, KPMG refused to pay Ms. Patterson for the entire month of June
2010 following her maternity leave.

       ANSWER

       KPMG denies the allegations set forth in paragraph 167 of the FAC.

       168. In February 2010, Ms. Patterson requested a paid sabbatical following her
maternity leave from June 1, 2010 to August 15, 2010 to complete two additional courses for her
CPA license, which were important for career growth. KPMG routinely approved paid
sabbaticals for other employees to travel overseas, go hiking, run triathlons, or pursue other
personal interests. While KPMG promptly approved other employees’ paid sabbaticals, Partner
Gary Lusk (“Partner Lusk”), who reported up the IES chain to Principal Brown and Partner
Garfunkel in New York, ignored Ms. Patterson’s sabbatical request.

       ANSWER

       KPMG admits that in February 2010, Ms. Patterson requested a paid sabbatical to
       complete two additional courses for her CPA license. KPMG denies the remainder of the
       allegations set forth in paragraph 168 of the FAC.

       169. According to KPMG policy, sabbatical requests must either be approved or
formally denied with a written explanation. On March 1, 2010, Ms. Patterson consulted HR Tax



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Manager Tammy Woodard (“HR Manager Woodard”), who confirmed that Ms. Patterson could
proceed with the sabbatical application process if Partner Lusk did not formally deny the request.

       ANSWER

       KPMG admits that KPMG has a sabbatical policy and refers to that policy for a complete
       statement of its contents. KPMG denies the remainder of the allegations set forth in
       Paragraph 169 of the FAC.

        170. From March through May 2010, Ms. Patterson went on maternity leave before the
birth of her second child. In March 2010, Partner Lusk finally confirmed that he had received
Ms. Patterson’s sabbatical request and would review it by mid-April. In April 2010, Ms.
Patterson followed up about the status of her sabbatical request. Partner Lusk ignored her
request. In May 2010, Ms. Patterson again followed up with Partner Lusk, and once again
Partner Lusk refused to approve or deny her request.

       ANSWER

       KPMG admits that Ms. Patterson went on maternity leave from March through May
       2010, and that in March 2010 Partner Lusk confirmed that he received Ms. Patterson’s
       sabbatical request and that he told Ms. Patterson that he would review the sabbatical
       request in mid-April. KPMG further admits that in May 2010, Ms. Patterson followed-up
       with Partner Lusk regarding her sabbatical request. KPMG denies the remainder of the
       allegations set forth in paragraph 170 of the FAC.

       171. In June 2010, Ms. Patterson did not return to work following her paid maternity
leave because her sabbatical request was still pending. Ms. Patterson consulted her informal
mentor Partner Milford McGuirt (“Partner McGuirt”), co-chair of KPMG’s national African-
American Network and one of few African-American partners at the Company. Partner McGuirt
confirmed that Ms. Patterson had followed the proper procedure for requesting a sabbatical.

       ANSWER

       KPMG admits that in June 2010 Ms. Patterson did not return to work following her paid
       maternity leave, and that as of June 2010 Ms. Patterson’s sabbatical request had not been
       approved. KPMG denies the remainder of the allegations set forth in paragraph 171 of the
       FAC.

        172. In July 2010, after months of ignoring Ms. Patterson’s sabbatical request, Partner
Lusk verbally denied Ms. Patterson’s request and instead approved a sabbatical “beginning” in
July 2010. Partner Lusk refused to pay Ms. Patterson for the entire month of June. Thus, while
Ms. Patterson’s male, non-caregiving, and non-African-American employees received sabbatical
pay to pursue recreational activities, Ms. Patterson was only compensated for part of the time she
used for career development.




                                               42
       ANSWER

       KPMG admits that Ms. Patterson’s sabbatical request was initially denied and then
       granted for sabbatical beginning July 1, 2010. KPMG denies the remainder of the
       allegations set forth in paragraph 172 of the FAC.

        173. Because KPMG employs a compensation system that has insufficient quality
standards and controls, and implementation metrics, and lacks transparency and opportunities for
redress or challenge, its compensation practices have had a disparate impact on the Company’s
female employees.

       ANSWER

       KPMG denies the allegations set forth in paragraph 173 of the FAC.

        174. Upon information and belief, KPMG management systematically took advantage
of the flaws in this system by knowingly and intentionally paying female employees less than
similarly situated male employees.

       ANSWER

       KPMG denies the allegations set forth in paragraph 174 of the FAC.

         175. Upon information and belief, Ms. Patterson was also paid less as compared to
non-African-American KPMG employees who performed the same duties or had the same job
title as she did within the company. This disparity arose in part because of the disparate career
advancement opportunities she was provided in comparison to non-African-American
colleagues, described below.

       ANSWER

       KPMG denies the allegations set forth in paragraph 175 of the FAC.

       176. Despite Ms. Patterson’s award-winning performance, KPMG denied her a
promotion in favor of less-qualified male and non-African-American employees. Although the
standard promotion track at KPMG promotes Associates to Senior Associates after two years,
Ms. Patterson was never promoted beyond Associate in her three-and-a-half-year tenure with the
Company.

       ANSWER

       KPMG admits that Ms. Patterson was not promoted beyond the Associate level during
       her employment with KPMG. KPMG denies the remainder of the allegations set forth in
       paragraph 176 of the FAC.

       177. Approximately seven of Ms. Patterson’s Associate-level peers in Federal Tax
were promoted within two years (i.e. by approximately July 2009); all seven were Caucasian and
none had children. Ms. Patterson and two other black females were not promoted; Associate


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Gayann Greene (also a mother of two small children) resigned, and Associate Avalyn Goodwin
was laid off.

       ANSWER

       KPMG admits that Ms. Greene resigned and that Ms. Goodwin was laid off. KPMG
       denies the remainder of the allegations set forth in paragraph 177 of the FAC.

       178. In July 2009, however, Ms. Patterson was passed up for the promotion usually
granted after two years at the Company. Instead, Ms. Bankston and Mr. Rabbitt, who were white
and lacked childcare responsibilities, were promoted to Senior Associate. Their educational and
experiential backgrounds were equal to Ms. Patterson’s, and they performed the same duties as
Ms. Patterson under Partner Lusk in IES. Moreover, when Ms. Patterson moved out of the
Federal Tax practice and into IES, Partner Lusk had assured her that this change would not affect
her progression toward promotion to Senior Associate.

       ANSWER

       KPMG admits that in July 2009 Ms. Bankston and Mr. Rabbit were promoted to Senior
       Associate. KPMG denies the remainder of the allegations set forth in paragraph 178 of
       the FAC.

       179. After being passed up in July 2009, Ms. Patterson made Partner Lusk aware of her
concern about not being promoted along with her class of Associates. He promised her that she
would be promoted the following year, in 2010.

       ANSWER

       KPMG denies the allegations set forth in paragraph 179 of the FAC.

       180. Accordingly, Ms. Patterson believed she was still on track for promotion to Senior
Associate in the fall of 2009. Ms. Patterson regularly solicited feedback from her Engagement
Managers to ensure she stayed on track for promotion, and her interim reviews in 2009 were
excellent.

       ANSWER

       KPMG lacks knowledge or information sufficient to form a belief as to what Ms.
       Patterson believed about whether she was on track for a promotion, and therefore denies
       the allegations. KPMG admits that she received interim reviews and refers to the source
       for a complete statement of its contents. KPMG denies the remainder of the allegations
       set forth in paragraph 180 of the FAC.

       181. However, in November 2009, Ms. Patterson informed Partner Lusk and Manager
Yoshida that she was pregnant and would take maternity leave beginning March 2010. Partner
Lusk expressed strong disapproval of Ms. Patterson’s leave and told her that missing the week
before March 15th was like “missing the whole year.”



                                               44
       ANSWER

       KPMG admits that Ms. Patterson informed Partner Lusk and Manager Yoshida that she
       was pregnant and would take maternity leave beginning March 2010. KPMG denies the
       remainder of the allegations set forth in paragraph 181 of the FAC.

        182. While Ms. Patterson was on maternity leave in April 2010, Partner Lusk asked
Ms. Patterson to take on a lesser role in IES. Partner Lusk suggested that Ms. Patterson return to
work “part time” or move to the Japanese practice, even though it was not a good fit for her
interests, experience or background. Ms. Patterson told Partner Lusk that neither working part
time nor transferring to an entirely new practice was in line with her career goals. Upon
information and belief, similarly-situated male employees were not asked to work “part time” or
to change practices at this time.

       ANSWER

       KPMG denies the allegations set forth in paragraph 182 of the FAC.

       183. When Ms. Patterson returned from leave and sabbatical in August 2010, Partner
Lusk and Manager Yoshida intentionally intimidated Ms. Patterson. In a change from the
standard year-end performance review practice where only the Performance Manager would
review the evaluation with Ms. Patterson, both men joined together to raise pretextual concerns
with her performance. Upon information and belief, there were no other Associates in the Atlanta
IES practice whose performance was evaluated by both a Partner and a Manager in their 2010
year-end review.

       ANSWER

       KPMG denies the allegations set forth in paragraph 183 of the FAC.

        184. Specifically, Partner Lusk and Manager Yoshida criticized Ms. Patterson in her
fiscal year-end review about concerns that had never been raised before her maternity leave. In
Ms. Patterson’s interim performance review for the same fiscal year, Manager Yoshida wrote
that Ms. Patterson was “eager to perform well” and that she “manage[d] her time well.” In her
fiscal year-end review, after she returned from maternity leave, Manager Yoshida wrote that Ms.
Patterson was “unavailable” and caused her manager to spend more time during the Christmas
holidays, though Ms. Patterson had not taken any vacation days during this time and frequently
worked overtime. Ms. Patterson had never heard this criticism before her maternity leave.

       ANSWER

       KPMG admits that Ms. Patterson received reviews and refers to the sources for a
       complete statement as to the contents. KPMG denies the remainder of the allegations set
       forth in paragraph 184 of the FAC.

        185. In the same fiscal year-end review for 2010, Partner Lusk and Manager Yoshida
accused Ms. Patterson of “not mak[ing] herself available to help others” when Ms. Patterson had
taken a Saturday, Sunday and Monday out of the office one week in August 2009 to complete the

                                               45
final portion of her CPA exam. Prior to announcing her pregnancy, both Partner Lusk and
Manager Yoshida had approved this time out of the office. Partner Lusk had known Ms.
Patterson needed to complete the exam since he accepted her transfer in July 2008 and knew that
her passing scores on previous sections would expire if she did not timely complete the final
section.

       ANSWER

       KPMG admits that Ms. Patterson received a fiscal year-end review in 2010 and refers to
       the source for a complete statement of its contents, and further admits that Lusk
       supported Ms. Patterson obtaining her CPA license. KPMG denies the remainder of the
       allegations set forth in paragraph 185 of the FAC.

        186. Ms. Patterson’s August 2010 review also ignored her notable achievements, such
as completing her CPA, achieving all of her performance goals set at the beginning of the fiscal
year, being on the Board of Directors for a non-profit organization and participating in KPMG
Affinity Networks.

       ANSWER

       KPMG admits that Ms. Patterson received a fiscal year-end review in 2010 and refers to
       the source for a complete statement of its contents. KPMG denies the remainder of the
       allegations set forth in paragraph 186 of the FAC.

        187. Upon information and belief, KPMG’s performance evaluation system’s
insufficient quality standards and controls and implementation metrics, coupled with its lack of
transparency and opportunities for redress, had a discriminatory and disparate impact on women
and caretaking employees.

       ANSWER

       KPMG denies the allegations set forth in paragraph 187 of the FAC.

        188. Upon information and belief, KPMG management systematically took advantage
of the flaws in the system and often undervalued, mismeasured, or otherwise inaccurately
captured performance to the particular detriment of women and mothers. In addition, unfounded
criticism can be included and legitimate criticism given undue weight. Within this flawed
system, leave for pregnancy and caretaking responsibilities can constitute a negative factor in
female Professionals’ evaluations, compensation decisions and promotion considerations at
KPMG.

       ANSWER

       KPMG denies the allegations set forth in paragraph 188 of the FAC.

       189. As a result of the unfounded negative comments in the review, Ms. Patterson was
denied a promotion to Senior Associate in 2010 despite her three-year track record of award-
winning performance.

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       ANSWER

       KPMG denies the allegations set forth in paragraph 189 of the FAC.

        190. In October 2010, Ms. Patterson was removed from her largest client, despite
previously winning a “Bravo” award in April 2009 for her work relating to the same client.
Partner Lusk and Manager Yoshida told Ms. Patterson she was being removed so she could “get
more exposure” to other clients. However, Ms. Patterson was not given work on other clients
despite her persistent requests. KPMG generally does not remove employees from their largest
clients without clear transfers to new clients.

       ANSWER

       KPMG denies the allegations set forth in paragraph 190 of the FAC.

       191. Partner Lusk and Manager Woofter, both Caucasian males, assigned Associate
Sarah Bohman (“Associate Bohman”), a Caucasian recent college graduate with no children, to
take Ms. Patterson’s place on the client team.

       ANSWER

       KPMG admits that Partner Lusk, Manager Woofter and Associate Bohman report
       themselves to be Caucasian. KPMG denies the remainder of the allegations set forth in
       paragraph 191 of the FAC.

        192. This was not the first time Ms. Patterson had been excluded from career-
advancement opportunities at KPMG; since the beginning of her employment at KPMG, Ms.
Patterson found that white managers would develop friendly, casual relationships with white
Associates, but made no such efforts with her.

       ANSWER

       KPMG denies the allegations set forth in paragraph 192 of the FAC.

        193. Upon information and belief, KPMG’s development and mentoring systems have
insufficient standards, quality controls, and implementation metrics, lack of transparency and
opportunities for redress, and have a discriminatory and disparate impact on women and
caretaking employees.

       ANSWER

       KPMG denies the allegations set forth in paragraph 193 of the FAC.

        194. Further, upon information and belief, KPMG management systematically takes
advantage of the flaws in the system, as Partners are allowed to mentor and develop employees
selectively, without any standards or guidelines for providing these advancement opportunities.




                                              47
       ANSWER

       KPMG denies the allegations set forth in paragraph 194 of the FAC.

       195. Upon information and belief, Ms. Patterson was not the only female employee to
suffer the effect of the lack of adequate opportunities for mentorship, development (both
personal and client-based) and advancement at KPMG. Instead of having transparent and
systematic policies and procedures in place based on objective performance and qualifications,
how and when such opportunities are provided is shrouded in secrecy, most often to the
detriment of women, caregivers, and African-Americans.

       ANSWER

       KPMG denies the allegations set forth in paragraph 195 of the FAC.

        196. Upon information and belief, KPMG’s flawed promotion practices consistently
result in males and non-caregivers being promoted more rapidly and assigned more frequently to
higher-level positions than women across the Company.

       ANSWER

       KPMG denies the allegations set forth in paragraph 196 of the FAC.

       197. During Ms. Patterson’s tenure with KPMG, she was the only employee in the
Atlanta IES practice with small children other than Manager Yoshida and Partner Lusk, both of
whom had stay-at-home wives or close family members living at home.

       ANSWER

       KPMG lacks knowledge or information sufficient to form a belief as to the truth of the
       allegations set forth in paragraph 197 of the FAC, and therefore denies the allegations.

       198. KPMG discriminated against Ms. Patterson based on her pregnancy. From July
2007 to November 2009, Ms. Patterson received awards and strong reviews. However, when she
became pregnant, she was subjected to hostile comments and her opportunities for advancement
disappeared.

       ANSWER

       KPMG denies the allegations set forth in paragraph 198 of the FAC.

       199. When Ms. Patterson informed Manager Yoshida of her pregnancy in November
2009, Manager Yoshida angrily asked, “Did you plan this?”

       ANSWER

       KPMG denies the allegations set forth in paragraph 199 of the FAC.



                                              48
       200. From February 2010 to July 2010, Partner Lusk actively ignored Ms. Patterson’s
sabbatical request to complete her CPA licensing requirements while KPMG granted sabbatical
requests and facilitated the efforts of similarly situated male and non-caretaking employees, such
as Manager Woofter, to become CPAs.

       ANSWER

       KPMG denies the allegations set forth in paragraph 200 of the FAC.

       201. In August 2010, Partner Lusk and Manager Yoshida subjected Ms. Patterson to
increased scrutiny when both reviewed her performance, and wrote negative comments in her
review that had never been raised as issues prior to Ms. Patterson announcing her pregnancy.

       ANSWER

       KPMG denies the allegations set forth in paragraph 201 of the FAC.

        202. After Ms. Patterson returned from maternity leave, her requests for work were
systematically denied by the KPMG managers she approached. Indeed, only one Manager,
Cordella Scott (“Manager Scott”) – an African-American woman – regularly provided her work.
This prevented Ms. Patterson from reaching the 89% target for billable work set by IES Partners
in New York. At best, Ms. Patterson was only able to bill twelve hours in a forty-hour work
period, which made her 30% chargeable. Prior to her pregnancy, Ms. Patterson did not have
difficulty obtaining billable work.

       ANSWER

       KPMG denies the allegations set forth in paragraph 202 of the FAC.

        203. Although Ms. Patterson was available and willing to work long hours, KPMG
managers refused to give her work because of the predominant culture at KPMG that assumes
working mothers with young children are less effective employees and less committed to their
careers.

       ANSWER

       KPMG denies the allegations set forth in paragraph 203 of the FAC.

       204. Because it had become clear that she was not going to advance in IES following
her pregnancy, Ms. Patterson requested a transfer to another group in August 2010. However,
KPMG glossed over the difficulties Ms. Patterson was experiencing and refused to consider her
request for a transfer, despite Ms. Patterson’s repeated inquiries. Associates without caretaking
responsibilities were regularly considered and often approved for transfers.

       ANSWER

       KPMG denies the allegations set forth in paragraph 204 of the FAC.



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       205. In October 2010, Ms. Patterson was removed from her largest client and replaced
by Associate Bohman, a Caucasian recent college graduate with no children.

       ANSWER

       KPMG admits that Associate Sarah Bohman reports herself to be Caucasian. KPMG
       lacks knowledge or information sufficient to form a belief as to the truth of the
       allegations regarding whether Sarah Bohman had any children and therefore denies them.
       KPMG denies the remainder of the allegations set forth in paragraph 205 of the FAC.

       206. Upon information and belief, the Company’s policies and procedures regarding
evaluation, compensation, development and promotion lack the transparency, standards, quality
controls, implementation metrics, and means for redress necessary to prevent this disparate
impact on female Professionals who are pregnant or mothers. Within this flawed system, leave
for pregnancy and caretaking responsibilities can constitute a negative factor in female
Professionals’ evaluations, compensation decisions and promotion considerations at KPMG.

       ANSWER

       KPMG denies the allegations set forth in paragraph 206 of the FAC.

       207. Upon information and belief, KPMG management systematically took advantage
of the flaws in the system and often undervalued, mismeasured, or otherwise inaccurately
captured performance to the particular detriment of women and mothers. KPMG has subjected
and continues to subject female employees with caregiving responsibilities and/or young
children, like Ms. Patterson, to disparate terms and conditions of employment and retaliation.

       ANSWER

       KPMG denies the allegations set forth in paragraph 207 of the FAC.

        208. From December 2009 until her constructive discharge on November 29, 2010,
Ms. Patterson complained through various reporting channels, including HR and Ethics and
Compliance, about the discrimination and retaliation she was experiencing. However, KPMG
failed to address Ms. Patterson’s complaints.

       ANSWER

       KPMG admits that Ms. Patterson made internal complaints of alleged discrimination and
       retaliation to KPMG Human Resources and Ethics and Compliance during the period
       December 2009 to November 2010. KPMG denies the remainder of the allegations set
       forth in paragraph 208 of the FAC.

        209. In December 2009, Ms. Patterson contacted HR Manager Tammy Woodard to
raise concerns regarding Manager Yoshida’s negative and discriminatory response to her
pregnancy. Upon information and belief, HR did nothing to investigate or address Ms.
Patterson’s complaints, despite her repeated attempts to follow up regarding this matter.



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       ANSWER

       KPMG admits that in December 2009, Ms. Patterson contacted HR Manager Tammy
       Woodard regarding Manager Yoshida’s response to Ms. Patterson’s pregnancy. KPMG
       denies the remainder of the allegations in paragraph 209 of the FAC.

       210. In March 2010, Ms. Patterson contacted HR Manager Woodard regarding Partner
Lusk’s failure to address her sabbatical request, but no action was taken until July 2010, after her
desired sabbatical was supposed to begin.

       ANSWER

       KPMG admits that Ms. Patterson spoke with HR Manager Woodard regarding her
       sabbatical request. KPMG denies the remainder of the allegations set forth in paragraph
       210 of the FAC.

        211. In July 2010, Ms. Patterson contacted HR Regional Director Chris Beall (“HR
Director Beall”) about the discriminatory treatment she had received since announcing her
pregnancy, including Manager Yoshida and Partner Lusk’s comments, and Partner Lusk’s
refusal to address her sabbatical request. Following a meeting with HR Director Beall, Ms.
Patterson sent him an electronic message outlining and detailing her discrimination claims.
Without Ms. Patterson’s consent, HR Director Beall sent her message to Partner Lusk and
requested a meeting.

       ANSWER

       KPMG admits that in July 2010, Ms. Patterson contacted HR Regional Director Chris
       Beall regarding what Ms. Patterson asserted she believed to be alleged discriminatory
       treatment. KPMG denies the remainder of the allegations set forth in paragraph 211 of
       the FAC.

        212. At the end of the month, Ms. Patterson met with HR Director Beall and Partner
Lusk to discuss Ms. Patterson’s discrimination claims, including the denial of her sabbatical
request. Because Ms. Patterson felt intimidated, she brought her mentor, Senior Manager T.
Angie Napier to the meeting. At the meeting, HR Director Beall and Partner Lusk ignored Ms.
Patterson’s discrimination claims and instead focused on her CPA exam in August 2009, telling
her that time taken for her CPA exam would not be held against her in her year-end review.

       ANSWER

       KPMG admits that in July 2010 Ms. Patterson met with HR Director Beall and Partner
       Lusk, and Manager Angie Napier. KPMG denies the remainder of the allegations set
       forth in paragraph 212 of the FAC.

        213. Following the meeting, Partner Lusk denied Ms. Patterson’s initial request for
sabbatical from June 1 to August 15 and pressured her to take a sabbatical from August through
October, which she feared would have damaged her prospects for a fall promotion. When Ms.
Patterson protested, Partner Lusk finally allowed a sabbatical beginning July 1 but still ending

                                                51
August 15, 2010, thus shortening her sabbatical by one full month and denying her compensation
for June.

       ANSWER

       KPMG admits that Ms. Patterson’s sabbatical began July 1, 2010 and ended August 15,
       2010. KPMG denies the remainder of the allegations set forth in paragraph 213 of the
       FAC.

        214. In August 2010, Ms. Patterson complained to Ethics and Compliance about the
negative comments in her Performance Review – the first negative comments of her career – and
the discriminatory denial of her promotion following her pregnancy. During a second
performance review meeting, Partner Lusk and Manager Yoshida told newly appointed HR Tax
Manager, Rebecca Berry, that Ms. Patterson’s review was not negative. HR did not challenge
this or otherwise investigate or respond to the situation further.

       ANSWER

       KPMG admits that in August 2010 Ms. Patterson filed a complaint with Ethics and
       Compliance. KPMG denies the remainder of the allegations set forth in paragraph 214 of
       the FAC.

        215. Later that month, Ms. Patterson requested a transfer out of IES because the
managers in her group refused to give her any work, despite repeated requests. The Ethics
officer. Craig DeCampli (“Ethics Officer DeCampli”), told her to “wait,” and that the situation in
IES would be resolved.

       ANSWER

       KPMG denies the allegations set forth in paragraph 215 of the FAC.

       216. Ms. Patterson continually followed up with HR and Ethics through November, as
her work situation had not improved. Although she had been told the investigation would be
resolved in October 2010, she was told when she inquired again that it would be resolved in
early.

       ANSWER

       KPMG denies the allegations set forth in paragraph 216 of the FAC.

        217. KPMG never granted the transfer out of IES or made any effort to address Ms.
Patterson’s complaints of discrimination and retaliation.

       ANSWER

       KPMG denies the allegations set forth in paragraph 217 of the FAC.




                                               52
        218. Upon information and belief, KPMG’s HR and Ethics and Compliance offices
and procedures lack standards, quality controls, transparency, implementation metrics, means of
redress, and requirements that concerns of discrimination be addressed and resolved. Women,
mothers, and African-Americans are negatively affected by these insufficiently designed and
implemented procedures, as unresponsiveness to complaints about discrimination
disproportionately falls upon such employees.

       ANSWER

       KPMG denies the allegations set forth in paragraph 218 of the FAC.

       219. Ms. Patterson was forced to end her career at KPMG in November of 2010
because the Company had deliberately made her working conditions so intolerable that she was
compelled to resign involuntarily.

       ANSWER

       KPMG denies the allegations set forth in paragraph 219 of the FAC.

        220. When she returned from maternity leave, she was removed from her largest
engagement, and, contrary to standard practice at KPMG, was not provided a replacement
project. She was reliant on odd jobs and work provided to her by one African-American female
Manager, Cordella Scott, to reach even a 30% billable level. She often went to work each day
only to suffer the humiliation of sitting at her desk for eight to ten hours with nothing to do,
despite her repeated requests for work and the obvious evidence that there was work to be done
being deliberately kept from her.

       ANSWER

       KPMG denies the allegations set forth in paragraph 220 of the FAC.

       221. Although Ms. Patterson had always been a strong performer at KPMG, she was
not only denied the work and promotions for which she was qualified but also denied support in
the advancement she sought through pursuing her CPA.

       ANSWER

       KPMG denies the allegations set forth in paragraph 221 of the FAC.

        222. Because it had become clear to Ms. Patterson that there was no future for her in
IES and conditions in the division had become intolerable, she sought a transfer. Even this
channel for redress was denied her, though, because KPMG refused even to consider her request,
making it impossible for her to escape the discrimination and marginalization she was
experiencing in IES. As her options for a future at KPMG were systematically closed, Ms.
Patterson became increasingly fearful for her ability to support herself and her children.




                                              53
       ANSWER

       KPMG denies the allegations set forth in paragraph 222 of the FAC.

        223. These stresses at work carried over to the home, as Ms. Patterson’s work situation
strained her relationship with her significant other and deteriorated her health. Ms. Patterson’s
isolation and hopelessness at work made her unable to eat. While she had been nursing her
newborn, she stopped producing breast milk as a result of the physical and emotional strains she
suffered at KPMG.

       ANSWER

       KPMG denies the allegations set forth in paragraph 223 of the FAC.

        224. Ms. Patterson wanted nothing more than to stay at KPMG and further her career.
She built a house in Atlanta where she expected to raise her two children. In November 2010,
after enduring months of escalating discrimination and retaliation with no hope or resolution
whatsoever in light of KPMG’s persistent refusal to help, Ms. Patterson had no choice but to
resign from KPMG.

       ANSWER

       KPMG admits that Ms. Patterson resigned from KPMG. KPMG denies the remainder of
       the allegations set forth in paragraph 224 of the FAC.

       C.     PLAINTIFF JEANNETTE POTTER

        225. Ms. Potter suffered discrimination in assignment, discrimination in pay, and
denial of promotional opportunities. She was ultimately constructively discharged.

       ANSWER

       KPMG denies the allegations set forth in paragraph 225 of the FAC.

      226. KPMG employed Ms. Potter from July 1995 until her constructive discharge from
the Company in July 2006.

       ANSWER

       KPMG admits that it employed Ms. Potter from July 1995 until July 2006. KPMG denies
       the remainder of the allegations set forth in paragraph 226 of the FAC.

        227. In July 1995, Ms. Potter began working at KPMG as a Manager in the IES Tax
practice. She had previously graduated from the Universite Nanterre in France and, while at
KPMG, received a Master’s degree in Tax from Pace University. In addition, she has earned two
other advanced degrees. She had five years of Manager-level experience when she came to
KPMG.



                                               54
       ANSWER

       KPMG admits that in July 1995, Ms. Potter began working for KPMG in the IES Tax
       Practice, and that Ms. Potter purports to have certain qualifications and degrees. KPMG
       denies the remainder of the allegations set forth in paragraph 227 of the FAC.

      228. In June 1996, Ms. Potter was promoted to Senior Manager, the position in which
she would be stuck for ten years before being pushed out of the company.

       ANSWER

       KPMG denies the allegations set forth in paragraph 270 of the FAC.

       229. Throughout her eleven-year tenure, Ms. Potter demonstrated excellent
performance. From 1996 to 2000, Ms. Potter always received “Meets Expectations” or “Exceeds
Expectations” on her performance reviews, then, under a new performance rating system,
received “Exceptional Performer” ratings in 2001 and 2002.

       ANSWER

       KPMG admits that Ms. Potter received performance reviews during her employment with
       KPMG and refers to the source for a complete statement of their contents. KPMG denies
       the remainder of the allegations set forth in paragraph 229 of the FAC.

        230. Ms. Potter received “Strong Performer” ratings from 2003 to 2006, when she was
pushed out of the Company. Ms. Potter was applauded for her excellent work and praised as
“clearly a leader in the group.”

       ANSWER

       KPMG admits that Ms. Potter received performance reviews and refers to the source for a
       complete statement of their contents. KPMG denies the remainder of the allegations set
       forth in paragraph 230 of the FAC.

       231. Although Ms. Potter was highly qualified for a Senior Manager position at the
time she was hired by KPMG, the Company initially assigned her to the position of Manager.

       ANSWER

       KPMG denies the allegations set forth in paragraph 231 of the FAC.

       232. Ms. Potter’s previous employer did not have a “Senior Manager” distinction, so
Ms. Potter held the title of Manager even though she performed duties typically performed by
Senior Managers at comparable firms, including KPMG. These tasks included, primarily, full
responsibility in performing clients’ returns and managing staff assigned to work on the returns.
At KPMG, the title of “Senior Manager” typically went to individuals with two or more years of
Manager experience, and Ms. Potter had a full five years of experience at this level. It was not



                                               55
until a year after Ms. Potter joined KPMG, however, that she received the title she should have
been assigned upon her hire.

       ANSWER

       KPMG admits that Ms. Potter’s job duties included preparing returns and managing staff
       assigned to work on the returns. KPMG lacks knowledge or information sufficient to
       form a belief as to the truth of the allegations regarding Ms. Potter’s previous
       employment, and therefore denies the allegations. KPMG denies the remainder of the
       allegations set forth in paragraph 232 of the FAC.

        233    Upon information and belief, KPMG regularly discriminates against female
employees by assigning them to lower-level positions than those for which they are qualified or
than they would have received had they been men. Women are disparately impacted by the lack
of transparency, standards, quality controls and implementation metrics in the Company’s
practices and procedures in assigning job titles.

       ANSWER

       KPMG denies the allegations set forth in paragraph 233 of the FAC.

        234. Further, KPMG management systematically takes advantage of the flaws in the
assignment practices and procedures to place female employees in positions below their level of
qualification.

       ANSWER

       KPMG denies the allegations set forth in paragraph 234 of the FAC.

         235. Ms. Potter’s excellent performance over the course of her eleven-year career at
KPMG was not rewarded with the compensation she deserved. Upon information and belief, the
Company paid Ms. Potter at a lower rate than men for equal work on jobs requiring equal skill,
effort, and responsibility, and which were performed under similar working conditions.

       ANSWER

       KPMG denies the allegations set forth in paragraph 235 of the FAC.

      236. Upon information and belief, because of her initial misassignment as “Manager,”
Ms. Potter’s salary continued to be less than that of similarly-situated men throughout her tenure
at KPMG.

       ANSWER

       KPMG denies the allegations set forth in paragraph 236 of the FAC.




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        237. From 1996 to 2001, Ms. Potter received yearly pay increases, but the amounts of
these increases were based on a percentage of her base salary, which, upon information and
belief, was already lesser than her male peers’ because of the initial misassignment.

       ANSWER

       KPMG admits that Ms. Potter received yearly pay increases between 1996 and 2001.
       KPMG denies the remainder of the allegations set forth in paragraph 237 of the FAC.

        238. In addition, after October 2002, Ms. Potter’s pay was frozen when her
performance rating was lowered to “Strong Performer,” even though there had been no
identifiable change in Ms. Potter’s performance, or KPMG’s assessment of it, beyond the
discriminatory instruction to “socialize more.”

       ANSWER

       KPMG denies the allegations set forth in paragraph 238 of the FAC.

       239. Similarly situated male employees in her office who had previously been paid at
the same rate as or higher than Ms. Potter did not have their pay frozen. Ms. Potter was not
aware of any male Senior Managers in the IES Tax practice who ceased to receive pay raises,
and, on information and belief, they continued to receive the raises that Ms. Potter expected but
was suddenly denied throughout the remainder of her tenure at KPMG.

       ANSWER

       KPMG denies the allegations set forth in paragraph 239 of the FAC.

        240. In addition to Ms. Potter, at least two other female Professionals in the IES Tax
practice, Senior Manager Elaine Blum (“Senior Manager Blum”) and Director Jeanne Jue
(“Director Jue”), also had their pay frozen at this time. Both Senior Manager Blum and Director
Jue had well over a decade of experience, like Ms. Potter, and both were strong performers.

       ANSWER

       KPMG admits that Director Jue did not receive a pay increase from 2002–2004, but avers
       that she received pay raises every year from 2005-2008. KPMG admits that Senior
       Manager Blum did not receive a pay increase from 2002-2005, but avers that she
       received pay raises in 2006 and 2007. KPMG denies the remainder of the allegations set
       forth in paragraph 240 of the FAC.

        241. After October 2002, Ms. Potter received no pay increases before her constructive
discharge from the Company in July 2006, despite her consistently strong performance. Upon
information and belief, comparable men continued to make more than Ms. Potter throughout her
employment at KPMG, even though their experience, skills, and responsibilities never exceeded
hers. For example, Senior Manager David Buchner, whose qualifications, experience, and
responsibilities were no greater than Ms. Potter’s or Senior Manager Blum’s, continued to
receive pay raises after 2002.

                                               57
       ANSWER

       KPMG admits that Ms. Potter did not receive a pay increase after 2002. KPMG admits
       that Mr. Buchner received pay raises. KPMG denies the remainder of the allegations set
       forth in paragraph 241 of the FAC.

        242. When, in May 2006, Ms. Potter asked Principal Ed Gibbons about her frozen pay,
he referenced a spreadsheet with pay information and told Ms. Potter she was the fifth highest
paid Senior Manager in her practice. When Ms. Potter asked which Senior Managers earned
more than her, Principal Gibbons confirmed that the four higher salaries belonged to male
employees. No male Senior Managers in IES Tax had comparable tenure at KPMG to Ms. Potter,
and, on information and belief, none of them exceeded her in performance or responsibility. Ms.
Potter asked why the less-experienced men were paid more than she was, but Principal Gibbons
refused to engage on the issue and instead told Ms. Potter she was “paid too much.”

       ANSWER

       KPMG admits that Principal Ed Gibbons had a conversation with Ms. Potter about her
       pay and that he referenced a spreadsheet during the conversation. KPMG denies the
       remainder of the allegations set forth in paragraph 242 of the FAC.

        243. Although Ms. Potter requested that Principal Gibbons provide her details about
salary ranges at the Company – information that was heavily guarded and kept secret for
employees – and he indicated that he would do so, he never did so. Rather than taking any steps
to address Ms. Potter’s concerns about discriminatory compensation, Principal Gibbons became
increasingly hostile toward her. He ignored her entirely, even excluding her from discussions
about her clients.

       ANSWER

       KPMG denies the allegations set forth in paragraph 243 of the FAC.

       244. Upon information and belief, KPMG’s policies regarding voicing complaints of
discrimination and subsequent investigations thereof lack transparency, adequate implementation
metrics, standards, and quality controls, and fail to require the Company’s Partners and
Principals to address discrimination. These policies, and the lack of means of redress for
unanswered complaints, have a disparate and discriminatory effect on women in the terms and
conditions of their employment.

       ANSWER

       KPMG denies the allegations set forth in paragraph 244 of the FAC.

        245. Further, upon information and belief, at least two other female Senior Managers
received pay cuts after their pay was initially frozen, while no male Senior Managers in her
office received pay cuts. For example, KPMG cut Senior Manager Blum’s salary because she
was “paid too much,” and Director Jue’s salary was also cut. Senior Manager Blum’s
qualifications, tenure, and experience were at least as strong as her male peers’.

                                              58
       ANSWER

       KPMG denies the allegations set forth in paragraph 245 of the FAC.

       246. Upon information and belief, KPMG also subjects female employees to
discriminatory demotions that come with lower salaries. For example, Senior Manager Lu Tseng
(“Senior Manager Tseng”) was sent on an eighteen-month assignment to Japan. When she
returned to the United States, she was told there were no Senior Manager positions available
even though her previous position had not been filled. Instead, KPMG offered Senior Manager
Tseng a Manager position for a salary cut.

       ANSWER

       KPMG admits that in 2005, Lu Tseng (formerly Lu Wu) was offered a different position
       at a lower salary upon her return from Japan. KPMG denies the remainder of the
       allegations in paragraph 246 of the FAC.

       247. Upon information and belief, KPMG underpays female Professionals at all levels
throughout the Company relative to similarly-situated male employees. KPMG’s opaque
evaluation and compensation practices lack sufficient standards, quality controls, implementation
metrics, transparency and opportunities for redress or challenge, and create a disparate impact on
the Company’s female employees.

       ANSWER

       KPMG denies the allegations set forth in paragraph 247 of the FAC.

       248. Upon information and belief, KPMG management systematically took advantage
of the flaws in these systems and often undervalued, mismeasured, or otherwise inaccurately
captured performance to the particular detriment of women.

       ANSWER

       KPMG denies the allegations set forth in paragraph 248 of the FAC.

       249. Despite Ms. Potter’s exceptional performance, KPMG denied her promotions in
favor of lesser qualified male employees.

       ANSWER

       KPMG denies the allegations set forth in paragraph 249 of the FAC.

        250. By the summer of 2000, it had become clear to Ms. Potter that she was not going
to be promoted at the rate she deserved. Ms. Potter observed that employees who spent a
significant amount of time schmoozing and socializing at office happy hours were more likely to
advance, while employees who did not were less likely to be promoted. This corporate culture
and improper advancement criteria disproportionately harmed female employees like Ms. Potter,



                                               59
who were less likely to be welcomed into the Company’s “good old boys” club and who felt
uncomfortable at many social events, which tended to be hostile to women.

       ANSWER

       KPMG denies the allegations set forth in paragraph 250 of the FAC.

       251. Upon information and belief, the Company’s evaluation, development, and
promotion policies lacked the standards and quality controls to reward excellent performance
like Ms. Potter’s.

       ANSWER

       KPMG denies the allegations set forth in paragraph 251 of the FAC.

        252. In the summer of 2000, Ms. Potter informed Partner McLaughlin that she planned
to resign from KPMG due to the lack of promotional opportunities. She was prepared to accept
an offer at Ernst & Young for a comparable position with a $13,000 salary increase and a
$17,000 signing bonus. Ms. Potter expected that Ernst & Young would provide greater
opportunities for promotion than KPMG. However, Partners McLaughlin, Pete Dolan, Patricia
Brown (who also served as Principal in Charge of the East for IES during the time Ms. Kassman
experienced discrimination and retaliation), Bill Hibbit, Dan Orchant, Sam Russo and Jeff Stein
told Ms. Potter that they refused to accept her resignation and reassured her that she was just
about to be promoted. The group of Partners offered her a $20,000 retention bonus (which she
had to repay if she left within one year) and sent her a box of chocolates with a card that read,
“Please don’t leave.”

       ANSWER

       KPMG admits that Ms. Potter represented to partners at KPMG that she had an offer with
       Ernst and Young for more money, that certain partners attempted to dissuade her from
       leaving KPMG, and that she was given a $20,000 retention bonus. KPMG denies the
       remainder of the allegations set forth in Paragraph 252.

       253. Because Ms. Potter believed, based on the Partners’ representations, that she was
about to be promoted, she declined the attractive offer from Ernst & Young and decided to stay
at KPMG.

       ANSWER

       KPMG lacks knowledge or information sufficient to form a belief as to the truth of the
       allegations regarding Ms. Potter’s beliefs about her employment with KPMG or her
       actions with regard to Ernst & Young, and therefore denies the allegations. KPMG denies
       the remainder of the allegations set forth in paragraph 253 of the FAC.

       254. In Ms. Potter’s May 2001 review, Principal McLaughlin wrote that she “had a
fabulous year” and was “clearly a leader in the group.” Despite Principal McLaughlin’s positive
comments and Ms. Potter’s “Exceptional Performer” rating, she was not promoted in 2001.

                                               60
       ANSWER

       KPMG admits that Ms. Potter received a review in May 2001 and refers to that source for
       a complete statement of its contents. KPMG denies the remainder of the allegations set
       forth in paragraph 254 of the FAC.

       255. In Ms. Potter’s May 2002 performance review, Principal McLaughlin gave Ms.
Potter a “Strong Performer” rating, lower than all her previous ratings, despite the review’s
overwhelmingly positive comments. The only criticism Principal McLaughlin wrote was that
Ms. Potter needed to “continue to build relationships” for a promotion to Tax Managing
Director.

       ANSWER

       KPMG admits that Ms. Potter received a review in May 2002 and refers to that source for
       a complete statement of its contents. KPMG denies the remainder of the allegations set
       forth in paragraph 255 of the FAC.

        256. In May 2002, however, Ms. Potter was abruptly removed from the Managing
Director track she had been promised. KPMG denied Ms. Potter the promotion to Managing
Director because, according to Principal McLaughlin, she did not “socialize” enough. Principal
McLaughlin told Ms. Potter she needed to “schmooze” more. However, Ms. Potter could not
attend events on Fridays – when many of the happy hours were scheduled – because her religion
dictates that she observe the Sabbath.

       ANSWER

       KPMG denies the allegations set forth in paragraph 256 of the FAC.

        257. In addition, Ms. Potter did not attend many of the Company’s other informal
social events because she strongly disapproved of male Partners’ overtly sexual conduct toward
female staff at the events. Upon information and belief, KPMG Partners accosted and
manhandled junior female employees at the Company happy hours. Male Partners regularly took
“body shots” off of female employees, during which Partners would put salt or sugar on a female
employee’s neck and lick it off. Senior leadership including Principal Brown were present and
witnessed these events and, through their inaction, tacitly condoned the behavior of their male
counterparts and subordinates.

       ANSWER

       KPMG denies the allegations set forth in paragraph 257 of the FAC.

        258. Accordingly, these socializing events were much more amenable to fostering
male employees’ sense of belonging and ownership than women. Nonetheless, KPMG’s
promotion decisions rely heavily on personal relationships built at Company social events that
are hostile to, or that tend to exclude, female employees. Indeed, upon information and belief, the
Company’s evaluation, development, and promotion practices lack the transparency, standards,
quality controls, implementation metrics and means for redress necessary to reward rather than

                                                61
disadvantage successful female employees. Upon information and belief, Ms. Potter was not the
only woman who was forced to choose between submitting to hostile social activities or allowing
her career to stagnate.

       ANSWER

       KPMG denies the allegations set forth in paragraph 258 of the FAC.

        259. When Ms. Potter expressed her concerns about his assessment of her potential for
promotion with Principal McLaughlin, he was unresponsive, consistent with the treatment she
later received from Principal Gibbons. When she questioned the justification for why she was not
promoted, Principal McLaughlin told her this was the way things were at KPMG.

       ANSWER

       KPMG denies the allegations set forth in paragraph 259 of the FAC.

       260. Following this discussion, Principal McLaughlin ignored Ms. Potter, excluding
her from decisions about clients and staff, ceasing to direct any new clients to her, and instead
focusing his attention on Senior Manager Buchner.

       ANSWER

       KPMG denies the allegations set forth in paragraph 260 of the FAC.

        261. Because Ms. Potter did not engage in or otherwise support these hostile social
events, she was marginalized, downgraded in her review, and denied a promotion. While Ms.
Potter hit a glass ceiling, she witnessed males of her same educational and experiential.

       ANSWER

       KPMG denies the allegations set forth in paragraph 261 of the FAC.

        262. Indeed, upon information and belief, after Ms. Potter was removed from the
partnership track, Senior Managers Tom Condon and Roger Koferl – who lacked Ms. Potter’s
years of experience, advanced degree in Tax, and record of exceptional performance – were
prioritized in her place. Both were eventually promoted, and both took part in the male-
dominated after-hours culture that Principal McLaughlin criticized Ms. Potter for avoiding.

       ANSWER

       KPMG admits that Tom Condon and Roger Koferl became partners after Ms. Potter left
       KPMG. KPMG denies the remainder of the allegations set forth in paragraph 262 of the
       FAC.

      263. Upon information and belief, because of their lack of clearly defined and
implemented standards and transparency, KPMG’s promotion practices consistently result in



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males being promoted more rapidly, developed more purposefully, and assigned more frequently
to higher level positions than women across the Company.

       ANSWER

       KPMG denies the allegations set forth in paragraph 263 of the FAC.

        264. Upon information and belief, KPMG took advantage of the professional
development and performance evaluation systems’ lack of transparency, quality standards and
controls, implementation metrics, and opportunities for redress by including unfounded criticism
against many female employees, resulting in their exclusion from promotion opportunities.

       ANSWER

       KPMG denies the allegations set forth in paragraph 264 of the FAC.

        265. Ms. Potter was forced to end her career at KPMG in July of 2006 because the
Company had deliberately made her working conditions so intolerable that she was compelled to
resign involuntarily. While she had hopes to continue building a long career at KPMG, and to
become a Partner, it became clear that she was not valued and would always be subject to
discrimination.

       ANSWER

       KPMG denies the allegations set forth in paragraph 265 of the FAC.

        266. Ms. Potter found her situation at KPMG increasingly intolerable as she witnessed
men who were no more qualified than she surpass her in pay and status within the Company.
This, along with the explicit devaluing of her contributions through comments like Principal
Gibbons’ that she was “paid too much,” made her feel worthless. KPMG’s failure to provide her
a legitimate justification for her stagnant pay caused her particular distress as she saw her
performance reviews altered downward for the first time in her tenure. She foresaw being pushed
out of the Company.

       ANSWER

       KPMG denies the allegations set forth in paragraph 266 of the FAC.

       267. Because the Company provided her with no suggestions for becoming eligible for
pay increases or promotion beyond submitting to social activities that were degrading to women,
Ms. Potter saw no avenue for a continued role at KPMG.

       ANSWER

       KPMG denies the allegations set forth in paragraph 267 of the FAC.

       268. Her experience of Principal Gibbons’ and Principal McLaughlin’s
unresponsiveness and hostility to her concerns about discriminatory pay and advancement


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opportunities led her to believe there would be no recourse within the Company. Not only did the
latter individuals fail to respond to her concerns, but they also responded with open hostility,
which went beyond just unkindness to freezing Ms. Potter out of assignments and information
about her clients that was necessary for her to succeed at work.

       ANSWER

       KPMG denies the allegations set forth in paragraph 268 of the FAC.

        269. Reaching out to Human Resources within her division would be a fruitless
exercise, as she had been provided no literature about the Company’s policies and procedures,
and had observed that HR was controlled by the very Principals who tormented her. An
atmosphere of hostility pervaded the office, such that she feared any complaints would result in
the retaliation and marginalization she experienced from Principals Gibbons and McLaughlin,
which led her to fear termination.

       ANSWER

       KPMG denies the allegations set forth in paragraph 269 of the FAC.

       270. As doors closed for Ms. Potter at KPMG in 2006, she became increasingly
anxious and depressed. She had persistent headaches, which escalated at this time, along with
back pain and frequent sleeplessness.

       ANSWER

       KPMG denies the allegations set forth in paragraph 270 of the FAC.

       271. Thus, after more than a decade as a Senior Manager with no hope for promotion
and four years with no salary increase, Ms. Potter had no choice but to resign from KPMG in
July 2006. Ms. Potter was forced to accept a job for half her exiting salary before finding
permanent employment in the financial services industry.

       ANSWER

       KPMG denies the allegations set forth in paragraph 271 of the FAC.

       D.     PLAINTIFF ASHWINI VASUDEVA

       272. Ms. Vasudeva suffered discrimination in pay, denial of promotional opportunities,
and discrimination as a result of pregnancy. She was ultimately constructively discharged.

       ANSWER

       KPMG denies the allegations set forth in paragraph 272 of the FAC.

       273. KPMG employed Ms. Vasudeva, the mother of a young child, full-time from
January 2005 until her constructive discharge from the Company in September 2009.


                                              64
       ANSWER

       KPMG admits that Ms. Vasudeva was a full-time employee from January 2005 until
       September 2009, and that she reports to have had a child while employed by KPMG.
       KPMG denies the remainder of the allegations set forth in paragraph 273 of the FAC.

        274. In the summer of 2004, Ms. Vasudeva began working at KPMG’s Mountain View
office as an Intern. She returned to KPMG as a full-time Associate in the same office in January
of 2005, first working in the External Audit practice, then in Contracts Compliance Services
within the Advisory practice approximately a year and a half later. In June 2007, Ms. Vasudeva
was promoted to Senior Associate.

       ANSWER

       KPMG admits the allegations set forth in paragraph 274 of the FAC.

        275. Prior to working at KPMG, Ms. Vasudeva earned her first Bachelor’s Degree in
Commerce and Economics from University of Mumbai in India, then worked for two years in
India in accounting and sales. Ms. Vasudeva then earned a second Bachelor of Science Degree in
Accounting from California State University, Hayward in 2005.

       ANSWER

       KPMG admits that Ms. Vasudeva purports to have certain education and job experience.
       KPMG denies the remainder of the allegations set forth in paragraph 275 of the FAC.

         276. Throughout her nearly five-year tenure, Ms. Vasudeva proved herself to be a
stellar performer. During her reviews, Ms. Vasudeva’s performance managers consistently rated
her as a “strong” or “exceptional performer.” In or around 2005 and 2006, KPMG also awarded
Ms. Vasudeva “Encore” awards, reserved for employees who go “above and beyond the call of
duty.”

       ANSWER

       KPMG admits that Ms. Vasudeva received performance reviews during her employment
       and refers to that source for a complete statement of its contents. KPMG also admits that
       Encore awards are reserved for employees who go above and beyond the call of duty and
       that Ms. Vasudeva received a performance award in 2005. KPMG denies the remainder
       of the allegations set forth in paragraph 276 of the FAC.

       277. Upon information and belief, KPMG paid Ms. Vasudeva at a lower rate than men
for equal work on jobs requiring equal skill, effort, and responsibility, and which were performed
under similar working conditions.

       ANSWER

       KPMG denies the allegations set forth in paragraph 277 of the FAC.



                                               65
        278. For example, KPMG paid Ms. Vasudeva less than her male peer Ryan Wood-
Taylor, who had started at KPMG around the same time as Ms. Vasudeva after graduating from
University, and had similar job duties as a Senior Associate in Contracts Compliance Services.
For example, both Ms. Vasudeva and Mr. Wood-Taylor managed projects for clients, managed
staff and travelled to client sites to perform their work. Indeed, Mr. Wood-Taylor even lagged
behind Ms. Vasudeva in key respects, having performed fewer audits in less diverse settings than
Ms. Vasudeva.

       ANSWER

       KPMG denies the allegations set forth in paragraph 278 of the FAC.

        279. Although Ms. Vasudeva and Mr. Wood-Taylor held the same roles on projects,
often working under the same supervisor, and although were both strong performers, she came to
believe during the time that they were both Senior Associates that he was paid more than her.
Eventually, she learned from her colleague, Manager Sarabdeep Narang, that Mr. Wood-Taylor’s
salary was in fact $10,000 higher than hers.

       ANSWER

       KPMG denies the allegations set forth in paragraph 279 of the FAC.

        280. Mr. Wood-Taylor was not the only similarly situated male Senior Associate paid
more than Ms. Vasudeva. Upon information and belief, Ms. Vasudeva’s salary has been lower
than that of other similarly situated male colleagues throughout her employment.

       ANSWER

       KPMG denies the allegations set forth in paragraph 280 of the FAC.

       281. Upon information and belief, KPMG underpays female Professionals at all levels
throughout the Company relative to similarly situated male employees.

       ANSWER

       KPMG denies the allegations set forth in paragraph 281 of the FAC.

       282. For example, while Ms. Vasudeva was an Associate, she saw the pay stub of male
Senior Associate Nishant Shah, who was working with her and Senior Associate Kathryn Harris
(“Senior Associate Harris”) on a project. She was shocked to discover that he earned
approximately $10,000 more than Senior Associate Harris though both held MBA degrees and
had the same job duties.

       ANSWER

       KPMG lacks knowledge or information sufficient to form a belief as to the truth of the
       allegations regarding what Ms. Vasudeva believes she observed, and what her reaction



                                              66
       was, and therefore denies the allegations. KPMG denies the remainder of the allegations
       set forth in paragraph 282 of the FAC.

       283. Moreover, KPMG also discriminates in bonus pay. In 2008, when Ms. Vasudeva
took maternity leave, KPMG denied Ms. Vasudeva a bonus despite the fact that her overall
performance did not decrease. With the same level of performance in previous years, Ms.
Vasudeva had received a bonus.

       ANSWER

       KPMG denies the allegations set forth in paragraph 283 of the FAC.

        284. When she questioned her Performance Manager, Director Abhijit Joshi (“Director
Joshi”), about the reason she had been denied a bonus, Director Joshi told her she was denied a
bonus due to “economic” reasons. However, upon information and belief, Ms. Vasudeva’s male
peers, including Mr. Wood-Taylor, received bonuses.

       ANSWER

       KPMG admits that Mr. Wood-Taylor received variable compensation in 2008. KPMG
       denies the remainder of the allegations set forth in paragraph 284 of the FAC.

       285. The only difference was that Ms. Vasudeva is a woman who had taken maternity
leave. In addition and upon information and belief, women and women with child-rearing
responsibilities were primarily those who did not receive bonuses for 2008.

       ANSWER

       KPMG denies the allegations set forth in paragraph 285 of the FAC.

      286. Despite Ms. Vasudeva’s stellar qualifications and performance, KPMG denied her
promotions in favor of lesser qualified male employees.

       ANSWER

       KPMG denies the allegations set forth in paragraph 286 of the FAC.

        287. Initially, Ms. Vasudeva progressed along KPMG’s standard career track,
receiving a promotion to Senior Associate in June 2007. However, her career progression
suddenly stalled once she became pregnant.

       ANSWER

       KPMG admits that Ms. Vasudeva was promoted to Senior Associate in 2007. KPMG
       denies the remainder of the allegations set forth in paragraph 287 of the FAC.

       288. After Ms. Vasudeva returned from maternity leave, KPMG placed a number of
obstacles in her path, in a seeming attempt to derail her advancement. Among other things, Ms.
Vasudeva’s supervising Principal Matt Behan (“Principal Behan”) abruptly removed her from

                                              67
her largest engagement, assigned her to a client an hour and a half away, and regularly imposed
unrealistic demands on her.

       ANSWER

       KPMG admits that Ms. Vasudeva was assigned to an engagement approximately an hour
       and a half away. KPMG denies the remainder of the allegations in paragraph 288 of the
       FAC.

        289. In May 2009, KPMG promoted Senior Associate Ryan Wood-Taylor, a less-
experienced male, to Manager instead of Ms. Vasudeva. As a result, Ms. Vasudeva had to report
to Manager Wood-Taylor, who had previously been her peer. Manager Wood-Taylor did not
have comparable audit experience to Ms. Vasudeva. Manager Wood-Taylor had only worked on
one or two software engagements, while Ms. Vasudeva had diverse experiences in a variety of
audits.

       ANSWER

       KPMG admits that Ryan Wood-Taylor was promoted to a Manager position in 2009.
       KPMG denies the remainder of the allegations set forth in paragraph 289 of the FAC.

       290. Senior Associate Bryan Dillon, another male employee, was also promoted to
Manager in May 2009 over Ms. Vasudeva, even though the two had comparable experience.
Senior Associate Dillon had also joined KPMG after receiving his Bachelor of Science degree.
He held her same role within Contracts Compliance Services under the same Partners and
generally performed her same job duties. On information and belief, his performance was not
substantially or meaningfully better than Ms. Vasudeva’s.

       ANSWER

       KPMG admits that Bryan Dillon was promoted to a Manager position in 2009. KPMG
       denies the remainder of the allegations set forth in paragraph 290 of the FAC.

       291. When Ms. Vasudeva asked Director Joshi, her male Performance Manager, why
her male colleagues were promoted instead of her, Director Joshi told her that Managers Wood-
Taylor and Dillon were “friends” with the management, and that was “how things work around
KPMG.” When asked, he was unable to provide Ms. Vasudeva any ways in which she could
improve her performance or develop her skill set to better position herself for a promotion.

       ANSWER

       KPMG denies the allegations set forth in paragraph 291 of the FAC.

       292. Ms. Vasudeva also asked Partner Vanessa Lo why she was not promoted, and was
told that management counted her six months of maternity leave against her tenure and
considered her “too inexperienced” with Manager duties. However, Ms. Vasudeva had ample
exposure to Manager-level work. She had regularly performed Manager-level tasks such as



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budgeting and forecasting and had even trained new Managers on their duties for certain
projects.

       ANSWER

       KPMG denies the allegations set forth in paragraph 292 of the FAC.

        293. Upon information and belief, Ms. Vasudeva was not the only woman to suffer the
effects of the evaluation, development, and promotion systems at KPMG, which lacked
sufficient standards, quality controls, implementation metrics, transparency, and opportunities
for redress that would otherwise have ensured there was no disparate impact on female
professionals who took FMLA leave.

       ANSWER

       KPMG denies the allegations set forth in paragraph 293 of the FAC.

       294. Upon information and belief, KPMG management systematically took advantage
of the flaws in these systems and often undervalued, mismeasured, or otherwise inaccurately
captured performance to the particular detriment of women.

       ANSWER

       KPMG denies the allegations set forth in paragraph 294 of the FAC.

       295. Indeed, Senior Associates Dillon and Wood-Taylor, like other male employees at
KPMG, were regularly invited to “client-building” events, while their female counterparts toiled
away in the office. For example, in 2008 and 2009, when Ms. Vasudeva was staffed on an audit
for Engagement Manager Jared Collins (“Manager Collins”), the Partners, Managers and other
Senior Associates working on the project, all of whom were male, often went golfing on the
Company dime to develop relationships with clients and senior management. Ms. Vasudeva, the
sole female Senior Associate who had taken FMLA leave was systematically excluded. For
example, on one occasion, Manager Collins, Senior Associate Dillon, Senior Associate Wood-
Taylor and three male Team Leads went golfing with the audit client. Ms. Vasudeva, the only
other Team Lead, was not informed about the event until it was already underway.

       ANSWER

       KPMG denies the allegations set forth in paragraph 295 of the FAC.

      296. From 2007 until her constructive discharge in 2009, KPMG discriminated against
Ms. Vasudeva based on her gender and her caregiving responsibilities as a working mother.
Because of Ms. Vasudeva’s status as a working mother, and her decision to take maternity leave,
KPMG made a number of adverse decisions concerning her employment.

       ANSWER

       KPMG denies the allegations set forth in paragraph 296 of the FAC.


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        297. In January 2008, Ms. Vasudeva told her Engagement Partner, Principal Behan,
that she planned to take maternity leave. Principal Behan told her that, if she took maternity
leave, she might not come back at the same level or same pay.

       ANSWER

       KPMG denies the allegations set forth in paragraph 297 of the FAC.

        298. When Ms. Vasudeva noted that it was illegal to penalize her for taking maternity
leave, Principal Behan replied that “in England that is not the case.”

       ANSWER

       KPMG denies the allegations set forth in paragraph 298 of the FAC

         299. In July 2008, when Ms. Vasudeva returned from maternity leave, Principal Behan
abruptly removed her from her largest, most lucrative engagement, to which she had been
assigned for over a year. Though Ms. Vasudeva had previously trained staff to work on the
client, Principal Behan claimed it was “fully staffed” without her.

       ANSWER

       KPMG denies the allegations set forth in paragraph 299 of the FAC.

       300. Principal Behan reassigned Ms. Vasudeva to a new client in Stockton, CA, nearly
an hour and a half from Ms. Vasudeva’s home in Union City, CA. The Stockton client required
high volumes of unchallenging work and was not in need of Ms. Vasudeva’s skill set. Further,
Ms. Vasudeva had to drive to and from Stockton each day, making her commute three hours per
day. While other employees staffed to the client stayed in Stockton during the week and returned
home for the weekends, Ms. Vasudeva had to return home daily to care for her newborn. Ms.
Vasudeva’s similarly situated male counterparts in Contracts Compliance Services were not
reassigned to new clients at this time or in this abrupt fashion.

       ANSWER

       KPMG admits that Ms. Vasudeva was assigned to an engagement in Stockton, California
       that was approximately one and one-half hours from her home and that she reports to
       have commuted each day. KPMG lacks knowledge or information sufficient to form a
       belief as to the truth of the allegations regarding Ms. Vasudeva’s need to return home
       daily, and therefore denies the allegations. KPMG denies the remainder of the allegations
       set forth in paragraph 300 of the FAC.

         301. Two weeks after being reassigned to the Stockton client, Ms. Vasudeva told
Principal Behan that she believed the reassignment was unfair. She asked to be removed from the
client, but Principal Behan refused to do so. Ms. Vasudeva’s request for release was only granted
when she asked the Engagement Partner on the Stockton client.




                                               70
       ANSWER

       KPMG admits that Ms. Vasudeva asked to be removed from the client engagement in
       Stockton. KPMG denies the remainder of the allegations set forth in paragraph 301 of the
       FAC.

        302. Ms. Vasudeva also expressed her concerns to her Performance Manager, Director
Joshi. Shortly after her complaints she was placed on a new project, on which KPMG expected
Ms. Vasudeva to achieve results as “Team Lead” for a software audit under Partner Ron Brill
(“Partner Brill”) and Manager Collins, but provided her no staff to fill her “team.” During the
ten-month period that Ms. Vasudeva was staffed on the project, she only received assistance for
two weeks, while she was traveling overseas for a client site visit.

       ANSWER

       KPMG admits that Ms. Vasudeva was placed on a new engagement. KPMG denies the
       remainder of the allegations set forth in paragraph 302 of the FAC.

       303. Typically, such a project would have been staffed with at least two or three other
members of the team. Indeed, the three additional “Team Leads” on the client, all of whom were
male, had at least two staff members reporting to them. Further, Senior Associates Wood-Taylor
and Dillon, who were given informal promotions to “Super Senior Associates” on the same
audit, had two to three Senior Associates reporting them, who in turn had three to four
Associates reporting to them. Unlike Ms. Vasudeva, who was left to fend for herself on her audit,
male Senior Associates had teams of Associates conducting analysis and performing other
support tasks for them. Although Manager Collins was directly responsible for Ms. Vasudeva’s
engagement, he claimed he had “no expertise” and refused to support her.

       ANSWER

       KPMG denies the allegations set forth in paragraph 303 of the FAC.

       304. Once again, the Company was setting Ms. Vasudeva up for failure. On Manager
Collins’ project, Ms. Vasudeva was the only female Senior Associate. All Managers and Partners
were male. Ms. Vasudeva, without a team to lead, was put at a distinct disadvantage compared to
her male peers, who had several people on their teams.

       ANSWER

       KPMG denies the allegations set forth in paragraph 304 of the FAC.

         305. Not only did Ms. Vasudeva’s maternity leave affect the assignments she received,
but it also permeated her year-end performance review. The final and only comment in the Year
End Overall Performance Rating Comments for Ms. Vasudeva’s 2008 Fiscal Year review was
that “Ashwini was on Maternity Leave for most of this performance year.”




                                               71
       ANSWER

       KPMG admits that Ms. Vasudeva received Year End Overall Performance Review in
       2008 and refers to that source for a complete statement of its contents. KPMG denies the
       remainder of the allegations set forth in paragraph 305 of the FAC.

        306. After the Company had set Ms. Vasudeva up for failure, in her 2009 fiscal year
end review, KPMG included unjust criticisms of her software-related skills, though her work
required only business, accounting and audit skills. Upon information and belief, these criticisms
came from Managers Collins and Wood-Taylor. In fact, Ms. Vasudeva did not need software-
related skills to fulfill her job duties. Ms. Vasudeva addressed this concern to Director Joshi, and
he indicated that he understood the problem, yet declined to remove this irrelevant criticism from
her evaluation.

       ANSWER

       KPMG refers to Ms. Vasudeva’s year end review for a complete statement of its contents.
       KPMG denies the remainder of the allegations set forth in paragraph 306 of the FAC.

        307. While recognizing her “excellent” work product, Director Joshi made unfounded,
gendered criticisms of Ms. Vasudeva’s communication style, stating that she should develop a
“softer approach.” Upon information and belief, these criticisms also came from Managers
Collins and Wood-Taylor.

       ANSWER

       KPMG refers to Ms. Vasudeva’s year end review for a complete statement of its contents.
       KPMG denies the remainder of the allegations set forth in paragraph 307 of the FAC.

       308. Upon information and belief, KPMG’s promotion system’s insufficient quality
standards and controls and implementation metrics, coupled with its lack of transparency and
opportunities for redress, had a discriminatory and disparate impact on women and caretaking
employees.

       ANSWER

       KPMG denies the allegations set forth in paragraph 308 of the FAC.

       309. Upon information and belief, KPMG management systematically took advantage
of the flaws in the system by allowing isolated, pretexual criticisms to infiltrate promotion
decisions, overwhelmingly to the disadvantage of female employees.

       ANSWER

       KPMG denies the allegations set forth in paragraph 309 of the FAC.

         310. In December 2008, Manager Collins told Ms. Vasudeva that she should sign up
for a flex schedule because she was “working only from 9 a.m. to 5:00 p.m.” Although Manager


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Collins assumed Ms. Vasudeva was working less or otherwise underperforming as a new mother,
this was not true. While Ms. Vasudeva would leave work at 5:00 p.m. to pick up her child from
daycare, she would work late at night to compensate for any lost time. Indeed, she typically
worked twelve hours per day, and had no desire to work a reduced schedule or otherwise
participate in the flex time program.

       ANSWER

       KPMG lacks knowledge or information sufficient to form a belief as to the truth of the
       allegations regarding the time Ms. Vasudeva left work to pick up her child, the hours she
       typically worked, and her desire to work a reduced schedule. KPMG denies the
       remainder of the allegations set forth in paragraph 310 of the FAC.

        311. After female Partner Vanessa Lo reassured her that she should not go on a flexible
plan if she was working full-time hours, Ms. Vasudeva told Manager Collins that she saw no
need for her to go on a flex schedule, which would have come with reduced pay and lessened her
chances for her promotion to manager. Manager Collins appeared to disapprove of her decision
when Ms. Vasudeva told him.

       ANSWER

       KPMG lacks knowledge or information sufficient to form a belief as to the truth of the
       allegations regarding Ms. Vasudeva’s conversations with Mr. Collins, and therefore
       denies the allegations. KPMG denies the remainder of the allegations set forth in
       paragraph 311 of the FAC.

        312. Like Ms. Vasudeva, many female Professionals at KPMG are pressured to move
to a flexible schedule after having children because of the predominant culture at KPMG that
assumes working mothers with young children are less effective employees and less committed
to their careers. Upon information and belief, taking leave or hours reductions for pregnancy and
caretaking reasons is considered a negative factor in employees’ evaluations, compensation
decisions and promotion considerations, resulting in an adverse impact on women and mothers at
the Company.

       ANSWER

       KPMG denies the allegations set forth in paragraph 312 of the FAC.

        313. In June 2009, Ms. Vasudeva requested a ninety-day sabbatical because of stress
from the unrealistic demands being imposed on her and the lack of opportunities and support.
While Principal Behan—who was no longer Ms. Vasudeva’s direct supervisor—approved the
sabbatical requests of an employee who had not taken maternity leave in order to engage in
recreational activities, he persuaded HR to reject Ms. Vasudeva’s because “his client need[ed]
[her].” At the time, however, Ms. Vasudeva had no work pending. Indeed, Partner Brill, Ms.
Vasudeva’s Engagement Partner at the time, had previously approved her sabbatical request
because Ms. Vasudeva had completed all her deliverables.



                                               73
       ANSWER

       KPMG denies the allegations set forth in paragraph 313 of the FAC.

      314. In June 2009, after Principal Behan rejected her sabbatical request, Ms. Vasudeva
complained to HR. In addition to discussing her denied sabbatical request, Ms. Vasudeva
complained about the ongoing discrimination she was experiencing. She also discussed her
complaints of discrimination with Ethics and Compliance. However, KPMG never addressed
Ms. Vasudeva’s complaints prior to her constructive discharge.

       ANSWER

       KPMG denies the allegations set forth in paragraph 314 of the FAC.

        315. Upon information and belief, during Ms. Vasudeva’s tenure with KPMG, she was
the only pregnant female at the Associate or Senior Associate level in both the Audit and
Advisory Practices at KPMG Mountain View. The only other pregnant female employee in
either practice who Ms. Vasudeva was aware of was Shanti Krishnaswamy, a Director whom
Principal Behan asked to leave approximately a year after her she gave birth to her child.

       ANSWER

       KPMG denies the allegations set forth in paragraph 315 of the FAC.

       316. Upon information and belief, KPMG has subjected and continues to subject
female employees with caregiving responsibilities and/or young children like Ms. Vasudeva to
disparate terms and conditions of employment.

       ANSWER

       KPMG denies the allegations set forth in paragraph 316 of the FAC.

       317. Ms. Vasudeva was forced to end her career at KPMG in September of 2009
because the Company had deliberately made her working conditions so intolerable that she was
compelled to resign involuntarily.

       ANSWER

       KPMG denies the allegations set forth in paragraph 317 of the FAC.

        318. When Ms. Vasudeva began at KPMG, building a career at the Company was her
lifelong dream. However, despite her hard work, her dream steadily grew more and more elusive.
During Ms. Vasudeva’s tenure at KPMG, she was paid less than male counterparts, denied
opportunities for mentorship and advancement, and experienced discrimination and retaliation
when she became pregnant and took maternity leave. Although she continued to be a top
performer, she bore the burden of unrealistic demands, insufficient resources to complete her
work, and regular hostility from male superiors such as Principal Behan.



                                             74
       ANSWER

       KPMG lacks knowledge or information sufficient to form a belief as to the truth of the
       allegations regarding Ms. Vasudeva’s “lifelong dream” and therefore denies the
       allegations. KPMG denies the remainder of the allegations set forth in paragraph 318 of
       the FAC.

        319. For example, in 2007, when Principal Behan noticed that Ms. Vasudeva worked
well with her female colleague, Senior Associate Kathryn Harris, he attempted to sabotage their
working relationship. Speaking with each woman privately, Principal Behan told Ms. Vasudeva
and Ms. Harris that one had made negative comments about the other, though neither had done
so. Ultimately, the two women reconciled and discovered that Principal Behan had lied to them
both. Upon information and belief, Principal Behan’s divide-and-conquer strategy was intended
to further marginalize the female Professionals in his group, who already constituted a minority.

       ANSWER

       KPMG denies the allegations set forth in paragraph 319 of the FAC.

        320. In another example of Principal Behan’s hostility to women, in July 2009,
Principal Behan made overt sexual innuendos to Ms. Vasudeva including a suggestion that, to
women, the flavor of certain Indian food was similar to semen “in their mouth[s].” The comment
made Ms. Vasudeva extremely uncomfortable. Upon information and belief, Principal Behan
regularly made degrading comments to and about other women.

       ANSWER

       KPMG denies the allegations set forth in paragraph 320 of the FAC.

       321. Even once he was no longer her direct supervisor, Principal Behan saw to it that
Ms. Vasudeva would not be able to take sabbatical, compounding the retaliation to which he had
already subjected her to in moving her to the Stockton project.

       ANSWER

       KPMG denies the allegations set forth in paragraph 321 of the FAC.

       322. Manager Collins, too, made it clear that he disapproved of Ms. Vasudeva’s status
as a full-time working mother, and, accordingly, increased demands on her by declining to
provide her support in working on his software audit.

       ANSWER

       KPMG denies the allegations set forth in paragraph 322 of the FAC.

       323. While Ms. Vasudeva had originally hoped that things might get better with time –
as she proved herself and her skills to the Company – her treatment upon her return from
maternity leave proved that to be a false hope. Although Ms. Vasudeva had long experienced


                                               75
hostility at KPMG, these conditions escalated dramatically when she returned from maternity
leave. She was not only singled out for overly-burdensome unchallenging work, but also was
denied adequate resources, excluded from opportunities for further advancement, subjected to
criticisms regarding an assumed lack of commitment to the company, and otherwise isolated and
devalued.

       ANSWER

       KPMG denies the allegations set forth in paragraph 323 of the FAC.

        324. Ms. Vasudeva found herself constantly unhappy and irritable, detrimentally
affecting her relationships with her family. Her misery at work suffused not only her life at
KPMG, but also her home life. Ms. Vadudeva was frequently unhappy and overcome by anxiety
about work, disrupting even the simplest of moments at home.

       ANSWER

       KPMG denies the allegations set forth in paragraph 324 of the FAC.

       325. As a result of ongoing discrimination, hostility and retaliation, Ms. Vasudeva also
developed stress-induced pain in her neck and lower and middle back, severe enough eventually
to necessitate treatment by a physician.

       ANSWER

       KPMG denies the allegations set forth in paragraph 325 of the FAC.

        326. KPMG took no action whatsoever in response to her concerns despite the fact that
she voiced them to senior management, Human Resources, and Ethics and Compliance. KPMG’s
deliberate and purposeful indifference to her concerns, and its active steps to deny her a
sabbatical, exacerbated and otherwise contributed to her distress. Once it became clear to Ms.
Vasudeva that even HR and Ethics and Compliance were not going to ameliorate the situation,
her work environment became more oppressive. Eventually, she could not even think about
going to work day to day; resignation was her only option.

       ANSWER

       KPMG denies the allegations set forth in paragraph 326 of the FAC.

       327. Once it became clear to Ms. Vasudeva that HR and Ethics and Compliance were
not going to step in—and that they were going to be indifferent to her concerns and even
complicit in her torment—she could not even think about going to work day to day. Resignation
became her only option.

       ANSWER

       KPMG denies the allegations set forth in paragraph 327 of the FAC.



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         328. Like Ms. Vasudeva, other female employees in Ms. Vasudeva’s practice group
have complained to HR and/or through other reporting channels about the Company’s “old boys’
club.” Upon information and belief, since Ms. Vasudeva’s constructive discharge from KPMG,
at least four female Associates and one female Senior Associate from her practice group have
left the Company due to frustration about the lack of opportunities. Upon information and belief,
only one male employee has left Ms. Vasudeva’s group, while most of the other men have been
swiftly and steadily promoted.

       ANSWER

       KPMG denies the allegations set forth in paragraph 328 of the FAC.

       329. Upon information and belief, KPMG’s flawed evaluation, development,
mentoring and promotion practices consistently result in males being promoted more rapidly and
assigned more frequently to higher-level positions than women across the Company.

       ANSWER

       KPMG denies the allegations set forth in paragraph 329 of the FAC.

       E.     PLAINTIFF TINA BUTLER

        330. Ms. Butler, a current employee of the Company, has suffered and continues to
suffer discrimination in pay and denial of promotional opportunities.

       ANSWER

       KPMG admits that Ms. Butler is a current KPMG employee. KPMG denies the
       remainder of the allegations set forth in paragraph 330 of the FAC.

       331. In October of 2004, Ms. Butler transitioned from her Client Services Support role
to an Associate role in Business Performance Services Advisory, which became Performance
Advisory Services in 2009. When she joined KPMG in 1999, she brought with her eight years of
relevant work experience. She was promoted to Senior Associate in 2007 and to Manager in
Federal Advisory Services in 2013.

       ANSWER

       KPMG admits that Ms. Butler was promoted to Senior Associate in 2007 and promoted
       to the position of Manager in 2013 in Federal Financial Management Services, Advisory.
       KPMG denies the remainder of the allegations set forth in paragraph 331 of the FAC.

       332. Ms. Butler worked out of KPMG’s Atlanta, Georgia and Tysons, Virginia offices
during her tenure at the Company.

       ANSWER

       KPMG admits the allegations set forth in paragraph 332 of the FAC.


                                               77
        333. Ms. Butler’s experiences at KPMG have been similar to those of the other Named
Plaintiffs and the class.

       ANSWER

       KPMG denies the allegations set forth in paragraph 333 of the FAC.

       334. Ms. Butler has been paid less than similarly situated men during the class period.
She has consistently earned less than similarly or worse performing men in her position,
function, and service line, despite having the same or more experience and tenure in job.

       ANSWER

       KPMG denies the allegations set forth in paragraph 334 of the FAC.

        335. Despite her stellar performance ratings, Ms. Butler has been denied promotions at
KPMG. In 2009, for example, Ms. Butler’s male colleague Jesse Traylor was promoted to
Manager. Though the two performed similar work at the time, Ms. Butler was forced to wait
until 2013 to be similarly promoted.

       ANSWER

       KPMG denies the allegations set forth in paragraph 335 of the FAC.

        336. As she languished in the Senior Associate position, Ms. Butler saw less qualified
and less experienced men promoted over her.

       ANSWER

       KPMG denies the allegations set forth in paragraph 336 of the FAC.

        337. Upon information and belief, Ms. Butler is not the only woman to suffer the
effects of the compensation and promotion policies and practices at KPMG, which lack sufficient
standards and quality controls, transparency, implementation metrics, and opportunities for
redress that would otherwise have ensured there was no disparate impact on female
professionals. Other women were similarly underpaid and underpromoted relative to men.

       ANSWER

       KPMG denies the allegations set forth in paragraph 337 of the FAC.

        338. Upon information and belief, KPMG management systematically takes advantage
of the flaws in the system by paying female employees less than similarly situated male
employees. KPMG underpays female Professionals at all levels throughout the Company relative
to similarly situated male employees.

       ANSWER

       KPMG denies the allegations set forth in paragraph 338 of the FAC.

                                              78
      339. Moreover, KPMG’s flawed promotion practices consistently result in males being
promoted more rapidly and assigned more frequently to higher positions than women across the
Company.

       ANSWER

       KPMG denies the allegations set forth in paragraph 339 of the FAC.

       340. Ms. Butler is a member of the opt-in EPA collective and would be a member of
any Rule 23 class. She alleges both disparate impact and treatment claims consistent with the
other Named Plaintiffs in this action.

       ANSWER

       KPMG admits that Ms. Butler has filed a consent to join the conditionally certified EPA
       collective, that she claims she would be a member of an undefined putative Rule 23 class
       and that she alleges certain claims against KPMG. KPMG denies the remainder of the
       allegations set forth in paragraph 340 of the FAC.



       F.     PLAINTIFF CHERYL CHARITY

               341. Ms. Charity, a current employee of the Company, has suffered and
continues to suffer discrimination in pay and denial of promotions at KPMG.

       ANSWER

       KPMG denies the allegations set forth in paragraph 341 of the FAC

       342. In March of 2001, Ms. Charity began working at KPMG as a Senior Associate in
IT Advisory, bringing with her a decade of prior work experience. She had previously earned her
Bachelor of Science from Virginia Commonwealth University in 1991. She earned her Master’s
in Management Information Systems from the University of Maryland University College in
2003 and her MBA from the same in 2004. Ms. Charity was promoted to Manager in 2004 and to
Senior Manager/Director in July 2010.

       ANSWER

       KPMG admits that Ms. Charity began working for KPMG in March 2001 in the position
       of Senior Consultant (now Senior Associate) in IT Advisory and that she was promoted
       to Manager in October 2004 and to Senior Manager (Director) in July 2010. KPMG
       further admits that Ms. Charity purports to have certain degrees and work experience.
       KPMG denies the remainder of the allegations set forth in paragraph 342 of the FAC.

        343. Ms. Charity has worked out of KPMG’s Washington, DC and Tysons, Virginia
offices during her tenure with the Company.



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       ANSWER

       KPMG admits the allegations set forth in paragraph 343 of the FAC.

     344. Ms. Charity’s experiences at KPMG have been similar to those of the other
Named Plaintiffs and the class.

       ANSWER

       KPMG denies the allegations set forth in paragraph 344 of the FAC.

        345. Ms. Charity has been paid less than similarly situated men at KPMG during the
class period. She has consistently earned less than similarly or worse performing men in her
position, function, and service line, despite having more experience, qualifications, and tenure in
job.

       ANSWER

       KPMG denies the allegations set forth in paragraph 345 of the FAC.

       346. At the same time, poorly designed and implemented performance management
and promotion systems systematically undervalue women’s contributions to KPMG.

       ANSWER

       KPMG denies the allegations set forth in paragraph 346 of the FAC.

        347. Ms. Charity’s performance ratings at KPMG have also been unfairly lower than
those of her male colleagues who performed similar work at the same level, which has led to her
being denied promotions and fair compensation increases. These discriminatory reviews have
consistently barred her from receiving promotions the first year she was eligible, and have
limited her compensation.

       ANSWER

       KPMG denies the allegations set forth in paragraph 347 of the FAC.

        348. Upon information and belief, KPMG’s performance management system’s
insufficient quality standards and controls and implementation metrics, coupled with its lack of
transparency and opportunities for redress, has a discriminatory and disparate impact on women.

       ANSWER

       KPMG denies the allegations set forth in paragraph 348 of the FAC.

        349. Upon information and belief, Ms. Charity is not the only woman to suffer the
effects of the compensation and promotion policies and practices at KPMG, which lack sufficient
standards and quality controls, transparency, implementation metrics, and opportunities for


                                                80
redress that would otherwise have ensured there was no disparate impact on female
professionals. Other women were similarly underpaid and underpromoted relative to men.

       ANSWER

       KPMG denies the allegations set forth in paragraph 349 of the FAC.

        350. Upon information and belief, KPMG management systematically takes advantage
of the flaws in the system by paying female employees less than similarly situated male
employees. KPMG underpays female Professionals at all levels throughout the Company relative
to similarly situated male employees.

       ANSWER

       KPMG denies the allegations set forth in paragraph 350 of the FAC.

       351. Moreover, KPMG’s flawed promotion practices consistently result in males being
promoted more rapidly and assigned more frequently to higher positions than women across the
Company. KPMG management systematically takes advantage of the flaws in the system to
exclude and undervalue women’s contributions.

       ANSWER

       KPMG denies the allegations set forth in paragraph 351 of the FAC.

       352. For example, a male Principal frequently invited his male counselees and the men
on his projects to golf with him on the weekends. No women were invited. While the men who
accompanied him on these trips were rated highly in their performance evaluations and promoted
quickly, excluded women, like Ms. Charity, were left to languish for years without promotion.
Similarly, another male Partner told Ms. Charity that he was “surprised [she] was still with the
firm” because of his view that “single women” did not stay in the same job for long.

       ANSWER

       KPMG lacks knowledge or information sufficient to form a belief as to the truth of the
       allegations regarding the unnamed Principal and Partner and therefore denies them.
       KPMG denies the remainder of the allegations set forth in paragraph 352 of the FAC.

         353. Finally, Ms. Charity has firsthand experience with how KPMG not only ignores
concerns regarding unfair treatment but actively dissuades women from reporting them. For
example, when Ms. Charity raised the possibility of filing a formal HR complaint, a Partner told
her, “if you go to HR, it will turn on you.”

       ANSWER

       KPMG lacks knowledge or information sufficient to form a belief as to the truth of the
       allegations regarding the unnamed Partner and therefore denies them. KPMG denies the
       remainder of the allegations set forth in paragraph 353 of the FAC.


                                              81
        354. Upon information and belief, KPMG’s HR and Ethics and Compliance offices
and procedures lack standards, quality controls, transparency, implementation metrics, means of
redress, and requirements that concerns of discrimination be addressed and resolved. Concerns
about discrimination made to supervising staff and HR itself are allowed to go unaddressed, or
worse, to result in further or increased discrimination and retaliation. Women and mothers are
negatively affected by these insufficiently designed and implemented procedures, as
unresponsiveness to complaints about discrimination disproportionately falls upon such
employees.

       ANSWER

       KPMG denies the allegations set forth in paragraph 354 of the FAC.

       355. Ms. Charity is a member of the opt-in EPA collective and would be a member of
any Rule 23 class. She alleges both disparate impact and treatment claims consistent with the
other Named Plaintiffs in this action.

       ANSWER

       KPMG admits that Ms. Charity filed a consent to join the conditionally certified EPA
       collective, that she claims she would be a member of an undefined putative Rule 23 class
       and that she alleges certain claims against KPMG. KPMG denies the remainder of the
       allegations set forth in paragraph 355 of the FAC.

       G.     PLAINTIFF HEATHER INMAN

        356. Ms. Inman suffered discrimination in pay and denial of promotional opportunities
until she left the KPMG in October 2014.

       ANSWER

       KPMG denies the allegations set forth in paragraph 356 of the FAC.

       357. In August of 2005, Ms. Inman began working at KPMG as a Manager in IT
Advisory, bringing with her over twelve years of work experience. She previously earned her
Bachelor of Science in Accounting in 1991 from University of Missouri-Columbus School of
Business.

       ANSWER

       KPMG admits that Ms. Inman began working at KPMG in August 2005 as a Manager.
       KPMG further admits that Ms. Inman purports to have certain degrees and work
       experience. KPMG denies the remaining allegations in paragraph 357 of the FAC.

      358. Ms. Inman worked out of KPMG’s St. Louis, Missouri office during her tenure at
the Company.




                                              82
       ANSWER

       KPMG admits the allegations set forth in paragraph 358 of the FAC.

        359. Ms. Inman’s experiences at KPMG have been similar to those of the other Named
Plaintiffs and the class.

       ANSWER

       KPMG denies the allegations set forth in paragraph 359 of the FAC.

        360. Ms. Inman was paid less than similarly situated men during the class period. She
consistently earned less than similarly or worse performing men in her position, function, and
service line, despite having the same or more experience and tenure in her job.

       ANSWER

       KPMG denies the allegations set forth in paragraph 360 of the FAC.

        361. Upon information and belief, Ms. Inman is not the only woman to suffer the
effects of the compensation policies and practices at KPMG, which lack sufficient standards and
quality controls, transparency, implementation metrics, and opportunities for redress that would
otherwise have ensured there was no disparate impact on female professionals. Other women
were similarly underpaid relative to men.

       ANSWER

       KPMG denies the allegations set forth in paragraph 361 of the FAC.

       362. Despite her positive performance ratings, Ms. Inman was denied a promotion at
KPMG. Though she worked at KPMG as a Manager for over nine years, she was never promoted
to Senior Manager. During that time period, Ms. Inman saw less qualified and less experienced
men be promoted over her.

       ANSWER

       KPMG admits that Ms. Inman was not promoted to Senior Manager. KPMG denies the
       remainder of the allegations set forth in paragraph 362 of the FAC.

        363. Upon information and belief, Ms. Inman is not the only woman to suffer the
effects of the promotion policies and practices at KPMG, which lack sufficient standards and
quality controls, transparency, implementation metrics, and opportunities for redress that would
otherwise have ensured there was no disparate impact on female professionals. Other women
were similarly passed over for promotion compared to male peers.

       ANSWER

       KPMG denies the allegations set forth in paragraph 363 of the FAC.


                                              83
        364. Ms. Inman was also denied professional opportunities due to her status as a
mother. After she returned from maternity leave in 2007, Ms. Inman’s manager, Rob Wolf,
denied her opportunities to work on the best accounts, which included travel. Ms. Inman was
willing to travel, but Mr. Wolf told her that she could not because she had young children. When
Ms. Inman pointed out that a male colleague was given these assignments despite having a
young child, Mr. Wolf responded that it was different because “you’re the mom.”

       ANSWER

       KPMG admits that Ms. Inman returned from what she purported to be maternity leave in
       2007. KPMG denies the remainder of the allegations set forth in paragraph 364 of the
       FAC.

        365. Finally, Ms. Inman has firsthand experience with how KPMG ignores concerns
regarding unfair treatment. For example, Ms. Inman submitted multiple complaints of sexual
harassment from male Partners while working for KPMG. In one instance, the Partner received a
verbal warning. In two instances, KPMG took no action in response to her complaints. In
addition, Ms. Inman also observed her male colleagues frequently having lunch at a local
restaurant where the waitresses dressed in skimpy lingerie or body paint, and taking clients to
strip clubs. They told Ms. Inman she could not accompany them on such outings. As a result, she
lost out on valuable networking opportunities with her peers and with clients.

       ANSWER

       KPMG admits that Ms. Inman made complaints regarding what she alleged was
       inappropriate conduct by male Partners at KPMG. KPMG denies the remainder of the
       allegations set forth in paragraph 365 of the FAC.

        366. Upon information and belief, KPMG’s HR and Ethics and Compliance offices
and procedures lack standards, quality controls, transparency, implementation metrics, means of
redress, and requirements that concerns of discrimination be addressed and resolved. Concerns
about discrimination made to supervising staff and HR itself are allowed to go unaddressed, or
worse, to result in further or increased discrimination and retaliation. Women and mothers are
negatively affected by these insufficiently designed and implemented procedures, as
unresponsiveness to complaints about discrimination disproportionately falls upon such
employees.

       ANSWER

       KPMG denies the allegations set forth in paragraph 366 of the FAC.

       367. Ms. Inman is a member of the opt-in EPA collective and would be a member of
any Rule 23 class. She alleges both disparate impact and treatment claims consistent with the
other Named Plaintiffs in this action.




                                              84
       ANSWER

       KPMG admits that Ms. Inman filed a consent to join the conditionally certified EPA
       collective, that she claims she would be a member of an undefined putative Rule 23 class
       and that she alleges certain claims against KPMG. KPMG denies the remainder of the
       allegations set forth in paragraph 367 of the FAC.

       H.     PLAINTIFF NANCY JONES

       368. Ms. Jones suffered discrimination in pay and denial of promotions until her
constructive discharge from KPMG in June 2014.

       ANSWER

       KPMG denies the allegations set forth in paragraph 368 of the FAC.

       369. In November of 2010, Ms. Jones began working at KPMG as a Senior Associate
in Performance Advisory, bringing with her five years of previous work experience. She had
previously received her Bachelor of Business Administration in Actuarial Science and Finance
from Georgia State University.

       ANSWER

       KPMG admits that Ms. Jones began working at KPMG in November 2010 as a Senior
       Associate. KPMG further admits that Ms. Jones purports to have certain degrees and
       work experience. KPMG denies the remainder of the allegations set forth in paragraph
       369 of the FAC.

       370. Ms. Jones worked out of KPMG’s Atlanta, Georgia office during her tenure at the
Company. She worked with employees from the Chicago, Boston, and New York offices, and
her mentor was based in KPMG’s Dallas office. Ms. Jones also spent time working in KPMG’s
San Francisco, Houston, and Chicago offices.

       ANSWER

       KPMG admits that Ms. Jones worked out of KPMG’s Atlanta, Georgia office. KPMG
       lacks information or knowledge sufficient to form a belief as to the truth of the
       allegations regarding the employees with whom she worked and the offices she spent
       time working in and KPMG therefore denies the remainder of the allegations set forth in
       paragraph 370 of the FAC.

        371. Ms. Jones’ experiences at KPMG have been similar to those of the other Named
Plaintiffs and the class.

       ANSWER

       KPMG denies the allegations set forth in paragraph 371 of the FAC.



                                              85
        372. Ms. Jones was paid less than similarly situated men at KPMG during the class
period, despite her stellar performance and additional experience.

       ANSWER

       KPMG denies the allegations set forth in paragraph 372 of the FAC.

       373. Ms. Jones was eligible for promotion, but despite her stellar performance ratings,
and the fact that she was consistently performing work at or above the level of her male peers,
Ms. Jones was not promoted during her tenure at KPMG.

       ANSWER

       KPMG admits that Ms. Jones was not promoted while employed at KPMG. KPMG
       denies the remainder of the allegations set forth in paragraph 373 of the FAC.

       374. Ms. Jones asked her PML repeatedly about her denied promotion and lack of
advancement opportunities. While her PML assured her she would be promoted, Ms. Jones was
not promoted during her tenure at KPMG. She also raised her concerns with the leader of her
department, who failed to take any action in response.

       ANSWER

       KPMG denies the allegations set forth in paragraph 374 of the FAC.

        375. Ms. Jones found herself constantly unhappy and stressed, detrimentally affecting
her relationships with her family and loved ones. As a result of ongoing discrimination and
hostility, Ms. Jones began taking anti-depressants in January 2012.

       ANSWER

       KPMG lacks knowledge or information sufficient to form a belief as to the truth of the
       allegations regarding Ms. Jones’s mental state, relationships and use of anti-depressants
       and therefore denies them. KPMG denies the remainder of the allegations set forth in
       paragraph 375 of the FAC.

       376. KPMG took no action in response to her concerns despite the fact that she
repeatedly voiced them to management. KPMG’s deliberate and purposeful indifference to her
concerns contributed to her distress. Once it became clear to Ms. Jones that KPMG was not
going to ameliorate the situation, her work environment became more oppressive. Eventually,
she could not even think about going to work day to day; resignation was her only option.

       ANSWER

       KPMG denies the allegations set forth in paragraph 376 of the FAC.

        377. Having been repeatedly denied opportunities for advancement and faced with a
stalled career, Ms. Jones had no choice but to leave KPMG in June 2014.


                                              86
       ANSWER

       KPMG denies the allegations set forth in paragraph 377 of the FAC.

        378. Upon information and belief, Ms. Jones is not the only woman to suffer the
effects of the compensation and promotion policies and practices at KPMG, which lack sufficient
standards and quality controls, transparency, implementation metrics, and opportunities for
redress that would otherwise have ensured there was no disparate impact on female
professionals. Other women were similarly underpaid and underpromoted relative to men.

       ANSWER

       KPMG denies the allegations set forth in paragraph 378 of the FAC.

        379. Upon information and belief, KPMG management systematically takes advantage
of the flaws in the system by paying female employees less than similarly situated male
employees. KPMG underpays female Professionals at all levels throughout the Company relative
to similarly situated male employees.

       ANSWER

       KPMG denies the allegations set forth in paragraph 379 of the FAC.

      380. Moreover, KPMG’s flawed promotion practices consistently result in males being
promoted more rapidly and assigned more frequently to higher positions than women across the
Company.

       ANSWER

       KPMG denies the allegations set forth in paragraph 380 of the FAC.

       381. Ms. Jones is a member of the opt-in EPA collective and would be a member of
any Rule 23 class. She alleges both disparate impact and treatment claims consistent with the
other Named Plaintiffs in this action.

       ANSWER

       KPMG admits that Ms. Jones filed a consent to join the conditionally certified EPA
       collective, that she claims she would be a member of an undefined putative Rule 23 class
       and that she alleges certain claims against KPMG. KPMG denies the remainder of the
       allegations set forth in paragraph 381 of the FAC.

       H.     PLAINTIFF CAROL MURRAY

        382. Ms. Murray, a current employee of the Company, has suffered and continues to
suffer discrimination in pay at KPMG.




                                              87
       ANSWER

       KPMG admits that Ms. Murray is currently employed by KPMG. KPMG denies the
       remainder of the allegations set forth in paragraph 382 of the FAC.

       383. After working at KPMG as an Intern in the summer of 2007, Ms. Murray
completed her Bachelor of Science (Finance) and Bachelor of Arts (Philosophy) degrees summa
cum laude from Azusa Pacific College in May 2008. She returned to KPMG in October 2008 as
an Associate in Financial Risk Management Advisory. Ms. Murray was promoted to Senior
Associate in 2010. In March 2011, Ms. Murray transferred to become a Senior Associate in
Economic and Valuation Services Tax, and she was promoted to Manager in October 2013.

       ANSWER

       KPMG admits that Ms. Murray was an intern at KPMG in the summer of 2007 and that
       she claims to have certain degrees. KPMG further admits that Ms. Murray began
       employment with KPMG in 2008 as an Associate in Advisory and was promoted to
       Senior Associate in 2010. KPMG further admits that Ms. Murray transferred to Economic
       Valuation Services in 2011 and was promoted to Manager in October 2013.

      384. Ms. Murray has worked out of KPMG’s Los Angeles, California and Seattle,
Washington offices during her tenure with the Company.

       ANSWER

       KPMG admits the allegations set forth in paragraph 384 of the FAC.

     385. Ms. Murray’s experiences at KPMG have been similar to those of the other
Named Plaintiffs and the class.

       ANSWER

       KPMG denies the allegations set forth in paragraph 385 of the FAC.

       386. Ms. Murray has been paid less than similarly situated men during the class period.
She has consistently earned less than similarly or worse performing men in her position,
function, and service line, despite having the same or more experience and tenure in job.

       ANSWER

       KPMG denies the allegations set forth in paragraph 386 of the FAC.

        387. Upon information and belief, Ms. Murray is not the only woman to suffer the
effects of the compensation policies and practices at KPMG, which lack sufficient standards and
quality controls, transparency, implementation metrics, and opportunities for redress that would
otherwise have ensured there was no disparate impact on female professionals. Other women
were similarly underpaid relative to men.



                                              88
       ANSWER

       KPMG denies the allegations set forth in paragraph 387 of the FAC.

       388. Ms. Murray is a member of the opt-in EPA collective and would be a member of
any Rule 23 class. She alleges both disparate impact and treatment claims consistent with the
other Named Plaintiffs in this action.

       ANSWER

       KPMG admits that Ms. Murray filed a consent to join the conditionally certified EPA
       collective, that she claims she would be a member of an undefined putative Rule 23 class
       and that she alleges certain claims against KPMG. KPMG denies the remainder of the
       allegations set forth in paragraph 388 of the FAC.

       V.     CLASS ACTION ALLEGATIONS

        389. Class Representatives Donna Kassman, Tina Butler, Cheryl Charity, Heather
Inman, Nancy Jones, Carol Murray and the class of female employees they seek to represent
have been subjected to a pattern and practice of gender discrimination, and employment policies
and practices which have had a continuing, unlawful disparate impact on them and their
employment opportunities. Such gender discrimination includes (a) assigning female
Professionals to lower titles and classifications than their male counterparts; (b) paying female
Professionals less than their male counterparts; (c) denying female Professionals promotion and
advancement opportunities in favor of male employees; (d) treating pregnant employees and
mothers differently from non-pregnant employees, male employees, and non-caregivers; and (e)
failing to prevent, respond to, adequately investigate, and/or appropriately resolve instances of
gender discrimination and pregnancy/caregiver discrimination in the workplace.

       ANSWER
       KPMG denies the allegations set forth in paragraph 389 of the FAC and denies that a
       class action is appropriate in this case.

        390. KPMG, in effect, bars female employees from better and higher-paying positions
which have traditionally been held by male employees. The systemic means of accomplishing
such gender-based stratification include, but are not limited to, KPMG’s assignment,
development, promotion, advancement, compensation and performance evaluation policies,
practices and procedures. These practices and procedures all suffer from a lack of: transparency,
adequate quality standards and controls; sufficient implementation metrics; upper
management/HR review; and opportunities for redress or challenge. As a result, employees are
assigned, evaluated, compensated, developed, and promoted within a system that is insufficiently
designed, articulated, explained or implemented to consistently, reliably or fairly manage or
reward employees.

       ANSWER

       KPMG denies the allegations set forth in paragraph 390 of the FAC.


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        391. Within these flawed structures, specific practices negatively affect KPMG’s
female Professionals. For example, assignments do not reflect female employees’ experience and
qualifications, and promotions are not based upon true comparative performance. The evaluation
system lacks sufficient standards or quality controls and metrics to accurately and reliably
measure performance. Within this system, unfounded criticisms may be lodged against KPMG
Professionals who are female, pregnant or mothers, and legitimate criticisms given undue
weight. Participation in male-dominated and exclusive social activities can improperly control or
influence an employees’ standing and prospects within KPMG. Partners, Managing Directors,
Senior Managers and Managers mentor and develop employees selectively, without the
appropriate standards or guidelines or transparency necessary to ensure an equitable workplace.
Moreover, taking leave or flex time for pregnancy and caretaking reasons can constitute a
negative factor in employees’ evaluations, compensation and promotion prospects; and HR and
management has failed to curb a corporate culture that presumes being a mother makes an
employee less dedicated or productive.

       ANSWER

       KPMG denies the allegations set forth in paragraph 391 of the FAC.

        392    These problems are systemic and Company-wide, because, upon information and
belief, all stem from flawed policies, practices and procedures which emanate from the
Company’s New York headquarters.

       ANSWER

       KPMG denies the allegations set forth in paragraph 392 of the FAC.

        393. Where Human Resources and Ethics complaint and compliance policies exist,
they lack meaningful quality controls, standards, implementation metrics, and means of redress.
Concerns about discrimination made to supervising staff and HR itself are allowed to go
unaddressed. Worse, there is no meaningful separation between HR/Ethics complaint processes
and the Managers and Partners who create discriminatory or hostile work conditions toward
women and mothers, such that victims of discrimination often face retaliation or are dissuaded
from voicing concerns altogether.

       ANSWER

       KPMG denies the allegations set forth in paragraph 393 of the FAC.

       394. Thus, KPMG tolerates and even cultivates a hostile environment in which women
and mothers are openly devalued and where (a) retaliation for voicing gender discrimination
complaints is the norm and (b) women mothers who question or even inadvertently disrupt the
gendered norms are routinely pushed out of the Company.

       ANSWER

       KPMG denies the allegations set forth in paragraph 394 of the FAC.


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       395. In all, KPMG demonstrates a reckless disregard – a deliberate indifference – to its
female employees by overlooking or otherwise dismissing even blatant evidence of gender
discrimination.

       ANSWER

       KPMG denies the allegations set forth in paragraph 395 of the FAC.

         396. KPMG’s assignment, evaluation, development, compensation, promotion and
maternity/flexible schedule policies, practices, and procedures, as well as its failure to prevent,
respond to, adequately investigate, and/or appropriately resolve instances of gender and
pregnancy/caregiver discrimination, have had a disparate impact on the Class Representatives
and the members of the class. Such policies, practices and procedures are not valid, job-related,
or justified by business necessity.

       ANSWER

       KPMG denies the allegations set forth in paragraph 396 of the FAC and denies that a
       class action is appropriate in this case.

       397. Because of Defendant’s pattern-or-practice of gender discrimination, the Class
Representatives and class they seek to represent have been adversely affected and have
experienced harm, including the loss of compensation, promotion and other advancement
opportunities, employment benefits and non-economic damages.

       ANSWER

       KPMG denies the allegations set forth in paragraph 397 of the FAC and denies that a
       class action is appropriate in this case.

        398. KPMG has failed to impose adequate discipline on managers and employees who
violate equal employment opportunity laws and has failed to create adequate incentives for its
managerial and supervisory personnel to comply with such laws regarding the employment
policies, practices, and procedures described above.

       ANSWER

       KPMG denies the allegations set forth in paragraph 398 of the FAC.

        399. The Class Representatives and the class have no plain, adequate, or complete
remedy at law to redress the wrongs alleged herein, and this suit is their only means of securing
adequate relief. The Class Representatives and the class have suffered, and will continue to
suffer, irreparable injury from KPMG’s ongoing, unlawful policies, practices, and procedures as
set forth herein unless those policies, practices, and procedures are enjoined by this Court.




                                                91
       ANSWER

       KPMG denies the allegations set forth in paragraph 399 of the FAC and denies that a
       class action is appropriate in this case.

       A.     General Facts Relevant to Class Claims and Class Definition

       400. The Class Representatives seek to maintain claims on their own behalf and on
behalf of a class of current and former female exempt Client Service and Support Professionals
at KPMG.

       ANSWER

       KPMG admits that Plaintiffs seek to maintain claims as described in paragraph 400 of the
       FAC. KPMG denies the remainder of the allegations set forth in paragraph 400 of the
       FAC and denies that a class action is appropriate in this case.

       401. The class consists of all female exempt Client Service and Support Professionals,
including but not limited to Associates, Senior Associates, Managers, Senior Managers/Directors
and Managing Directors (collectively “Professionals”), who are, or have been, employed by
KPMG nationwide during the applicable liability period until the date of judgment. Upon
information and belief, there are thousands of such employees in the proposed class.

       ANSWER

       KPMG denies the allegations set forth in paragraph 401 of the FAC and denies that a
       class action is appropriate in this case.

       402. The Class Representatives seek to represent all of the female employees described
above. The systemic and disparate impact gender discrimination described in this Complaint has
been, and is, continuing in nature.

       ANSWER

       KPMG admits that Plaintiffs purport to maintain claims as described in paragraph 402 of
       the FAC. KPMG denies the remainder of the allegations set forth in paragraph 402 of the
       FAC and denies that a class action is appropriate in this case.

       B.     Efficiency of Class Prosecution of Common Claims

       403. Certification of a class of female Professionals is the most efficient and
economical means of resolving the questions of law and fact which are common to the claims of
the Class Representatives and the proposed class.

       ANSWER

       KPMG denies the allegations in paragraph 403 of the FAC and denies that a class action
       is appropriate in this case.


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       404. The individual claims of the Class Representatives require resolution of the
common question of whether KPMG has engaged in a systemic pattern and/or practice of gender
discrimination against female Professionals. The Class Representatives seek remedies to
eliminate the adverse effects of such discrimination in their own lives, career and working
conditions, and in the lives, careers and working conditions of the proposed class members, and
to prevent continued gender discrimination in the future.

       ANSWER

       KPMG admits that Plaintiffs purport to represent a class as described in paragraph 404 of
       the FAC. KPMG denies the remainder of the allegations set forth in paragraph 404 of the
       FAC and denies that a class action is appropriate in this case.

        405. Plaintiffs have standing to seek such relief because of the adverse effect that such
discrimination has had on them individually and on female employees generally. KPMG caused
Plaintiffs’ injuries through its discriminatory practices, policies, and procedures, as well as its
disparate treatment of employees who are female, pregnant, and/or have caregiving
responsibilities. These injuries are redressible through systemic relief, such as an injunction, and
other appropriate class-wide and individual remedies sought in this action.

       ANSWER

       KPMG denies the allegations set forth in paragraph 405 of the FAC and denies that a
       class action is appropriate in this case.

        406. In addition, proper relief for Plaintiffs’ individual constructive discharge and
wrongful termination claims can include reinstatement. As such, each has a personal interest in
the policies, practices and procedures implemented at KPMG moving forward.

       ANSWER

       KPMG denies the allegations set forth in paragraph 406 of the FAC.

        407. In order to gain relief for themselves, as well as for the class members, Plaintiffs
will first establish the existence of systemic gender discrimination as the premise for the relief
they seek.

       ANSWER

       KPMG lacks knowledge or information sufficient to form a belief as to Plaintiffs’
       intentions. KPMG denies that Plaintiffs are entitled to relief of any kind. KPMG denies
       the allegations set forth in paragraph 407 of the FAC and denies that a class action is
       appropriate in this case.

         408. Without class certification, the same evidence and issues would be subject to re-
litigation in a multitude of individual lawsuits with an attendant risk of inconsistent adjudications
and conflicting obligations. Certification of the proposed class of females is the most efficient



                                                 93
and judicious means of presenting the evidence and arguments necessary to resolve such
questions for the Class Representatives, the proposed class, and Defendant KPMG.

       ANSWER

       KPMG denies the allegations set forth in paragraph 408 of the FAC and denies that a
       class action is appropriate in this case.

       C.      Numerosity and Impracticability of Joinder

        409. The class which the Class Representatives seek to represent is too numerous to
make joinder practicable. Upon information and belief, the proposed class consists of thousands
of current and former female Professionals during the liability period.

       ANSWER

       KPMG admits that Plaintiffs purport to seek relief as described in paragraph 409 of the
       FAC. KPMG denies the remainder of the allegations set forth in paragraph 409 of the
       FAC and denies that a class action is appropriate in this case.

        410. KPMG’s pattern and/or practice of gender discrimination also makes joinder
impracticable by discouraging females from applying for or pursuing promotional, training, or
transfer opportunities, thereby making it impractical and inefficient to identify many members of
the class prior to determination of the merits of KPMG’s class-wide liability.

       ANSWER

       KPMG denies the allegations set forth in paragraph 410 of the FAC and denies that a
       class action is appropriate in this case.

       D.      Common Questions of Law and Fact

       411. The prosecution of the claims of the Class Representatives will require the
adjudication of numerous questions of law and fact common to both their individual claims and
those of the putative class they seek to represent.

       ANSWER

       KPMG denies the allegations set forth in paragraph 411 of the FAC and denies that a
       class action is appropriate in this case.

        412. The common questions of law include, inter alia: (a) whether KPMG has engaged
in a pattern and practice of unlawful, systemic gender discrimination in its compensation,
assignment, selection, performance evaluation, promotion, advancement, transfer, training and
discipline policies, practices and procedures, and in the general terms and conditions of work and
employment; (b) whether the failure to institute adequate standards, quality controls,
implementation metrics, or oversight in assignment, compensation, evaluation, development,
maternity and flex/time, and promotion systems violate Title VII, and/or other statutes; (c)


                                               94
whether the lack of transparency and of opportunities for redress in those systems violates Title
VII, and/or other statutes; (d) whether senior management and HR’s failure to prevent,
investigate, or properly respond to evidence and complaints of discrimination in the workplace
violates Title VII, and/or other statutes; and (e) whether KPMG is liable for a continuing
systemic violation of Title VII, and/or other statutes; and a determination of the proper standards
for proving a pattern or practice of discrimination by KPMG against its female Professionals.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 412 of the FAC and denies that a
       class action is appropriate in this case.

        413. The common questions of fact include, inter alia: whether KPMG has: (a) used a
system of assignment that lacks meaningful or appropriate standards, implementation metrics,
quality controls, transparency and opportunities for redress; (b) through the use of that system of
assignment placed female Professionals in job titles or classifications lower than similarly-
situated male employees; (c) systematically, intentionally or knowingly placed female
Professionals in job titles or classifications lower than similarly-situated male employees; (d)
used a compensation system that lacks meaningful or appropriate standards, implementation
metrics, quality controls, transparency and opportunities for redress; (e) through the use of that
compensation system compensated female Professionals less than similarly-situated males in
salary, bonuses, and/or other perks; (f) systematically, intentionally or knowingly compensated
female Professionals less than similarly-situated males; (g) used a system of development and
mentoring that lacks meaningful or appropriate standards, implementation metrics, quality
controls, transparency and opportunities for redress (h) through the use of that development and
mentoring system failed to develop or mentor female Professionals in a commensurate manner to
their similarly-situated male counterparts; (i) systematically, intentionally or knowingly failed to
develop or mentor female Professionals in a commensurate manner to their similarly-situated
male counterparts; (j) used a promotion system that lacks meaningful or appropriate standards,
implementation metrics, quality controls, transparency and opportunities for redress; (k) through
use of that promotion system precluded or delayed the promotion of female Professionals into
higher level jobs traditionally held by male employees; (l) systematically, intentionally or
knowingly precluded or delayed the promotion of female Professionals into higher level jobs
traditionally held by male employees; (m) used a system for performance evaluations which
lacks meaningful or appropriate standards, implementation metrics, quality controls,
transparency and opportunities for redress; (n) through use of that performance evaluation
system inaccurately, unfairly or disparately measured and classified female and male employee
performance; (o) systematically, intentionally or knowingly subjected female employees to
inaccurate, unfair, or discriminatorily lowered performance evaluations; through its policies,
practices, and procedures, developed male and female employees equitably; (p) used maternity
and flex time policies, practices, and procedures that lack meaningful or appropriate standards,
implementation metrics, quality controls, transparency or opportunities for redress; (q) through
use of those policies, practices and procedures treated pregnant employees and mothers
differently and discriminatorily from non-pregnant employees, male employees, and non-
caregivers; (r) systematically, intentionally or knowingly subjected pregnant employees and
mothers to disparate and discriminatory terms and conditions of employment; (s) used HR, EEO,
and Ethics systems that lack meaningful or appropriate standards, implementation metrics,

                                                95
quality controls, transparency or opportunities for redress; (t) through use of those systems
minimized, ignored, or covered up evidence of gender discrimination and harassment in the
workplace and/or otherwise mishandled the investigation of and response to complaints of
discrimination and harassment brought to the attention of senior management, the human
resources department, or other reporting channels; (u) systematically, intentionally, knowingly or
deliberately showed an indifference to evidence of discrimination in the workplace or otherwise
minimized, ignored, mishandled, or covered up evidence of or complaints about gender and
pregnancy discrimination and harassment in the workplace; and (v) failed to adequately or
meaningfully train, coach, or discipline senior management on EEO principles and compliance.

       ANSWER

       KPMG denies the allegations set forth in paragraph 413 of the FAC and denies that a
       class action is appropriate in this case.

        414. The employment policies, practices, and procedures to which the Class
Representatives and the class members are subjected are set at KPMG’s corporate level, which is
headquartered in and directed from New York, and apply universally to all class members. These
employment policies, practices and procedures are not unique or limited to any department;
rather, they apply to all departments and, thus, affect the Class Representatives and class
members in the same ways no matter the facility, department, or position in which they work.

       ANSWER

       KPMG denies the allegations set forth in paragraph 414 of the FAC and denies that a
       class action is appropriate in this case.

      415. Throughout the liability period, a disproportionately large percentage of the
managers and officers at KPMG have been male.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 415 of the FAC.

        416. The systemic means of accomplishing such gender-based stratification include,
but are not limited to, KPMG’s assignment, development, promotion, advancement,
compensation and performance evaluation policies, practices and procedures. These policies,
practices and procedures all suffer from a lack of: transparency, adequate quality standards and
controls; sufficient implementation metrics; upper management/HR review; and opportunities for
redress or challenge. As a result, employees are assigned, evaluated, compensated, developed,

       ANSWER

       KPMG denies the allegations set forth in paragraph 416 of the FAC.

        417. As a result, male employees have advanced and continue to advance more rapidly
to better and higher-paying jobs than do female employees. KPMG’s policies, practices, and
procedures have had an adverse impact on female Professionals seeking selection for, or

                                               96
advancement to, better and higher-paying positions. In general, the higher the level of the job
classification, the lower the percentage of female employees holding it.

       ANSWER

       KPMG denies the allegations set forth in paragraph 417 of the FAC.

       E.     Typicality of Claims and Relief Sought

        418. The claims of the Class Representatives are typical of the claims of the class. The
relief sought by the Class Representatives for gender discrimination complained of herein is also
typical of the relief which is sought on behalf of the class.

       ANSWER

       KPMG denies the allegations set forth in paragraph 418 of the FAC and denies that a
       class action is appropriate in this case.

      419. Like the members of the class, the Class Representatives are Professionals who
worked at KPMG during the liability period.

       ANSWER

       KPMG denies the allegations set forth in paragraph 419 of the FAC and denies that a
       class action is appropriate in this case.

      420. Discrimination in selection, assignment, performance evaluation, promotion,
advancement, and training affects the compensation of the Class Representatives and all the
employee class members in the same or similar ways.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 420 of the FAC and denies that a
       class action is appropriate in this case.

        421. KPMG has failed to create adequate incentives for its management to comply
with its own policies and equal employment opportunity laws regarding each of the employment
policies, practices, and procedures referenced in this Complaint, and has failed to discipline
adequately its managers and other employees when they violate the Company policy or
discrimination laws. These failures have affected the Class Representatives and the class
members in the same or similar ways.

       ANSWER

       KPMG denies the allegations set forth in paragraph 421 of the FAC and denies that a
       class action is appropriate in this case.

       422. The relief necessary to remedy the claims of the Class Representatives is exactly
the same as that necessary to remedy the claims of the class members in this case.

                                               97
       ANSWER

       KPMG denies the allegations set forth in paragraph 422 of the FAC and denies that a
       class action is appropriate in this case.

        423. The Class Representatives seek the following relief for their individual claims and
for those of the members of the proposed class: (a) a declaratory judgment that KPMG has
engaged in systemic gender discrimination against female Professionals by (1) paying female
Professionals less than their male counterparts, (2) denying female Professionals promotion and
advancement opportunities in favor of male employees, (3) treating pregnant employees and
mothers differently from non-pregnant employees, male employees, and non-caregivers, and (4)
failing to prevent, respond to, adequately investigate, and/or appropriately resolve instances of
gender discrimination and pregnancy/caregiver discrimination in the workplace; (b) a permanent
injunction against such continuing discriminatory conduct; (c) injunctive relief which effects a
restructuring of KPMG’s assignment, promotion, transfer, training, performance evaluation,
compensation, and discipline policies, practices, and procedures – so that female Professionals
will be able to compete fairly in the future for promotions, transfers, and assignments to better
and higher-paying classifications with terms and conditions of employment traditionally enjoyed
by male employees; (d) back pay, front pay, reinstatement and/or other equitable remedies
necessary to make the female Professionals whole from the Defendant’s past discrimination; (f)
punitive and nominal damages to prevent and deter KPMG from engaging in similar
discriminatory practices in the future; (g) compensatory damages; (h) pre- and post-judgment
interest; and (i) attorneys’ fees, costs and expenses.

       ANSWER

       KPMG admits that Plaintiffs seek the relief identified in paragraph 423 of the FAC.
       KPMG denies that Plaintiffs are entitled to relief of any kind. KPMG denies the
       allegations set forth in paragraph 423 of the FAC and denies that a class action is
       appropriate in this case.

       F.      Adequacy of Representation

        424. The Class Representatives’ interests are co-extensive with those of the members
of the proposed class which they seek to represent in this case. The Class Representatives seek to
remedy KPMG’s discriminatory employment policies, practices, and procedures so that female
Professionals will no longer be prevented from advancing into higher-paying and/or more
desirable higher-level positions. Plaintiffs are willing and able to represent the proposed class
fairly and vigorously as they pursue their individual claims in this action.

       ANSWER

       KPMG denies the allegations set forth in paragraph 424 of the FAC and denies that a
       class action is appropriate in this case.

       425. The Class Representatives have retained counsel who are qualified, experienced,
and able to conduct this litigation and to meet the time and fiscal demands required to litigate an
employment discrimination class action of this size and complexity. The combined interests,

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experience, and resources of Plaintiffs’ counsel to litigate competently the individual and class
claims at issue in this case clearly satisfy the adequacy of representation requirement of Federal
Rule of Civil Procedure 23(a)(4).

       ANSWER

       KPMG admits that Plaintiffs have retained counsel. KPMG denies the remainder of the
       allegations set forth in paragraph 425 of the FAC and denies that a class action is
       appropriate in this case.

       G.      Requirements of Rule 23(b)(2)

        426. KPMG has acted on grounds generally applicable to the Class Representatives
and the class by adopting and following systemic policies, practices, and procedures which are
discriminatory. Gender discrimination is KPMG’s standard operating procedure rather than a
sporadic occurrence. KPMG has refused to act on grounds generally applicable to the class by,
inter alia: (a) assigning female Professionals to job titles and classifications lower than proper
for their qualifications and/or actual job duties and responsibilities; (b) failing to pay female
Professionals on par with similarly-situated male employees; (c) denying female Professionals
promotion and advancement opportunities in favor of male employees; (d) treating pregnant
employees and mothers differently from non-pregnant employees, male employees, and non-
caregivers; and (e) failing to prevent, respond to, adequately investigate, and/or appropriately
resolve claims of gender discrimination and pregnancy/caregiver discrimination.

       ANSWER

       KPMG denies the allegations set forth in paragraph 426 of the FAC and denies that a
       class action is appropriate in this case.

        427. The systemic means of accomplishing such gender-based stratification include,
but are not limited to, KPMG’s assignment, development, promotion, advancement,
compensation and performance evaluation policies, practices and procedures. These practices
and procedures all suffer from a lack of: transparency, adequate quality standards and controls;
sufficient implementation metrics; upper management/HR review; and opportunities for redress
or challenge. As a result, employees are assigned, evaluated, compensated, developed, and
promoted within a system that is insufficiently designed, articulated, explained or implemented
to consistently, reliably or fairly manage or reward employees.

       ANSWER

       KPMG denies the allegations set forth in paragraph 427 of the FAC.

        428. KPMG’s systemic discrimination and refusal to act on grounds that are not
discriminatory have made appropriate the requested final injunctive and declaratory relief with
respect to the class as a whole.




                                               99
       ANSWER

       KPMG denies the allegations set forth in paragraph 428 of the FAC and denies that a
       class action is appropriate in this case.

         429. Injunctive, declaratory and affirmative relief are the predominant relief sought in
this case because they are the culmination of the proof of KPMG’s individual and class-wide
liability and the essential predicate for the Class Representatives’ and the class members’
entitlement to monetary and non-monetary remedies at Stage II of such trial. Entitlement to
declaratory, injunctive and affirmative relief flows directly and automatically from proof of the
common questions of law and fact regarding the existence of systemic gender discrimination
against female Professionals at KPMG.

       ANSWER

       KPMG admits that Plaintiffs seek the relief identified in paragraph 429 of the FAC.
       KPMG denies that Plaintiffs are entitled to any of the relief, denies the allegations set
       forth in Paragraph 429 of the FAC and denies that a class action is appropriate in this
       case.

        430. In addition, entitlement to declaratory, injunctive and affirmative relief forms the
factual and legal predicate for recovery by the Class of punitive damages.

       ANSWER

       KPMG denies the allegations set forth in paragraph 430 of the FAC and denies that a
       class action is appropriate in this case.

       H.     Requirements of Rule 23(b)(3)

       431. The common issues of fact and law affecting the claims of the Class
Representatives and proposed class members, including, but not limited to, the common issues
previously identified herein, predominate over any issues affecting only individual claims. These
issues include whether KPMG has engaged in gender discrimination against female
Professionals by (a) assigning female Professionals to lower job titles and classifications than
their male counterparts; (b) paying female Professionals less than their male counterparts, (c)
denying female Professionals promotion and advancement opportunities in favor of male
employees, (d) treating pregnant employees and mothers differently from non-pregnant
employees, male employees, and non-caregivers, and (e) failing to prevent, respond to,
adequately investigate, and/or appropriately resolve instances of gender discrimination and
pregnancy/caregiver discrimination in the workplace.

       ANSWER

       KPMG denies the allegations set forth in paragraph 431 of the FAC and denies that a
       class action is appropriate in this case.




                                              100
       432. A class action is superior to other available means for the fair and efficient
adjudication of the claims of the Class Representatives and members of the proposed class.

       ANSWER

       KPMG denies the allegations set forth in paragraph 432 of the FAC and denies that a
       class action is appropriate in this case.

        433. The cost of proving KPMG’s pattern and practice of discrimination makes it
impracticable for the Class Representatives and members of the proposed class to prosecute their
claims individually.

       ANSWER

       KPMG denies the allegations set forth in paragraph 433 of the FAC and denies that a
       class action is appropriate in this case.

       434. By virtue of the pattern and practice of discrimination at KPMG, Class
Representatives and Class members are eligible for monetary remedies for losses caused by the
systemic discrimination, including backpay, frontpay, reinstatement, compensatory damages, and
other nominal and punitive damages.

       ANSWER

       KPMG denies the allegations set forth in paragraph 434 of the FAC and denies that a
       class action is appropriate in this case.

       VI.    COLLECTIVE ACTION ALLEGATIONS (EQUAL PAY ACT)

       435. Plaintiffs incorporate by reference the allegations from the previous paragraphs of
this Complaint alleging class-based discrimination against similarly-situated female employees.

       ANSWER

       In response to paragraph 435 of the FAC, KPMG restates and incorporates herein all
       prior paragraphs in this Answer.

        436. Plaintiffs bring collective violations of the Equal Pay Act (“EPA”) as a collective
action pursuant to Section 16(b) of the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 216(b)
on behalf of all members of the gender class – e.g. current, former, and future female Managers,
during the liability period. The EPA action includes female Professionals who (a) were not
compensated equally to males who had substantially similar job classifications, functions,
families, titles and/or duties, (b) were not compensated equally to males who performed
substantially similar work, and (c) who were denied promotion and advancement opportunities
that would result in greater compensation in favor of lesser qualified male employees.




                                              101
       ANSWER

       KPMG admits that Plaintiffs purport to bring a collective action as described in
       paragraph 436 of the FAC. KPMG denies the remainder of the allegations set forth in
       paragraph 436 of the FAC and denies that a collective action is appropriate in this case.

        437. Questions of law and fact common to the EPA Collective Action Plaintiffs as a
whole include but are not limited to the following: (a) whether Defendant unlawfully failed and
continues to fail to compensate female Professionals at a level commensurate with similarly
situated male employees; (b) whether Defendant unlawfully failed and continues to fail to
promote and advance female Professionals in a fashion commensurate with similarly qualified
males; (c) whether Defendant’s policy and practice of failing to compensate female Professionals
on a par with comparable male employees as a result of (a) and (b) violates applicable provisions
of the EPA; and (d) whether Defendant’s failure to compensate female Professionals on a par
with comparable male employees as a result of (a) and (b) was willful within the meaning of the
EPA.

       ANSWER

       KPMG denies the allegations set forth in paragraph 437 of the FAC.

        438. Counts for violation of the EPA may be brought and maintained as an “opt-in”
collective action pursuant to 29 U.S.C. § 216(b), for all claims asserted by the EPA Collective
Action Plaintiffs because the claims of Plaintiff are similar to the claims of the EPA Collective
Action Plaintiffs.

       ANSWER

       The allegations set forth in paragraph 438 of the FAC purport to state a legal conclusion
       to which no response is required. To the extent a response is required, KPMG denies the
       allegations set forth therein and denies that a collective action is appropriate in this case.

       439. Plaintiffs and the EPA Collective Action Plaintiffs (a) are similarly situated; (b)
have substantially similar job classifications, functions, families, titles and/or duties; and (c) are
subject to Defendant’s common policy and practice of gender discrimination in (i) failing to
compensate female Professionals on par with men who perform substantially equal work and/or
hold equivalent levels and positions, and (ii) failing to provide female Professionals equal pay by
denying opportunities for promotion and advancement to them comparable to those afforded to
males who perform substantially equal work.

       ANSWER

       KPMG denies the allegations set forth in paragraph 439 of the FAC and denies that a
       collective action is appropriate in this case.

              INDIVIDUAL, CLASS AND COLLECTIVE ACTION COUNTS
                                             COUNT I


                                                 102
                           (INDIVIDUAL AND CLASS CLAIMS)

 VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964 (“TITLE VII”) –
                         PAY DISCRIMINATION

                                    42 U.S.C. § 2000e, et seq.

       440. Plaintiffs re-allege and incorporate by reference each and every allegation in each
and every aforementioned paragraph as if fully set forth herein.

       ANSWER

       In response to paragraph 440 of the FAC, KPMG restates and incorporates herein all
       prior paragraphs in this Answer.

       441. This Count is brought on behalf of Ms. Kassman, Ms. Patterson, Ms. Butler, Ms.
Charity, Ms. Jones, Ms. Inman, Ms. Murray, and all members of the class.

       ANSWER

       KPMG admits that Plaintiffs purport to bring this count as described in paragraph 441 of
       the FAC. KPMG denies the remainder of the allegations set forth in paragraph 441 of the
       FAC.

       442. This Count is brought on behalf of Ms. Patterson only in her capacity as an
individual Plaintiff, and not as a Class Representative.

       ANSWER

       KPMG admits that Plaintiffs purport to bring this count as described in paragraph 442 of
       the FAC. KPMG denies the remainder of the allegations set forth in paragraph 442 of the
       FAC.

        443. Defendant KPMG has discriminated against Plaintiffs and all members of the
class in violation of Title VII of the Civil Rights Act, 42 U.S.C. § 2000e, et seq., as amended by
the Civil Rights Act of 1991 (“Title VII”), by subjecting them to different treatment on the basis
of their gender. Plaintiffs have suffered both disparate impact and disparate treatment as a result
of Defendant’s wrongful conduct.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 443 of the FAC.

        444. Defendant has discriminated against Plaintiffs and all members of the class by
subjecting them to discriminatory pay, discriminatory denials of pay raises, and discriminatory
performance evaluations that affect pay, in violation of Title VII.




                                               103
       ANSWER

       KPMG denies the allegations set forth in Paragraph 444 of the FAC.

        445. Defendant’s conduct has been intentional, deliberate, willful, malicious, reckless
and conducted in callous disregard of the rights of Plaintiffs and all members of the class,
entitling Plaintiffs and all members of the class to punitive damages.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 445 of the FAC.

        446. By reason of the continuous nature of Defendant’s discriminatory conduct, which
persisted throughout the employment of Plaintiffs and the members of the class, Plaintiffs and
the members of the class are entitled to application of the continuing violations doctrine to all
violations alleged herein.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 446 of the FAC.

       447. As a result of Defendant’s conduct alleged in this complaint, Plaintiffs and the
members of the class have suffered and continue to suffer harm, including but not limited to lost
earnings, lost benefits, lost future employment opportunities, other financial loss, and non-
economic damages.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 447 of the FAC.

        448. Defendant’s policies, practices and/or procedures have produced a disparate
impact on Plaintiffs and the members of the class with respect to the terms and conditions of
their employment.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 448 of the FAC.

        449. By reason of Defendant’s discrimination, Plaintiffs and the members of the class
are entitled to all remedies available for violations of Title VII, including an award of punitive
damages.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 449 of the FAC.

       450.    Attorneys’ fees should be awarded under 42 U.S.C. § 2000e-5(k).



                                               104
       ANSWER

       KPMG denies the allegations set forth in paragraph 450 of the FAC.

                                           COUNT II

                           (INDIVIDUAL AND CLASS CLAIMS)

 VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964 (“TITLE VII”) –
                    PROMOTION DISCRIMINATION

                                    29 U.S.C. § 2000e, et seq.

       451. Plaintiffs re-allege and incorporate by reference each and every allegation in each
and every aforementioned paragraph as if fully set forth herein.

       ANSWER

       In response to paragraph 451 of the FAC, KPMG restates and incorporates herein all
       prior paragraphs in this Answer.

       452. This Count is brought on behalf of Ms. Kassman, Ms. Patterson, Ms. Butler, Ms.
Charity, Ms. Jones, Ms. Inman, and all members of the class.

       ANSWER

       KPMG admits that Plaintiffs purport to bring this count as described in paragraph 452 of
       the FAC. KPMG denies the remainder of the allegations set forth in paragraph 452 of the
       FAC.

       453. This Count is brought on behalf of Ms. Patterson only in her capacity as an
individual Plaintiff, and not as a Class Representative.

       ANSWER

       KPMG admits that Plaintiffs purport to bring this count as described in paragraph 453 of
       the FAC. KPMG denies the remainder of the allegations set forth in paragraph 453 of the
       FAC.

        454. Defendant KPMG has discriminated against Plaintiffs and all members of the
class in violation of Title VII of the Civil Rights Act, 42 U.S.C. § 2000e, et seq., as amended by
the Civil Rights Act of 1991 (“Title VII”), by subjecting them to different treatment on the basis
of their gender. Plaintiffs have suffered both disparate impact and disparate treatment as a result
of Defendant’s wrongful conduct.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 454 of the FAC.


                                               105
        455. Defendant has discriminated against Plaintiffs and all members of the class by
treating them differently from and less preferably than similarly-situated male employees, and by
subjecting them to discriminatory denials of promotions, discriminatory denials of
developmental opportunities, and discriminatory performance evaluations that affect promotions
in violation of Title VII.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 455 of the FAC.

        456. Defendant’s conduct has been intentional, deliberate, willful, malicious, reckless
and conducted in callous disregard of the rights of Plaintiffs and all members of the class,
entitling Plaintiffs and all members of the class to punitive damages.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 456 of the FAC.

        457. By reason of the continuous nature of Defendant’s discriminatory conduct, which
persisted throughout the employment of Plaintiffs and the members of the class, Plaintiffs and
the members of the class are entitled to application of the continuing violations doctrine to all
violations alleged herein.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 457 of the FAC.

       458. As a result of Defendant’s conduct alleged in this complaint, Plaintiffs and the
members of the class have suffered and continue to suffer harm, including but not limited to lost
earnings, lost benefits, lost future employment opportunities, other financial loss, and non-
economic damages.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 458 of the FAC.

        459. Defendant’s policies, practices and/or procedures have produced a disparate
impact on Plaintiffs and the members of the class with respect to the terms and conditions of
their employment.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 459 of the FAC.

        460. By reason of Defendant’s discrimination, Plaintiffs and the members of the class
are entitled to all remedies available for violations of Title VII, including an award of punitive
damages.



                                               106
       ANSWER

       KPMG denies the allegations set forth in Paragraph 460 of the FAC.

       461.   Attorneys’ fees should be awarded under 42 U.S.C. § 2000e-5(k).

       ANSWER

       KPMG denies the allegations set forth in paragraph 461 of the FAC.

                                         COUNT III

                          (INDIVIDUAL AND CLASS CLAIMS)

 VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964 (“TITLE VII”) –
            PREGNANCY AND CAREGIVER DISCRIMINATION

                                  29 U.S.C. § 2000e, et seq.

       462. Plaintiffs re-allege and incorporate by reference each and every allegation in each
and every aforementioned paragraph as if fully set forth herein.

       ANSWER

       In response to paragraph 462 of the FAC, KPMG restates and incorporates herein all
       prior paragraphs in this Answer.

        463. This Count is brought on behalf of Ms. Kassman, Ms. Patterson, Ms. Inman, and
all similar members of the class.

       ANSWER

       KPMG admits that Plaintiffs purport to bring this count as described in paragraph 463 of
       the FAC, but denies the remainder of the allegations set forth therein.

       464. This Count is brought on behalf of Ms. Patterson only in her capacity as an
individual Plaintiff, and not as a Class Representative.

       ANSWER

       KPMG admits that Plaintiffs purport to bring this count as described in paragraph 464 of
       the FAC, but denies the remainder of the allegations set forth therein.

        465. Defendant KPMG has discriminated against Plaintiffs and all members of the
Class in violation of Title VII by subjecting them to different treatment on the basis of their
gender. The members of the Class have been disparately impacted and disparately treated as a
result of KPMG’s wrongful conduct and its policies, practices and procedures.



                                             107
       ANSWER

       KPMG denies the allegations set forth in Paragraph 465 of the FAC.

        466. KPMG has discriminated against the class members bringing this claim by
treating them differently from and less preferably than similarly-situated male employees and
female employees without primary caregiving responsibilities, and by subjecting them to
differential and substandard terms and conditions of employment including but not limited to
discriminatory denials of fair compensation, discriminatory denials of promotional and
discriminatory treatment with respect to work responsibilities and other terms and conditions of
employment in violation of Title VII.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 466 of the FAC.

        467. KPMG’s conduct has been intentional, deliberate, willful, malicious, reckless and
conducted in callous disregard of the rights of the Plaintiffs and the members of the proposed
class, entitling the Plaintiffs and the members of the class to punitive damages.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 467 of the FAC.

       468. As a result of Defendant’s conduct alleged in this complaint, Plaintiffs and the
members of the class have suffered and continue to suffer harm, including but not limited to lost
earnings, lost benefits, and other financial loss, and non-economic damages.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 468 of the FAC.

        469. By reason of Defendant’s discrimination, Plaintiffs and members of the class are
entitled to all legal and equitable remedies available for violations of Title VII, including an
award of punitive damages.

       ANSWER

       KPMG denies the allegations set forth in paragraph 469 of the FAC.

       470.   Attorneys’ fees should be awarded under 42 U.S.C. § 2000e-5(k).

       ANSWER

       KPMG denies the allegations set forth in paragraph 470 of the FAC.

                                          COUNT IV

                 (INDIVIDUAL AND COLLECTIVE ACTION CLAIMS)

                                              108
            VIOLATION OF THE FAIR LABOR STANDARDS ACT OF 1938,

      AS AMENDED BY THE EQUAL PAY ACT OF 1963 – 29 U.S.C. §§ 206, et seq.

                      DENIAL OF EQUAL PAY FOR EQUAL WORK

       471. Plaintiffs re-allege and incorporate by reference each and every allegation
contained in the previous paragraphs of this Complaint as though fully set forth herein.

       ANSWER

       In response to paragraph 471 of the FAC, KPMG restates and incorporates herein all
       prior paragraphs in this Answer.

        472. This Count is brought on behalf of Ms. Kassman, Ms. Patterson, Ms. Vasudeva,
Ms. Butler, Ms. Charity, Ms. Jones, Ms. Inman, Ms. Murray, and the EPA Collective Action
Class, including all EPA Collective Action Plaintiffs who “opt in” to this action.

       ANSWER

       KPMG admits that Plaintiffs purport to bring this count as described in paragraph 472 of
       the FAC. KPMG denies the remainder of the allegations set forth therein.

        473. Defendant, an employer of Plaintiffs and the EPA Collective Action Plaintiffs
within the meaning of the Equal Pay Act, has discriminated against Plaintiff and EPA Collective
Action Plaintiffs in violation of the Fair Labor Standards Act of 1938, 29 U.S.C. §§ 206, et seq.,
as amended by the Equal Pay Act of 1963 (“EPA”), by subjecting them to unequal pay on the
basis of sex.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 473 of the FAC.

        474. Defendant has discriminated against Plaintiffs and EPA Collective Action
Plaintiffs by treating them differently from and less preferably than similarly-situated male
employees who performed jobs which required equal skill, effort, and responsibility, and which
were performed under similar working conditions. Defendant so discriminated by subjecting
them to discriminatory pay, discriminatory denials of bonuses and other compensation
incentives, discriminatory denials of promotions and other advancement opportunities that would
result in higher compensation, and other forms of discrimination in violation of the Equal Pay
Act.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 474 of the FAC.

        475. Defendant caused, attempted to cause, contributed to, or caused the continuation
of, the wage rate discrimination based on sex in violation of the Equal Pay Act. Moreover,


                                               109
Defendant knew of or showed reckless disregard for the fact that its conduct was in violation of
the Equal Pay Act.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 475 of the FAC.

        476. As a result of Defendant’s conduct alleged in this Complaint and/or Defendant’s
willful, knowing and intentional discrimination, Plaintiffs and EPA Collective Action Plaintiffs
have suffered and will continue to suffer harm, including but not limited to lost earnings, lost
benefits, other financial loss, and non-economic damages.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 476 of the FAC.

        477. Plaintiffs and EPA Collective Action Plaintiffs are therefore entitled to all
remedies available for violations of the EPA, including liquidated damages for all willful
violations.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 477 of the FAC.

       478.   Attorneys’ fees should be awarded under 29 U.S.C. §§ 216, et seq.

       ANSWER

       KPMG denies the allegations set forth in paragraph 478 of the FAC.

                                          COUNT V

                           (INDIVIDUAL AND CLASS CLAIMS)

          VIOLATION OF NEW YORK EXECUTIVE LAW § 296, subd. 1(a) –

                                  PAY DISCRIMINATION

       479. Plaintiffs re-allege and incorporate by reference each and every allegation in each
and every aforementioned paragraph as if fully set forth herein.

       ANSWER

       In response to paragraph 479 of the FAC, KPMG restates and incorporates herein all
       prior paragraphs in this Answer.

       480. This Count is brought on behalf of Ms. Kassman and all members of the class
who live or lived and or work or worked in New York at any point after September 29, 2005.


                                              110
       ANSWER

       KPMG admits that Plaintiffs purport to bring this count as described in paragraph 459 of
       the FAC. KPMG denies that this count can be brought on behalf of putative class
       members not working in the State of New York. KPMG denies the remainder of the
       allegations set forth in paragraph 480 of the FAC.

        481. Defendant KPMG has discriminated against Plaintiff and all members of the class
in violation of Section 296, subdivision 1(a) of the New York Executive Law, by subjecting
them to different treatment on the basis of their gender.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 481 of the FAC. KPMG further
       denies that this count can be brought on behalf of putative class members not working in
       the State of New York.

        482. Defendant has discriminated against Plaintiff and all members of the class by
subjecting them to discriminatory pay, discriminatory denials of pay raises, and discriminatory
performance evaluations that affect pay, in violation of the New York Executive Law.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 482 of the FAC. KPMG further
       denies that this count can be brought on behalf of putative class members not working in
       the State of New York.

       483. As a result of Defendant’s conduct alleged in this complaint, Plaintiff and all
members of the class have suffered and continue to suffer harm, including but not limited to lost
earnings, lost benefits, lost future employment opportunities, other financial loss, and non-
economic damages.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 483 of the FAC. KPMG further
       denies that this count can be brought on behalf of putative class members not working in
       the State of New York.

        484. By reason of Defendant’s discrimination, Plaintiff and all members of the class
are entitled to all remedies available for violations of the New York Executive Law.

       ANSWER

       KPMG denies the allegations set forth in paragraph 484 of the FAC. KPMG further
       denies that this count can be brought on behalf of putative class members not working in
       the State of New York.

                                          COUNT VI


                                              111
                           (INDIVIDUAL AND CLASS CLAIMS)

          VIOLATION OF NEW YORK EXECUTIVE LAW § 296, subd. 1(a) –

                             PROMOTION DISCRIMINATION

       485. Plaintiffs re-allege and incorporate by reference each and every allegation in each
and every aforementioned paragraph as if fully set forth herein.

       ANSWER

       In response to paragraph 485 of the FAC, KPMG restates and incorporates herein all
       prior paragraphs in this Answer.

       486. This Count is brought on behalf of Ms. Kassman and all members of the class
who live or lived and or work or worked in New York at any point after September 29, 2005.

       ANSWER

       KPMG admits that Plaintiffs purport to bring this count as described in paragraph 486 of
       the FAC. KPMG denies that this count can be brought on behalf of putative class
       members not working in the State of New York. KPMG denies the remainder of the
       allegations set forth in paragraph 486 of the FAC.

        487. Defendant KPMG has discriminated against Plaintiff and all members of the class
in violation of Section 296, subdivision 1(a) of the New York Executive Law, by subjecting
them to different treatment on the basis of their gender.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 487 of the FAC. KPMG further
       denies that this count can be brought on behalf of putative class members not working in
       the State of New York.

        488. Defendant has discriminated against Plaintiff and all members of the class by
treating them differently from and less preferably than similarly-situated male employees, and by
subjecting them to discriminatory denials of promotions, discriminatory denials of
developmental opportunities, and discriminatory performance evaluations that affect promotions
in violation of the New York Executive Law.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 488 of the FAC. KPMG further
       denies that this count can be brought on behalf of putative class members not working in
       the State of New York.

     489. As a result of Defendant’s conduct alleged in this complaint, Plaintiff and all
members of the class have suffered and continue to suffer harm, including but not limited to lost


                                              112
earnings, lost benefits, lost future employment opportunities, other financial loss, and non-
economic damages.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 489 of the FAC. KPMG further
       denies that this count can be brought on behalf of putative class members not working in
       the State of New York.

        490. By reason of Defendant’s discrimination, Plaintiff and all members of the class
are entitled to all remedies available for violations of the New York Executive Law.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 490 of the FAC. KPMG further
       denies that this count can be brought on behalf of putative class members not working in
       the State of New York.

                                        COUNT VII

                          (INDIVIDUAL AND CLASS CLAIMS)

          VIOLATION OF NEW YORK EXECUTIVE LAW § 296, subd. 1(a) –

                 PREGNANCY AND CAREGIVER DISCRIMINATION

       491. Plaintiffs re-allege and incorporate by reference each and every allegation in each
and every aforementioned paragraph as if fully set forth herein.

       ANSWER

       In response to paragraph 491 of the FAC, KPMG restates and incorporates herein all
       prior paragraphs in this Answer.

       492. This Count is brought on behalf of Ms. Kassman and all similar members of the
class who live or lived and or work or worked in New York at any point after September 29,
2005.

       ANSWER

       KPMG admits that Plaintiffs purport to bring this count as described in paragraph 492 of
       the FAC, but denies the remainder of the allegations set forth therein. KPMG further
       denies that this count can be brought on behalf of putative class members not working in
       the State of New York.

        493. Defendant KPMG has discriminated against Plaintiff and all members of the class
in violation of Section 296, subdivision 1(a) of the New York Executive Law, by subjecting
them to different treatment on the basis of their gender.


                                             113
       ANSWER

       KPMG denies the allegations set forth in Paragraph 493 of the FAC. KPMG further
       denies that this count can be brought on behalf of putative class members not working in
       the State of New York.

        494. KPMG has discriminated against the class members bringing this claim by
treating them differently from and less preferably than similarly-situated male employees and
female employees without primary caregiving responsibilities, and by subjecting them to
differential and substandard terms and conditions of employment including but not limited to
discriminatory denials of fair compensation, discriminatory denials of promotions and
discriminatory treatment with respect to work responsibilities and other terms and conditions of
employment in violation of the New York Executive Law.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 494 of the FAC. KPMG further
       denies that this count can be brought on behalf of putative class members not working in
       the State of New York.

       495. As a result of Defendant’s conduct alleged in this complaint, Plaintiff and all
members of the class have suffered and continue to suffer harm, including but not limited to lost
earnings, lost benefits, lost future employment opportunities, other financial loss, and non-
economic damages.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 495 of the FAC. KPMG further
       denies that this count can be brought on behalf of putative class members not working in
       the State of New York.

        496. By reason of Defendant’s discrimination, Plaintiff and all members of the class
are entitled to all remedies available for violations of the New York Executive Law.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 496 of the FAC. KPMG further
       denies that this count can be brought on behalf of putative class members not working in
       the State of New York.

                                         COUNT VIII

                           (INDIVIDUAL AND CLASS CLAIMS)

  VIOLATION OF NEW YORK CITY ADMINISTRATIVE CODE § 8-107, subd. 1(a) –

                                  PAY DISCRIMINATION



                                              114
       497. Plaintiffs re-allege and incorporate by reference each and every allegation in each
and every aforementioned paragraph as if fully set forth herein.

       ANSWER

       In response to paragraph 497 of the FAC, KPMG restates and incorporates herein all
       prior paragraphs in this Answer.

       498.   This Count is brought on behalf of Ms. Kassman and all members of the class.

       ANSWER

       KPMG admits that Plaintiffs purport to bring this count as described in paragraph 498 of
       the FAC. Pursuant to the Court’s Order, dated February 7, 2013, KPMG denies that this
       count can be brought on behalf of putative class members not working in New York City.
       KPMG denies the remainder of the allegations set forth in paragraph 498 of the FAC.

        499. Defendant KPMG has discriminated against Plaintiff and all members of the class
in violation of Section 8-107, subdivision 1(a) of the New York City Administrative Code, by
subjecting them to different treatment on the basis of their gender.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 499 of the FAC. Pursuant to the
       Court’s Order, dated February 7, 2013, KPMG further denies that this count can be
       brought on behalf of putative class members not working in New York City.

       500. As a result of Defendant’s conduct alleged in this complaint, Plaintiff and all
members of the class have suffered and continue to suffer harm, including but not limited to lost
earnings, lost benefits, lost future employment opportunities, other financial loss, and non-
economic damages.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 500 of the FAC. Pursuant to the
       Court’s Order, dated February 7, 2013, KPMG further denies that this count can be
       brought on behalf of putative class members not working in New York City.

       501. As a result of Defendant’s conduct alleged in this complaint, Plaintiff and all
members of the class have suffered and continue to suffer harm, including but not limited to lost
earnings, lost benefits, lost future employment opportunities, other financial loss, and non-
economic damages.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 501 of the FAC. Pursuant to the
       Court’s Order, dated February 7, 2013, KPMG further denies that this count can be
       brought on behalf of putative class members not working in New York City.


                                              115
        502. By reason of Defendant’s discrimination, Plaintiff and all members of the class
are entitled to all remedies available for violations of the New York City Administrative Code,
including an award of punitive damages.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 502 of the FAC. Pursuant to the
       Court’s Order, dated February 7, 2013, KPMG further denies that this count can be
       brought on behalf of putative class members not working in New York City.

                                         COUNT IX

                          (INDIVIDUAL AND CLASS CLAIMS)

  VIOLATION OF NEW YORK CITY ADMINISTRATIVE CODE § 8-107, subd. 1(a) –

                            PROMOTION DISCRIMINATION

       503. Plaintiffs re-allege and incorporate by reference each and every allegation in each
and every aforementioned paragraph as if fully set forth herein.

       ANSWER

       In response to paragraph 503 of the FAC, KPMG restates and incorporates herein all
       prior paragraphs in this Answer.

       504.   This Count is brought on behalf of Ms. Kassman and all members of the class.

       ANSWER

       KPMG admits that Plaintiffs purport to bring this count as described in paragraph 504 of
       the FAC. Pursuant to the Court’s Order, dated February 7, 2013, KPMG denies that this
       count can be brought on behalf of putative class members not working in New York City.
       KPMG denies the remainder of the allegations set forth in paragraph 504 of the FAC.

        505. Defendant KPMG has discriminated against Plaintiff and all members of the class
in violation of Section 8-107, subdivision 1(a) of the New York City Administrative Code, by
subjecting them to different treatment on the basis of their gender.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 505 of the FAC. Pursuant to the
       Court’s Order, dated February 7, 2013, KPMG further denies that this count can be
       brought on behalf of putative class members not working in New York City.

        506. Defendant KPMG has discriminated against Plaintiff and all members of the class
in violation of Section 8-107, subdivision 1(a) of the New York City Administrative Code, by
subjecting them to different treatment on the basis of their gender.


                                             116
         ANSWER

         KPMG denies the allegations set forth in Paragraph 506 of the FAC. Pursuant to the
         Court’s Order, dated February 7, 2013, KPMG further denies that this count can be
         brought on behalf of putative class members not working in New York City.

       507. As a result of Defendant’s conduct alleged in this complaint, Plaintiff and all
members of the class have suffered and continue to suffer harm, including but not limited to lost
earnings, lost benefits, lost future employment opportunities, other financial loss, and non-
economic damages.

         ANSWER

         KPMG denies the allegations set forth in Paragraph 507 of the FAC. Pursuant to the
         Court’s Order, dated February 7, 2013, KPMG further denies that this count can be
         brought on behalf of putative class members not working in New York City.

        508. By reason of Defendant’s discrimination, Plaintiff and all members of the class
are entitled to all remedies available for violations of the New York City Administrative Code,
including an award of punitive damages.

         ANSWER

         KPMG denies the allegations set forth in Paragraph 508 of the FAC. Pursuant to the
         Court’s Order, dated February 7, 2013, KPMG further denies that this count can be
         brought on behalf of putative class members not working in New York City.

                                          COUNT X

                           (INDIVIDUAL AND CLASS CLAIMS)

  VIOLATION OF NEW YORK CITY ADMINISTRATIVE CODE § 8-107, subd. 1(a) –

                   PREGNANCY AND CAREGIVER DISCRIMINATION

       509. Plaintiffs re-allege and incorporate by reference each and every allegation in each
and every aforementioned paragraph as if fully set forth herein.

         ANSWER

         In response to paragraph 509 of the FAC, KPMG restates and incorporates herein all
         prior paragraphs in this Answer.

         510.   This Count is brought on behalf of Ms. Kassman and all similar members of the
class.




                                              117
       ANSWER

       KPMG admits that Plaintiffs purport to bring this count as described in paragraph 489 of
       the FAC. Pursuant to the Court’s Order, dated February 7, 2013, KPMG denies that this
       count can be brought on behalf of putative class members not working in New York City.
       KPMG denies the remainder of the allegations set forth in paragraph 510 of the FAC.

        511. Defendant KPMG has discriminated against Plaintiff and all members of the class
in violation of Section 8-107, subdivision 1(a) of the New York City Administrative Code, by
subjecting them to different treatment on the basis of their gender.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 511 of the FAC. Pursuant to the
       Court’s Order, dated February 7, 2013, KPMG further denies that this count can be
       brought on behalf of putative class members not working in New York City.

        512. KPMG has discriminated against the class members bringing this claim by
treating them differently from and less preferably than similarly-situated male employees and
female employees without primary caregiving responsibilities, and by subjecting them to
differential and substandard terms and conditions of employment including but not limited to
discriminatory denials of fair compensation, discriminatory denials of promotions and
discriminatory treatment with respect to work responsibilities and other terms and conditions of
employment in violation of the New York City Administrative Code.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 512 of the FAC. Pursuant to the
       Court’s Order, dated February 7, 2013, KPMG further denies that this count can be
       brought on behalf of putative class members not working in New York City.

       513. As a result of Defendant’s conduct alleged in this complaint, Plaintiff and all
members of the class have suffered and continue to suffer harm, including but not limited to lost
earnings, lost benefits, lost future employment opportunities, other financial loss, and non-
economic damages.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 513 of the FAC. Pursuant to the
       Court’s Order, dated February 7, 2013, KPMG further denies that this count can be
       brought on behalf of putative class members not working in New York City.

        514. By reason of Defendant’s discrimination, Plaintiff and all members of the class
are entitled to all remedies available for violations of the New York City Administrative Code,
including an award of punitive damages.




                                              118
       ANSWER

       KPMG denies the allegations set forth in Paragraph 514 of the FAC. Pursuant to the
       Court’s Order, dated February 7, 2013, KPMG further denies that this count can be
       brought on behalf of putative class members not working in New York City.

                                         COUNT XI

                          (INDIVIDUAL AND CLASS CLAIMS)

                VIOLATION OF THE NEW YORK EQUAL PAY LAW –

                                  N.Y. LABOR LAW § 194

                         DENIAL OR EQUAL PAY FOR EQUAL WORK

       515     Plaintiffs re-allege and incorporate by reference each and every allegation
contained in the previous paragraphs of this Complaint as though fully set forth herein.

       ANSWER

       In response to paragraph 515 of the FAC, KPMG restates and incorporates herein all
       prior paragraphs in this Answer.

       516.   This Count is brought on behalf of Plaintiffs and all members of the class.

       ANSWER

       KPMG admits that Plaintiffs purport to bring this count as described in paragraph 516 of
       the FAC. KPMG denies that this count can be brought on behalf of putative class
       members not working in the State of New York. KPMG denies the remainder of the
       allegations set forth in paragraph 495 of the FAC.

        517. Defendant, an employer of Plaintiffs and all members of the class within the
meaning of the New York Equal Pay Law, has discriminated against Plaintiffs and all members
of the class in violation of the New York Labor Law § 194, by subjecting them to unequal pay on
the basis of sex.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 517 of the FAC. Pursuant to the
       Court’s Order, dated February 7, 2013, KPMG further denies that this count can be
       brought on behalf of putative class members not working in the State of New York.

        518. Defendant has discriminated against Plaintiffs and all members of the class by
treating them differently from and less preferably than similarly-situated male employees who
performed jobs which required equal skill, effort, and responsibility, and which were performed
under similar working conditions. Defendant so discriminated by subjecting them to
discriminatory pay, discriminatory denials of promotions and other advancement opportunities

                                              119
that would result in higher compensation, and other forms of discrimination in violation of the
New York Equal Pay Law.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 518 of the FAC. Pursuant to the
       Court’s Order, dated February 7, 2013, KPMG further denies that this count can be
       brought on behalf of putative class members not working in the State of New York.

        519. Defendant caused, attempted to cause, contributed to, or caused the continuation
of, the wage rate discrimination based on sex in violation of the New York Equal Pay Law.
Moreover, Defendant willfully violated the New York Equal Pay Law by intentionally paying
women less than men.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 519 of the FAC.

       520. Plaintiffs and all members of the class are therefore entitled to all remedies
available for violations of N.Y. Labor Law § 194, including liquidated damages and attorneys’
fees and costs for all willful violations.

       ANSWER

       KPMG denies the allegations set forth in Paragraph 520 of the FAC. Pursuant to the
       Court’s Order, dated February 7, 2013, KPMG further denies that this count can be
       brought on behalf of putative class members not working in the State of New York.

                              INDIVIDUAL ONLY COUNTS

                                        COUNT XII

         (INDIVIDUAL CLAIM – PLAINTIFFS KASSMAN AND PATTERSON)

                      VIOLATION OF TITLE VII - RETALIATION

                                     42 U.S.C. § 2000e-3

       521. Plaintiffs Kassman and Patterson re-allege and incorporate by reference each and
every allegation in each and every aforementioned paragraph as if fully set forth herein.

       ANSWER

       In response to paragraph 521 of the FAC, KPMG restates and incorporates herein all
       prior paragraphs in this Answer.

        522. In their final years of employment with Defendant, Ms. Kassman and Ms.
Patterson repeatedly voiced concerns about KPMG’s discriminatory treatment of them,


                                             120
complaining through various reporting channels, including the Office of Ethics and Compliance,
the Office of General Counsel, and Human Resources.

       ANSWER

       KPMG admits Ms. Kassman and Ms. Patterson voiced purported concerns. KPMG denies
       the remainder of the allegations set forth in paragraph 522 of the FAC.

        523. In retaliation for their complaints regarding KPMG’s unlawful employment
practices, Defendant took adverse employment actions against Ms. Kassman and Ms. Patterson.

       ANSWER

       KPMG denies the allegations set forth in paragraph 523 of the FAC.

        524. Defendant retaliated against Ms. Kassman by, inter alia, giving her a disciplinary
“coach,” failing to provide her equal pay or promote her, and subjecting her to stressful meetings
and interrogations based on baseless accusations. Defendant ultimately bullied Ms. Kassman into
resigning by subjecting her to escalating gender discrimination and harassment.

       ANSWER

       KPMG denies the allegations set forth in paragraph 524 of the FAC.

       525. Defendant retaliated against Ms. Patterson by, inter alia, subjecting her to
unfounded criticism, refusing to give her billable work, and denying her the pay and promotion
she deserved.

       ANSWER

       KPMG denies the allegations set forth in paragraph 525 of the FAC.

       526. Upon information and belief, other women at KPMG who opposed or complained
about unlawful gender discrimination were similarly retaliated against.

       ANSWER

       KPMG denies the allegations set forth in paragraph 526 of the FAC.

       527. Defendant’s conduct has been intentional, deliberate, willful, malicious, reckless
and conducted in callous disregard of the rights of Ms. Kassman and Ms. Patterson, entitling
them to punitive damages.

       ANSWER

       KPMG denies the allegations set forth in paragraph 527 of the FAC.




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       528. As a result of Defendant’s conduct alleged in this Complaint, Ms. Kassman and
Ms. Patterson have suffered and continue to suffer harm, including but not limited to lost
earnings, lost benefits, other financial loss, and non-economic damages.

       ANSWER

       KPMG denies the allegations set forth in paragraph 528 of the FAC.

         529. By reason of Defendant’s retaliation, Ms. Kassman and Ms. Patterson are entitled
to all remedies available for violations of Title VII, including an award of punitive damages.

       ANSWER

       KPMG denies the allegations set forth in paragraph 529 of the FAC.

       530.   Attorneys’ fees should be awarded under 42 U.S.C. § 2000e-5(k).

       ANSWER

       KPMG denies the allegations set forth in paragraph 530 of the FAC.

                                        COUNT XIII

 (INDIVIDUAL CLAIM – PLAINTIFFS KASSMAN, PATTERSON AND VASUDEVA)

                        VIOLATIONS OF THE EQUAL PAY ACT

                            U.S.C. § 215(a)(3) - RETALIATION

        531 to 537. No response is necessary to paragraphs 531 through 537 of the FAC, as
Plaintiffs’ individual claims under the Equal Pay Act have been dismissed.

       ANSWER

       No answer.

                                        COUNT XIV

                    (INDIVIDUAL CLAIM – PLAINTIFF KASSMAN)

                 VIOLATION OF NEW YORK EXECUTIVE LAW § 296

                                      RETALIATION

        538. Plaintiff Kassman re-alleges and incorporates by reference each and every
allegation in each and every aforementioned paragraph as if fully set forth herein.




                                             122
       ANSWER

       In response to paragraph 538 of the FAC, KPMG restates and incorporates herein all
       prior paragraphs in this Answer.

        539. In the final year of her employment with Defendant, Ms. Kassman repeatedly
voiced concerns about KPMG’s discriminatory treatment of her, complaining to the Office of
Ethics and Compliance, the Office of General Counsel, and Human Resources.

       ANSWER

       KPMG admits that, Ms. Kassman voiced purported concerns, but denies the remainder of
       the allegations set forth in paragraph 539 of the FAC.

        540. In retaliation for Ms. Kassman’s complaints regarding KPMG’s unlawful
employment practices, Defendant took adverse employment actions against her, including giving
her a disciplinary “coach,” failing to provide her equal pay or promote her, and subjecting her to
stressful meetings and interrogations based on baseless accusations. Defendant ultimately bullied
Ms. Kassman into resigning by subjecting her to escalating gender discrimination and
harassment.

       ANSWER

       KPMG denies the allegations set forth in paragraph 540 of the FAC.

       541. By reason of Defendant’s conduct as alleged herein, Ms. Kassman is entitled to
all remedies available under the New York Executive Law.

       ANSWER

       KPMG denies the allegations set forth in paragraph 541 of the FAC.

                                          COUNT XV

                     (INDIVIDUAL CLAIM – PLAINTIFF KASSMAN)

   VIOLATION OF NEW YORK CITY ADMINISTRATIVE CODE § 8-107, subd. 7 –
                           RETALIATION

        542. Plaintiff Kassman re-alleges and incorporates by reference each and every
allegation in each and every aforementioned paragraph as if fully set forth herein.

       ANSWER

       In response to paragraph 542 of the FAC, KPMG restates and incorporates herein all
       prior paragraphs in this Answer.




                                               123
        543. In the final year of her employment with Defendant, Ms. Kassman repeatedly
voiced concerns about KPMG’s discriminatory treatment of her, complaining to the Office of
Ethics and Compliance, the Office of General Counsel, and Human Resources.

       ANSWER

       KPMG admits that Ms. Kassman voiced purported concerns. KPMG denies the
       remainder of the allegations set forth in paragraph 543 of the FAC.

        544. In retaliation for Ms. Kassman’s complaints regarding KPMG’s unlawful
employment practices, Defendant took adverse employment actions against her, including giving
her a disciplinary “coach,” failing to provide her equal pay or promote her, and subjecting her to
stressful meetings and interrogations based on baseless accusations. Defendant ultimately bullied
Ms. Kassman into resigning by subjecting her to escalating gender discrimination and
harassment.

       ANSWER

       KPMG denies the allegations set forth in paragraph 544 of the FAC.

       545. By reason of Defendant’s retaliation, Ms. Kassman is entitled to all remedies
available for violations of the New York City Administrative Code, including an award of
punitive damages.

       ANSWER

       KPMG denies the allegations set forth in paragraph 545 of the FAC.

                                         COUNT XVI

        (INDIVIDUAL CLAIM – PLAINTIFFS PATTERSON AND VASUDEVA)

           VIOLATION OF FAMILY AND MEDICAL LEAVE ACT (“FMLA”)

                                    29 U.S.C. § 2601, et seq.

       546. Ms. Vasudeva and Ms. Patterson re-allege and incorporate by reference each and
every allegation in each and every aforementioned paragraph as if fully set forth herein.

       ANSWER

       In response to paragraph 546 of the FAC, KPMG restates and incorporates herein all
       prior paragraphs in this Answer.

        547. KPMG discriminated against Ms. Vasudeva and Ms. Patterson on the basis of
their pregnancy, childbirth, and related conditions in violation of the Family and Medical Leave
Act (“FMLA”).



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       ANSWER

       KPMG denies the allegations set forth in paragraph 547 of the FAC.

        548. Under the FMLA, an employee must be restored by the employer to the same
position held by the employee when the leave commenced, or to an equivalent position with
equivalent employment benefits, pay, and other terms and conditions of employment.

       ANSWER

       The allegations set forth in paragraph 548 of the FAC purport to state a legal conclusion
       to which no response is required. To the extent a response is required, KPMG denies the
       allegations set forth in paragraph 548 of the FAC.

        549. After Ms. Patterson returned from maternity leave, KPMG refused to give her
billable work, suggested she work part-time or move to a different practice, and denied her equal
pay and promotional opportunities, ultimately forcing Ms. Patterson to leave the Company.

       ANSWER

       KPMG denies the allegations set forth in paragraph 549 of the FAC.

       550. After Ms. Vasudeva returned from maternity leave, KPMG reassigned her to less
desirable projects, refused to provide her with staffing support, and denied her equal pay and
promotional opportunities, ultimately forcing Ms. Vasudeva to leave the Company.

       ANSWER

       KPMG denies the allegations set forth in paragraph 550 of the FAC.

      551. Defendants acted willfully, intentionally, and with reckless disregard for Ms.
Vasudeva and Ms. Patterson’s rights under the FMLA.

       ANSWER

       KPMG denies the allegations set forth in paragraph 551 of the FAC.

        552. As a direct and proximate result of defendants’ actions, Ms. Vasudeva and Ms.
Patterson suffered injury and monetary damages, including but not limited to, past and future
loss of income, benefits, promotion and promotional opportunities, expenses and costs, and are
entitled to all legal and equitable remedies available.

       ANSWER

       KPMG denies the allegations set forth in paragraph 552 of the FAC.

        553. By reason of KPMG’s discrimination, Ms. Vasudeva and Ms. Patterson are
entitled to all legal and equitable remedies available for violations of the FMLA, including an


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award of liquidated damages for all willful violations, prejudgment interest, attorneys’ fees,
costs, and other compensation pursuant to 29 U.S.C. § 2617.

         ANSWER

         KPMG denies the allegations set forth in paragraph 553 of the FAC.



                                            PRAYER FOR RELIEF

         KPMG denies all other allegations not specifically set forth herein.

        KPMG denies each and every prayer for relief set forth in Plaintiffs’ Prayer for Relief,
and each and every sub-paragraph thereof, in its and their entirety, and denies that either
Plaintiffs or the putative class are entitled to any relief whatsoever.

                                                 JURY DEMAND

      KPMG admits that Plaintiffs purport to demand a trial by jury in this action, but deny the
remainder of the allegations set forth in Plaintiffs’ jury demand.

                          AFFIRMATIVE AND OTHER SEPARATE DEFENSES 19


                                                     GENERAL

         1.       Plaintiffs’ FAC fails to state a claim upon which relief may be granted, as to the

individual Plaintiffs’ claims as well as those on behalf of the alleged class.

         2.       Some or all of Plaintiffs’ claims are barred by the applicable statutes of

limitations.

         3.       Some or all of Plaintiffs’ claims are barred by the equitable doctrines of laches,

waiver, estoppel, res judicata, release, unclean hands and/or after acquired evidence.

         4.       Defendant did not act with malice or reckless indifference to Plaintiffs’ federally

protected rights within the meaning of Section 102(b)(1) of the Civil Rights Act of 1991.




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   All affirmative and other defenses are asserted as to the respective named Plaintiffs as well as opt-in plaintiffs and
all putative class members.

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       5.      Venue is inappropriate for one or more of the Plaintiffs in this civil action,

requiring dismissal of their claims.

       6.      Some of the Plaintiffs and/or their claims are misjoined and should be dismissed

or alternatively transferred.

             ADMINISTRATIVE REMEDIES/TITLE VII/NYCHRL/NYSHRL

       7.      To the extent Plaintiffs or any of them failed to comply with the enforcement

provisions of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e, et seq.

(“Title VII”), their Title VII claims are barred as untimely and/or for failure to exhaust

administrative remedies.

       8.      To the extent Plaintiffs or any of them failed to satisfy all of the conditions

precedent to filing suit under the New York State Human Rights Law, New York Executive Law

§ 290, et seq. (“NYSHRL”), or the New York City Human Rights Law, New York City

Administrative Code § 8-107, et seq. (“NYCHRL”), including failure to exhaust administrative

remedies, their claims are barred.

       9.      To the extent any of Plaintiffs’ purported Title VII claims concern events alleged

to have occurred more than 300 days before the filing of their Charges of Discrimination with the

Equal Employment Opportunity Commission (“EEOC”), such claims are barred as untimely.

       10.     To the extent Plaintiffs’ FAC purports to assert or attempts to assert any Title VII,

NYSHRL or NYCHRL claims other than those contained in any Plaintiff’s Charge of

Discrimination filed with the EEOC, NYSDHR or NYCCHR, such claims are barred for failing

to fulfill all the conditions precedent to maintaining such claims and otherwise are time-barred.

       11.     To the extent Plaintiffs’ NYCHRL or NYSHRL claims concern events alleged to

have occurred more than three years before the filing of this suit, such claims are barred.



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          12.   To the extent any particular Plaintiff’s Charge of Discrimination filed with the

EEOC, NYSDHR or NYCCHR failed to assert claims on behalf of a class of allegedly similarly

situated women, the existence of which KPMG expressly denies, commensurate with the claims

alleged in Plaintiffs’ FAC, that charge cannot serve as the foundation for any putative class

alleged by Plaintiffs with respect to such unasserted claims.


                                         CLASS CLAIMS

          13.   One or more Plaintiffs lack standing to assert some or all of the claims of the

putative class members they purport to represent, the existence of which class KPMG expressly

denies.

          14.   Plaintiffs’ claims on behalf of the purported class, the existence of which class

KPMG expressly denies, are barred by Plaintiffs’ failure to meet all four of the mandatory

requirements of Fed. R. Civ. P. 23(a).

          15.   Plaintiffs’ claims on behalf of the purported class, the existence of which class

KPMG expressly denies, are barred by Plaintiffs’ failure to meet all four of the mandatory

requirements of Fed. R. Civ. P. 23(b).

          16.   The claims alleged by Plaintiffs are neither common nor typical of those, if any,

of the members of the putative class of persons whom they purport to represent, the existence of

which KPMG expressly denies.

          17.   Plaintiffs are inadequate representatives of the putative class and collective group

of persons whom they purport to represent, the existence of which KPMG expressly denies.

          18.   The types of claims alleged by Plaintiffs and/or the types of relief sought by

Plaintiffs are matters in which individual questions predominate and, accordingly, are not

appropriate for class treatment.


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          19.   Plaintiffs have not shown and cannot show that class treatment of the claims

alleged in the FAC is superior to other methods of adjudicating this action.

          20.   Certain of the interests of Plaintiffs and members of the putative class and

collective group of persons whom they purport to represent are in conflict with the interests of all

or some of the members of the proposed class and collective group, the existence of which

KPMG expressly denies.

          21.   The claims of alleged individuals included in the proposed class, the existence of

which KPMG expressly denies, are subject to individualized defenses, and class treatment would

not only violate the due process rights of absent class members but also KPMG’s rights to due

process and a jury trial.

          22.   Plaintiffs have failed to identify a practice of discrimination against Plaintiffs or

the putative class of persons whom they purport to represent, the existence of which KPMG

expressly denies, including, inter alia, a policy causing the alleged discrimination.

   GENERAL DEFENSES RE: EMPLOYMENT DECISIONS/DISPARATE IMPACT/
                         TITLE VII/NYCHRL

          23.   Plaintiffs and members of the putative class of persons whom they purport to

represent, the existence of which KPMG expressly denies, cannot identify similarly situated male

individuals who work or worked for KPMG as Associates, Senior Associates, Managers, Senior

Managers or Directors/Managing Directors, and received more favorable treatment based on

gender.

          24.   Plaintiffs’ claims on behalf of themselves and members of the putative class of

persons whom they purport to represent, the existence of which KPMG expressly denies, are not

actionable under Title VII because any pay differences between them and similarly-situated male




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individuals who work or worked for KPMG as Associates, Senior Associates, Managers Senior

Managers or Directors/Managing Directors were based on one or more factors other than gender.

       25.     The employment actions taken by KPMG with respect to Plaintiffs were based

solely on legitimate, non-discriminatory factors other than gender. Alternatively, in the event that

the Court or a jury ever were to conclude that gender was a motivating factor in any employment

decisions challenged by Plaintiffs, which KPMG expressly denies, KPMG affirmatively avers

that the same decisions would have been made for legitimate business reasons and without

consideration of gender.

       26.     KPMG denies that gender or any impermissible factor played any role in any of

KPMG’s various performance, promotion or compensation policies, procedures, decisions, or

practices, or in any other policy, procedure, decision, or practice that Plaintiffs are or may be

challenging.

       27.     Insofar as any of KPMG’s employment policies, procedures or practices,

including but not limited to those related to performance, promotion or compensation, are found

to have had a statistically significant adverse impact on any group of female employees, as

compared to similarly situated male employees, which KPMG expressly denies, such policies,

procedures or practices nevertheless are lawful because they are job-related for the position in

question and consistent with business necessity.

       28.     Insofar as any of KPMG’s employment policies, procedures or practices,

including but not limited to those related to performance, promotion or compensation, are found

to have had a statistically significant adverse impact on any group of female employees, as

compared to similarly situated male employees, which KPMG expressly denies, such policies,




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procedures or practices nevertheless are lawful because they bear a significant relationship to a

significant business objective of KPMG.

       29.     Insofar as any of KPMG’s employment policies, procedures or practices,

including but not limited to those related to performance, promotion or compensation, are found

to have had a statistically significant adverse impact on any group of female employees, as

compared to similarly situated male employees, which KPMG expressly denies, such policies,

procedures or practices nevertheless are lawful because Plaintiffs have not demonstrated the

existence of an alternative employment practice that satisfies the legal standard as it existed on

June 4, 1989, and KPMG has not, therefore, refused to adopt any such alternative employment

practice.

       30.     Insofar as any of KPMG’s employment policies, procedures or practices,

including but not limited to those related to performance, promotion or compensation, are found

to have had a statistically significant adverse impact on any group of female employees, as

compared to similarly situated male employees, which KPMG expressly denies, such policies,

procedures or practices nevertheless are lawful because Plaintiffs cannot produce substantial

evidence that an alternative policy or practice with less disparate impact is available to KPMG.

       31.     Insofar as any of KPMG’s employment policies, procedures or practices,

including but not limited to those related to performance, promotion or compensation, are found

to have had a statistically significant adverse impact on any group of female employees, as

compared to similarly situated male employees, which KPMG expressly denies, such policies,

procedures or practices nevertheless are lawful because such alternative policy or practice would

not serve KPMG as well.




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        32.    If any selection device utilized by KPMG is found to have had any unlawful

adverse impact on any group of female employees, which KPMG expressly denies, such

consequences were not intentional.

        33.    Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs failed to avail

themselves and/or take advantage of any preventative or corrective opportunities including anti-

harassment and anti-discrimination policies provided by KPMG, or otherwise failed to avoid

harm.

        34.    KPMG has taken reasonable care to prevent and remedy promptly any incidents

of alleged sex, race or other discrimination brought to management’s attention. KPMG has

policies banning sex, race or other discrimination in the workplace and a reasonable and

available procedure for handling complaints thereof, which provides for prompt and effective

responsive action.

        35.    Any instances of discriminatory or harassing conduct by managers of KPMG, the

occurrence of which KPMG expressly denies, would have contravened KPMG’s good faith

efforts to enforce and follow Title VII and other anti-discrimination laws. KPMG has issued

policies and established procedures for addressing complaints of alleged discrimination and has

promulgated, taught, and enforced those policies and procedures in its workforce. KPMG is

therefore not liable, and/or is not liable for punitive or liquidated damages, for any such acts.

        36.    Plaintiffs are not entitled to recover punitive or liquidated damages because

KPMG has made good-faith efforts to comply with and enforce all applicable anti-discrimination

and anti-harassment laws and, at all relevant times, has acted reasonably, in good faith and

without malice based upon all relevant information and facts and circumstances known by

KPMG at the time it acted.



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       37.      To the extent Plaintiffs allege that one or more of KPMG’s employees harassed

them, KPMG expressly states that such conduct, if any, as may have occurred: (1) was outside

the course and scope of those employees’ employment; (2) was not condoned by KPMG; (3) was

undertaken without the knowledge or consent of KPMG; and/or (4) was not conduct of a class-

based nature.

       38.      No resignation from employment on the part of Plaintiffs or the alleged class

members they purport to represent, the existence of which class KPMG expressly denies, was

because of behavior that was sufficiently severe or pervasive to alter the conditions of that

individual’s employment or to create an abusive working environment, nor were working

conditions so intolerable that a reasonable person would have felt compelled to resign.

       39.      To the extent Plaintiffs establish that they were paid at a rate less than the rate at

which KPMG paid wages to male employees for equal work on jobs the performance of which

requires equal skill, effort and responsibility, and which were performed under similar working

conditions, which KPMG expressly denies, any such differential was because of a seniority

system, a merit system, a system which measures earnings by quantity or quality of production,

location of employees, or a differential based on any other factor other than sex.

       40.      To the extent Plaintiffs establish any instances of harassing or discriminatory

conduct (the occurrence of which KPMG expressly denies), KPMG took prompt and affirmative

action to remedy such acts and therefore has no liability for them.

                               PREGNANCY DISCRIMINATION

       41.      Plaintiffs’ pregnancies and caregiver responsibilities played no role or no

impermissible role in any employment decisions related to Plaintiffs. Alternatively, even if some




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impermissible motive were a factor in any decision, which KPMG denies, the same decision

would have been reached for legitimate non-discriminatory business reasons.

       42.     Plaintiffs’ pregnancy discrimination claims under Title VII, NYSHRL and

NYCHRL or any other laws are precluded to the extent they attempt to assert a claim on the

basis that Plaintiffs had “primary caregiving responsibilities.”

                                       NYCHRL CLAIMS

       43.     The NYCHRL does not apply to one or more of the Plaintiffs and/or putative

class members.

       44.     KPMG is not liable with respect to any and/or all of the NYCHRL claims alleged

in Plaintiffs’ FAC because any employee who allegedly discriminated against Plaintiffs, or

against some or all members of the putative class of persons they purport to represent, the

existence of which KPMG expressly denies, was not an “agent” for KPMG who “exercised

managerial or supervisory responsibility.”

       45.     If any employee of KPMG engaged in any unlawful discriminatory practice,

which KPMG expressly denies, KPMG is not liable with respect to any and/or all of Plaintiffs’

purported NYCHRL claims because: (1) KPMG did not know of or acquiesce to any employee’s

or agent’s discriminatory conduct; (2) KPMG did not fail to take immediate and appropriate

corrective action upon learning of any discriminatory conduct; (3) there is no basis for

concluding that KPMG should have known of the employee’s or agent’s discriminatory conduct;

and (4) KPMG did not fail to exercise reasonable diligence to prevent such discriminatory

conduct.

                                       NYSHRL CLAIMS




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       46.     The NYSHRL does not apply to one or more of the Plaintiffs and/or putative class

members.

       47.     Punitive damages are not an appropriate remedy under the NYSHRL.

       48.     Attorneys’ fees are not an appropriate remedy under the NYSHRL.

                                      EPA/NY EPA CLAIMS

       49.     To the extent Plaintiffs establish that they were paid at a rate less than the rate at

which KPMG paid wages to male employees for equal work on jobs the performance of which

requires equal skill, effort and responsibility, and which were performed under similar working

conditions, which KPMG expressly denies, any such differential was because of 1) a seniority

system; 2) a merit system; 3) a system which measures earnings by quantity or quality of

production; or 4) a differential based on any other factor other than sex.

       50.     All actions taken by KPMG with regard to Plaintiffs’ rates of pay were for good

cause and in good faith and were based on reasonable factors other than gender.

       51.     Defendant’s actions in employing individuals at a different pay level than

Plaintiffs were not done willfully.

       52.     Plaintiffs are not similarly situated to each other or to members of the putative

collective group they seek to represent.

       53.     This case is inappropriate for treatment as a collective action because Plaintiffs

cannot satisfy the requirements for maintenance of a collective action under Section 216(b) of

the FLSA.

       54.     Plaintiffs’ Equal Pay Act claims are limited to the establishments or particular

offices/facilities where named plaintiffs worked.




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       55.     The New York Equal Protection Act does not apply to one or more of Plaintiffs

and/or putative class members.

       56.     To the extent any Plaintiffs employed by KPMG on or after January 1, 2016

establish under the New York Equal Protection Act that they were paid at a rate less than the rate

at which KPMG paid wages to male employees for equal work on jobs the performance of which

requires equal skill, effort and responsibility, and which were performed under similar working

conditions, which KPMG expressly denies, any such differential was because of 1) a seniority

system; 2) a merit system; 3) a system which measures earnings by quantity or quality of

production; or 4) a differential based on a bona fide factor other than sex, such as education,

training, or experience.

                                     INDIVIDUAL CLAIMS

RETALIATION CLAIMS –KASSMAN (TITLE VII, NYSHRL, NYCHRL), PATTERSON
                          (TITLE VII)

       57.     Plaintiffs’ individual retaliation claims are defective to the extent Plaintiffs did

not engage in any protected activity under Title VII, the Family and Medical Leave Act

(“FMLA”), the New York or federal Equal Pay Act, the NYSHRL or the NYCHRL or any other

law.

       58.     Plaintiffs’ individual retaliation claims are defective to the extent that any

employment-related actions taken subsequent to Plaintiffs’ purported protected activity were

taken for legitimate non-retaliatory reasons, and/or were not reasonably likely to dissuade a

reasonable employee from engaging in protected activity.

             FMLA CLAIMS (DISCRIMINATION) – PATTERSON, VASUDEVA




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       59.     Plaintiffs’ individual FMLA claims are not actionable because the challenged

employment actions were justified by legitimate, non-discriminatory and non-pretextual business

reasons unrelated to FMLA status.

       60.     Any act or omission by KPMG giving rise to Plaintiffs’ individual claims for

relief under the FMLA was made in good faith and KPMG had reasonable grounds for believing

that its act or omission was not a violation of the FMLA within the meaning of the Act.

       61.     Plaintiffs exhausted their FMLA leave entitlement; did not immediately return to

work after such exhaustion; and therefore forfeited their job reinstatement rights.

                                    CAUSATION/DAMAGES

       62.     There is no causal relation between the alleged acts of KPMG and any injury or

damage allegedly suffered by Plaintiffs, or the putative class of persons they purport to represent,

the existence of which KPMG expressly denies.

       63.     KPMG is not liable with respect to any and/or all claims of Plaintiffs and the

members of the putative class, the existence of which KPMG expressly denies, to the extent that

Plaintiffs and the putative class members suffered no adverse employment action.

       64.     KPMG has not engaged in unlawful intentional discrimination with respect to

Plaintiffs, or any members of the putative class of persons they purport to represent, the

existence of which KPMG expressly denies, and KPMG therefore is not liable for either

compensatory or punitive damages.

       65.     Plaintiffs, and any members of the putative class of persons they purport to

represent, the existence of which KPMG expressly denies, may not seek compensatory or

punitive damages under the Equal Pay Act or New York Labor Law.




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       66.     Any and all claims by Plaintiffs, including those on behalf of members of the

putative class of persons whom they purport to represent, the existence of which class KPMG

expressly denies, based in whole or in part upon any alleged physical or emotional injury or

mental distress are barred because no conduct of KPMG was extreme or outrageous or

undertaken with the intent of causing, or in reckless disregard of the probability of causing

emotional distress.

       67.     Any alleged damages under Title VII for alleged pay, promotion or

pregnancy/caregiver discrimination, or retaliation, are subject to, and limited by, the damages

caps established by 42 U.S.C. § 1981a(b)(3).

       68.     Any liabilities and penalties against KPMG, if any, should be mitigated by virtue

of the factors set forth in the NYCHRL.

       69.     KPMG is not liable for punitive damages under either Title VII, the NYCHRL or

any other law because neither KPMG nor any of its officers, directors and/or “managerial

agents” and/or “agents” ever: (1) intentionally engaged in any unlawful employment practices

with malice or reckless disregard for Plaintiffs’ protected rights, or those of any members of the

putative class of persons they purport to represent, the existence of which class KPMG expressly

denies, or (2) discriminated against Plaintiffs or any members of the putative class of persons

they purport to represent, the existence of which KPMG expressly denies, in the face of a

perceived risk that such actions would violate applicable law.

       70.     KPMG is not liable for punitive damages under Title VII because any employee

who allegedly discriminated against Plaintiffs, or any member of the putative class of persons

they purport to represent, the existence of which class KPMG expressly denies, was not a

“managerial agent” for KPMG and/or was not acting within the scope of his or her employment.



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Even if an employee who committed any acts found to have been discriminatory was a

“managerial agent” and was acting within the scope of his or her employment, the alleged

discrimination was contrary to KPMG’s good-faith efforts to comply with Title VII, and

therefore punitive damages may not be imposed against KPMG under Title VII.

       71.     Plaintiffs’ claims for punitive or liquidated damages, including those on behalf of

members of the putative class of persons they purport to represent, the existence of which class

KPMG expressly denies, are barred by the Due Process Clause (Fifth Amendment, Fourteenth

Amendment, Section 1) and the Excessive Fines Clause (Eighth Amendment) of the United

States Constitution and corresponding provisions of the New York State Constitution.

       72.     Plaintiffs’ claims for damages, including those on behalf of members of the

putative class of persons they purport to represent, the existence of which class KPMG expressly

denies, are barred because any imposition of punitive damages under any of the claims would

violate the Eighth Amendment to the United States Constitution and/or the Constitution of the

State of New York, as the claims seek to impose an excessive fine upon KPMG, are penal in

nature, and seek to punish KPMG upon the basis of vague standards.

       73.     Plaintiffs’ claims for damages, including those on behalf of members of the

putative class of persons they purport to represent, the existence of which class KPMG expressly

denies, are barred to the extent that said claims are speculative in nature.

       74.     Plaintiffs’ claims for punitive damages, including those on behalf of members of

the putative class of persons they purport to represent, the existence of which class KPMG

expressly denies, are barred because any imposition of punitive damages under any of the claims

would violate the Fifth Amendment to the United States Constitution and/or the Constitution of




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the State of New York, as such claims expose KPMG to multiple punishments and fines for the

same conduct.

       75.      Plaintiffs have failed to comply with their duty to mitigate and/or to reasonably

attempt to mitigate alleged losses (their entitlement to recovery of which is expressly denied);

alternatively, any claims for relief for lost earnings and/or benefits, including those on behalf of

members of the putative class of persons they purport to represent, the existence of which KPMG

expressly denies, must be set off and/or reduced by wages, compensation, pay and benefits, or

other earnings or remunerations, profits and benefits received or which would have been earned

or received through good faith efforts to mitigate alleged damages.

                                       MISCELLANEOUS

       76.      The entitlement to any relief which otherwise may be held by the Court or the

jury to be due in this case to Plaintiffs, or to any member of the putative class of person they

purport to represent, the existence of which class, and any entitlement to relief, KPMG expressly

denies, is limited by the after-acquired evidence doctrine.

       77.      Each and every purported claim alleged by Plaintiffs, including those on behalf of

members of the putative class of persons whom they purport to represent, the existence of which

class KPMG expressly denies, is barred because any recovery from KPMG would result in a

Plaintiff’s or putative class member’s unjust enrichment.

       78.      The claims for injunctive and other prospective equitable relief by Plaintiffs and

the members of the putative class, the existence of which KPMG expressly denies, are barred

because Plaintiffs and the putative class members have an adequate and complete remedy at law.

       79.      To the extent that Plaintiffs and the members of the putative class, the existence

of which KPMG expressly denies, seek to recover for injuries, physical and/or emotional,



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allegedly incurred in the course of or arising out of employment with KPMG, such recovery is

barred by the exclusivity of remedies under the New York Workers’ Compensation law.

       80.     Because liability and/or damages, if any, to each member of the proposed class

and collective group may not be determined by a single jury or on a group-wide basis or on a

representative basis, allowing this action to proceed as a class action would violate KPMG’s

rights under the Seventh and Fourteenth Amendment to the United States Constitution.

       81.     Plaintiffs’ propose hybrid certification plan (Rule 23(b)(2) on liability and Rule

23(b)(3) on damages) violates the Rules Enabling Act.

       82.     Because of the varying and individualized nature of the claims of each proposed

class member, the Court cannot fashion a single injunction as a remedy, thereby making Rule

23(b)(2) certification inappropriate.

       83.     The claims of any Plaintiffs and the members of the putative class, the existence

of which KPMG expressly denies, are barred to the extent any such individuals have executed or,

in the future execute, a release of employment-related claims.

       84.     To the extent that any Plaintiff or putative class or collective class member has

failed to identify her claims in bankruptcy, such h Plaintiff/putative class or collective class

member lacks standing and/or her claim such be judicially estopped/barred.


         RESERVATIONS OF RIGHTS TO ASSERT ADDITIONAL DEFENSES

       85.     In the event that the proposed class or collective group, or any other group or sub-

group, should be certified in this action, or any individual be allowed to opt into the action,

KPMG incorporates by reference and re-alleges all of its defenses to Plaintiffs’ individual claims

in response to the claims brought on behalf of or asserted by all members of the proposed class

or collective group, or other group or sub-group, or opt-in plaintiff.


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       86.     KPMG has not knowingly or intentionally waived any applicable defenses, and it

reserves the right to assert and rely upon other applicable defenses that may become available or

apparent during discovery in this matter. KPMG reserves the right to amend or seek to amend its

answer and/or affirmative defenses.


       WHEREFORE, KPMG respectfully demands judgment dismissing this action with

prejudice together with an award for its costs and disbursements and such other and further relief

as the Court deems appropriate.


Dated: June 14, 2016                           Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       I hereby certify that on June 14, 2016 I caused a copy of the foregoing document to be
served via the Court’s ECF system upon all counsel of record.


                                                     /s/ Colleen M. Kenney___________




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